Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 1 of 135

                                                                         3859

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,          )
                                    )
           Plaintiff,               )
                                    )            CR No. 22-15
                                    )            Washington, D.C.
        vs.                         )            October 18, 2022
                                    )            9:00 a.m.
 ELMER STEWART RHODES III, ET AL., )
                                    )            Day 13
           Defendants.              )            Morning Session
 ___________________________________)

               TRANSCRIPT OF JURY TRIAL PROCEEDINGS
                BEFORE THE HONORABLE AMIT P. MEHTA
                   UNITED STATES DISTRICT JUDGE




 APPEARANCES:

 For the Government:                Kathryn L. Rakoczy
                                    Jeffrey S. Nestler
                                    Alexandra Hughes
                                    Louis Manzo
                                    Troy Edwards
                                    U.S. ATTORNEY'S OFFICE
                                    601 D Street, NW
                                    Washington, D.C. 20579
                                    (202) 252-7277
                                    Email:
                                    kathryn.rakoczy@usdoj.gov
                                    Email:
                                    jeffrey.nestler@usdoj.gov
Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 2 of 135

                                                                         3860

 APPEARANCES CONTINUED:

 For Defendant
 Elmer Stewart Rhodes III:          Phillip A. Linder
                                    BARRETT BRIGHT LASSITER LINDER
                                    3300 Oak Lawn Avenue
                                    Suite 700
                                    Dallas, TX 75219
                                    (214) 252-9900
                                    Email:
                                    phillip@thelinderfirm.com

                                    James Lee Bright
                                    3300 Oak Lawn Avenue
                                    Suite 700
                                    Dallas, TX 75219
                                    (214) 720-7777
                                    Email: jlbrightlaw@gmail.com

                                    Edward L. Tarpley, Jr.
                                    819 Johnston Street
                                    Alexandria, LA 71301
                                    (318) 487-1460
                                    Email: edwardtarpley@att.net

 For Defendant
 Jessica M. Watkins:                Jonathan W. Crisp
                                    CRISP AND ASSOCIATES, LLC
                                    4031 North Front Street
                                    Harrisburg, PA 17110
                                    (717) 412-4676
                                    Email: jcrisp@crisplegal.com
Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 3 of 135

                                                                         3861

 APPEARANCES CONTINUED:

 For Defendant
 Kelly Meggs:                       Stanley Edmund Woodward, Jr.
                                    BRAND WOODWARD LAW
                                    1808 Park Road NW
                                    Washington, D.C. 20010
                                    (202) 996-7447
                                    Email:
                                    stanley@brandwoodwardlaw.com

                                    Juli Zsuzsa Haller
                                    LAW OFFICES OF JULIA HALLER
                                    601 Pennsylvania Avenue, NW
                                    Suite 900
                                    S. Building
                                    Washington, D.C. 20036
                                    (202) 352-2615
                                    Email: hallerjulia@outlook.com

 For Defendant
 Kenneth Harrelson:                 Bradford L. Geyer
                                    FormerFeds LLC
                                    2006 Berwick Drive
                                    Cinnaminson, NJ 08077
                                    (856) 607-5708
                                    Email:
                                    Bradford@formerfedsgroup.com

 For Defendant
 Thomas E. Caldwell:                David William Fischer, Sr.
                                    FISCHER & PUTZI, P.A.
                                    7310 Governor Ritchie Highway
                                    Empire Towers, Suite 300
                                    Glen Burnie, MD 21061-3065
                                    (410) 787-0826
                                    Email:
                                    fischerandputzi@hotmail.com
Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 4 of 135

                                                                         3862

 APPEARANCES CONTINUED:

 Court Reporter:                    William P. Zaremba
                                    Registered Merit Reporter
                                    Certified Realtime Reporter
                                    Official Court Reporter
                                    E. Barrett Prettyman CH
                                    333 Constitution Avenue, NW
                                    Washington, D.C. 20001
                                    (202) 354-3249

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Case 1:22-cr-00015-APM    Document 730    Filed 01/02/24    Page 5 of 135

                                                                            3863

                                  - - -

                              WITNESS INDEX

                                  - - -

 WITNESSES               DIRECT CROSS REDIRECT RECROSS

 GOVERNMENT'S:

 SA SYLVIA HILGEMAN       3870   3874      3882
 CPT. RONALD ORTEGA       3920
                                  - - -

                            INDEX OF EXHIBITS

                                  - - -

 DEFENDANT'S                                               ADMITTED

 KM15                                                       3872

 4                                                          3877

 7025                                                       3926
Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24    Page 6 of 135

                                                                           3864

                                 - - -

                          INDEX OF EXHIBITS

                                 - - -

 GOVERNMENT'S                                             ADMITTED

 6923.S42.E                                                3884

 6923.S18.E                                                3885

 6929                                                      3890

 6927                                                      3894

 51.S.5299                                                 3896

 6926                                                      3898

 1652, 1653                                                3928

 1661, 1662, 1663                                          3928

 1673                                                      3928

 7026                                                      3933

 7028                                                      3935

 7031                                                      3936

 7029                                                      3937
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 7 of 135

                                                                              3865

1                             P R O C E E D I N G S

2                 COURTROOM DEPUTY:     All rise.

3                 THE COURT:    Please be seated, everyone.

4                 COURTROOM DEPUTY:     Good morning, Your Honor.

5     This is Criminal Case No. 22-15, the United States of

6     America versus Defendant No. 1, Elmer Stewart Rhodes III;

7     Defendant 2, Kelly Meggs; Defendant 3, Kenneth Harrelson;

8     Defendant 4, Jessica Watkins; and Defendant 10, Thomas

9     Edward Caldwell.

10                Kathryn Rakoczy, Jeffrey Nestler, Alexandra

11    Hughes, Troy Edwards, Louis Manzo for the government.

12                Phillip Linder, James Lee Bright and

13    Edward Tarpley for Defendant Rhodes.

14                Stanley Woodward and Juli Haller for

15    Defendant Meggs.

16                Bradford Geyer for Defendant Harrelson.

17                Jonathan Crisp for Defendant Watkins.

18                And David Fischer for Defendant Caldwell.

19                All named defendants are present in the courtroom

20    for these proceedings.

21                THE COURT:    Hang on, everyone.

22                (Pause)

23                THE COURT:    Okay, everyone.     Good morning.

24                So I asked everybody to come in this morning early

25    to discuss what you were all informed or should have been
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24    Page 8 of 135

                                                                               3866

1     informed about last evening, which is that one of our jurors

2     has reported that she has COVID, tested positive for COVID

3     last evening.    This is the juror in seat 13.

4                 So after some consultations with court staff,

5     administrators, as well as medical professionals, my plan is

6     to do the following, which is to, after we -- after I leave

7     here and once the jurors arrive, is to tell them that this

8     has happened, that one of their fellow jurors has tested

9     positive for COVID.

10                Based on my discussions with medical

11    professionals, my belief is that the likelihood of any

12    exposure to COVID would have been fairly limited last

13    Friday, which is the last day before yesterday they were all

14    together.    So as long as the juror in seat 13 was

15    asymptomatic, which I assume the person was if they were

16    here; however, there is some possibility of having been

17    exposed yesterday; in particular, during the lunch hour.

18                You know, they have been masked.            Everybody has

19    been masked.    This is the reason why we have been masking,

20    for this very possibility.

21                I will propose to them that we will continue

22    forward, notwithstanding the positive test.             We will make

23    tests available to the jurors every day and have them test

24    before they come in.      Obviously, you all should do the same

25    if you feel like you need to, although I don't think anybody
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 9 of 135

                                                                              3867

1     has been terribly exposed to any of the jurors in such close

2     proximity that I don't think any of you would need to worry,

3     especially since you've been masked, except for when you've

4     been addressing a witness.

5                 And proceed in that fashion through the week with

6     daily testing and checking on whether they have any

7     symptoms; and, moving forward, we obviously would plan to

8     dismiss juror 13 who's no longer -- cannot come out of

9     quarantine for five days, which would involve the rest of

10    this week, which is why, of course, we have four alternates

11    instead of the usual two.      And we'll see.

12                I mean, look, you know, I am a little reluctant to

13    say to them, this is what we are doing and you don't have

14    any say in the matter.      I want to make sure they feel

15    comfortable to express their views and how they're feeling

16    about all this once they learn about it and their comfort

17    level in proceeding.      So if some number of them express

18    reservations about being here in the next couple days, I'll

19    just have to take that into consideration in terms of what

20    we do.

21                I certainly am not inclined to dismiss anyone just

22    because they express reservations about being here, because

23    we are now down to three alternates and we still have some

24    weeks to go.    But, you know, the hope is that everyone,

25    I mean, all these jurors already are prescreened and have
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 10 of 135

                                                                               3868

1      said that they have -- feel comfortable being in the

2      courtroom notwithstanding the pandemic.          So hopefully we

3      have a group of people who are both vaccinated and more

4      comfortable with what's happened and more comfortable with

5      what we'll propose to them moving forward.

6                 So that's the state of play.        Happy to hear from

7      anybody if you have suggestions, thoughts, or anything else.

8                 MR. NESTLER:     Not from the government, Your Honor.

9                 MR. LINDER:    Not from us.     Thank you.

10                THE COURT:    All right.    So then the plan will be,

11     I don't know whether they're here yet.         Once they're here, I

12     plan to talk with them.      We will also have rapid tests

13     available for each of them here to take this morning.             So

14     once I've spoken to them, once they've taken the tests, once

15     the 15 minutes passes, that's undoubtedly going to take us

16     past the 9:30 hour, which is why I asked for everybody to

17     get here as early as we can to start as early as we can.                So

18     just everybody stay by your phones, we'll let you know as

19     soon as we can get started.      Hopefully it will be shortly

20     after 9:30, but I suspect it will be closer to 9:45 or so

21     given all that needs to happen between now and then.

22                Okay.   Any questions?

23                Thanks, everyone.

24                (Recess from 9:09 a.m. to 10:27 a.m.)

25                COURTROOM DEPUTY:     All rise.
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 11 of 135

                                                                                3869

1                 THE COURT:    Please be seated, everyone.

2                 Welcome back, everybody.        We have explained the

3      situation to the jurors and they are ready to proceed.

4                 We will formally excuse juror in seat 15.             So that

5      means our juror in seat 2, who is our first alternate, will

6      become a deliberating juror.      Any questions, concerns?

7                 All right.    We'll bring them in.

8                 COURTROOM DEPUTY:     Jury panel.

9                 (Jury entered the courtroom.)

10                THE COURT:    All right.      Please be seated, and

11     welcome back, everyone.

12                Obviously the curveball was thrown this morning,

13     we appreciate everybody's understanding and resilience.                  So

14     we are ready to move forward.         So we'll have the agent

15     re-take the stand, and I believe, Mr. Woodward, you were

16     still on cross-examination, you were going to -- you're on

17     cross-examination.     So we'll begin when you're ready.

18                                    - - -

19     SA SYLVIA HILGEMAN, WITNESS FOR THE GOVERNMENT, HAVING BEEN

20     PREVIOUSLY SWORN, RESUMED THE STAND AND TESTIFIED FURTHER AS

21     FOLLOWS:

22                       CROSS-EXAMINATION (CONTINUED)

23                                    - - -

24

25
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 12 of 135

                                                                                3870

1                                     - - -

2      BY MR. WOODWARD:

3           Q     Good morning, Special Agent.

4           A     Good morning.

5           Q     Just to confirm, you did not speak to any member

6      of the prosecution team between yesterday and this very

7      moment?

8           A     Not about the substance of my testimony, no.

9           Q     If I could show just the witness my screen at your

10     convenience, Mr. Douyon.

11                Yesterday you played an audio clip from an Ernest

12     Hancock podcast; is that correct?

13          A     Yes, that's correct.

14          Q     Or it could have been two days ago at this point.

15                You played a clip from the Ernest Hancock podcast.

16                Do you recognize this website?

17          A     Yes, I have seen this.

18          Q     And this is the source of the Ernest Hancock

19     podcast that you played?

20          A     Yes.

21          Q     Now, that podcast in total length is, do you see

22     down there in the bottom right, 3 hours, 20 minutes and 9

23     seconds?

24          A     I do remember that, yes.

25          Q     Don't worry.     I'm not going to ask her to listen
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 13 of 135

                                                                               3871

1      to 3 hours, 20 minutes and 9 seconds.

2                 But did you select the clip that was played or the

3      clips plural that were played?

4           A     I did not.

5           Q     You merely listened to clips that had been

6      selected by someone else?

7           A     Yes.

8                 And I have listened to this in its entirety at

9      some point, but those clips I did not select.

10          Q     Very good.    Do you know who selected those clips?

11          A     The prosecution team.

12          Q     All right.    I'd like to play what is the beginning

13     of the -- let me rephrase.

14                Are you aware that multiple individuals are

15     interviewed in this clip?

16          A     I am aware of that yes.

17          Q     So the entire three-hour podcast does not feature

18     Mr. Vallejo?

19          A     Correct.

20          Q     Okay.

21                So I'd like to play the beginning of the part

22     where Mr. Vallejo does speak, and hopefully we can get

23     audio.

24                THE COURT:    Mr. Woodward, you're going to play

25     what you're going to play consistent with what we talked
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 14 of 135

                                                                               3872

1      about yesterday just in terms of time?

2                 MR. WOODWARD:     Yes.

3                 Actually, it's half of that so my apologies for

4      not appearing.

5                 We would -- yes, we would move to admit roughly --

6      well, as Exhibit 15, KM13, this additional clip of video.

7                 MR. MANZO:    No objection.

8                 THE COURT:    KM15, right?

9                 MR. WOODWARD:     15.

10                THE COURT:    KM15 is admitted.

11                                             (Defendant's Exhibit KM15
                                                 received into evidence.)
12

13                MR. WOODWARD:     All right.    Let's see if this

14     works.

15                (Audio played)

16     BY MR. WOODWARD:

17          Q     Do you know who was speaking just then?

18          A     Yeah, Todd Kandaris.

19          Q     Todd Kandaris.

20                And did you hear Todd Kandaris talk about how he

21     and other Oath Keepers were providing security on the 5th?

22          A     I did hear him say that, yes.

23          Q     And -- all right.       And yesterday, you testified

24     that the podcast was recorded from the Comfort Inn;

25     is that correct?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 15 of 135

                                                                               3873

1           A     Yes.

2           Q     And you also testified that you observed

3      Mr. Vallejo bringing a number of boxes into the Comfort Inn;

4      is that correct?

5           A     Yes.

6           Q     And if we could share, both for the witness and

7      the jury, Government's Exhibit 1510.9.

8                 Do you recall playing this video for the jury

9      yesterday?

10          A     I do.

11          Q     You don't know what was in those boxes, correct?

12          A     I do not.

13          Q     You don't know whether there was recording

14     equipment in those boxes, correct?

15          A     I don't know what was in those boxes.

16          Q     Okay.

17                MR. WOODWARD:     Nothing further, Your Honor.

18                THE COURT:    Okay.

19                Redirect, Mr. Manzo.

20                MR. MANZO:    Thank you, Your Honor.

21                MR. CRISP:    Actually, Your Honor.

22                THE COURT:    Oh, I'm sorry.      You're right,

23     Mr. Crisp.

24                MR. CRISP:    I'm by myself.

25                THE COURT:    It's not that you're forgettable.
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 16 of 135

                                                                                3874

1      I just forgot.

2                  MR. CRISP:   That's all right.        It wouldn't be the

3      worst thing you said about me.

4                  And I promise, despite my threats, I won't make

5      you recite Fly, Eagles Fly.

6                  THE WITNESS:    I can do the school chant for you if

7      you want.

8                                     - - -

9                               CROSS-EXAMINATION

10     BY MR. CRISP:

11           Q     All right.

12                 Talking about Friday, trying to bring you back a

13     little bit, there was a discussion regarding a piece of

14     paper that was found in Mr. Caldwell's residence with email

15     addresses.

16                 Do you remember that?

17           A     I do, yes.

18           Q     And I believe one of them was -- one of them that

19     was discussed as part of your direct was Mine Craft Gamer

20     98.   Do you remember that?

21           A     I do, yes.

22           Q     And it was elicited that that was also an email

23     address that Ms. Watkins had; is that accurate?

24           A     Yes.

25           Q     Now, I'm assuming there was some importance to
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 17 of 135

                                                                               3875

1      that as part of your testimony for it to be brought out.

2      Are you aware?

3           A     I'm aware that she also had the password.

4           Q     Okay.

5           A     And so it appeared to be a shared access email

6      account.

7           Q     And did y'all access that email account?

8           A     I did not.

9           Q     Do you know if the Federal Government did in some

10     form or fashion?

11          A     I do not know.

12          Q     Do you know when that email was created?

13          A     I don't.

14          Q     Would it surprise you to know that it was on the

15     14th of January?

16          A     I wouldn't be surprised by that, no.

17          Q     So the QRF had been your primary focus, as

18     I understand it?

19          A     Yes.

20          Q     And you're not looking at just certain people that

21     came into the QRF, you're looking at whoever came in, right?

22          A     Yes, I would say that I primarily focused on the

23     individuals that were at the hotel, but I do have a broader

24     knowledge of the case, yes.

25          Q     Okay.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 18 of 135

                                                                               3876

1                 And the reason I'm asking is, you weren't just

2      looking at people from a geographic location of the country

3      that came in and formed a section, you were looking at

4      anybody who came into that hotel at that point?

5           A     Correct.

6           Q     One of whom you mentioned, I think, yesterday on

7      the videos and as well even this morning, there was a video

8      of Ms. Watkins?

9           A     Yes.

10          Q     And you were aware that -- certainly you didn't

11     have any videos of her with any long rifle cases that she

12     brought in, right?

13          A     I could not distinguish what was on that baggage

14     cart.

15          Q     Okay.   You don't have any evidence to indicate

16     that there was?

17          A     Either way.

18          Q     All right.

19                And, in fact, as part of your investigation, you

20     were able to determine that she had no weapons or the

21     weapons she had brought were left in Winchester, Virginia?

22          A     I know that at least some of those weapons were

23     left in Winchester, Virginia.

24          Q     And you have no evidence, at least that you're

25     aware of, to indicate that she ever brought any weapons to
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 19 of 135

                                                                               3877

1      the D.C. area?

2           A      I did not see any on the baggage cart that I could

3      distinguish.

4           Q      My question is a little bit different.

5                  You have no evidence to indicate that she has

6      brought any weapons to the D.C. area on the 5th or 6th?

7           A      Sure, correct.

8           Q      Okay.

9                  MR. CRISP:   And the Court's indulgence, if I may.

10                 Your Honor, I'm going to be seeking to admit these

11     and I'd like publish them to jury.        We've vetted these with

12     the government so they're aware.       So at this point, I'd ask

13     to admit them before I begin.

14                 THE COURT:   So is this Watkins 4?         That's how I

15     label it?

16                 MR. CRISP:   That was going to be my next question.

17     I believe Watkins 4.

18                 THE COURT:   So no objection to Watkins 4, correct?

19                 MR. MANZO:   No objection.

20                 THE COURT:   All right.    So Watkins 4 will be

21     admitted.

22                                      (Defendant's Exhibit Watkins 4
                                               received into evidence.)
23     BY MR. CRISP:

24          Q      So, ma'am, do you see what's on the screen in

25     front of you?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 20 of 135

                                                                               3878

1           A     I do.

2           Q     So this was, obviously, based on the lower right,

3      there were a series of exhibits that were elicited earlier

4      in the trial, Exhibit 6870 is a government exhibit.

5           A     Yes, sir, I've seen these before also.

6           Q     So quickly we can scroll through 2, 3, 4, 5, and

7      to 6.    Let's stop at 6.

8                 So this was an exhibit on 6870.         This constituted

9      the full exhibit that the government played.           Are you aware

10     of that, in terms of this particular text message?

11          A     Can you explain?     Was this the full text of the

12     message displayed, is that the question?

13          Q     Exactly, yes.

14          A     I am not sure.     I was not present that day.

15          Q     If we could split this screen and bring up the

16     original government display.

17                So this was, on the right-hand side, the exhibit

18     that the government had portrayed.        You would agree with me

19     that they're essentially the same, correct?

20          A     Yes.

21                I may have been in the courtroom that day.

22     I don't know -- I just want to correct the record.

23          Q     I'm sorry, I don't understand the first part.

24          A     I may have been in the courtroom that day.

25     I can't remember.      But I want to correct the record.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 21 of 135

                                                                               3879

1           Q     I appreciate that.     I just want to make sure we're

2      on the same page.

3           A     Yes.    And it looks the same besides -- other than

4      the "continued" at the end of the one on the left.

5           Q     Fair to say that's not entire portion of that

6      text.    Would you agree with me?

7                 Let me see if Slide 7 will refresh your

8      recollection.

9           A     If this is the next message in the thread?

10          Q     It was still part of the same text.

11                In other words, the text on the right was just a

12     portion that entire text.

13          A     Okay.

14          Q     And there was additional wording in the same text.

15          A     I am not aware of that.

16          Q     Okay.    Would it surprise you to know that this is

17     additional language that was part of that text that the

18     government used on Exhibit 85.S.198.9E?

19          A     It would not surprise me, no.

20          Q     So that basically says, and if you could read

21     number 7 out loud, I'd appreciate it?

22          A     Yes.

23                "That was from call to radio programming, also

24     Tuesday night.     But basically when the Secret Service comes

25     in they will launch warlock and comms are gone.            Well, guys,
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 22 of 135

                                                                               3880

1      I'm sure million questions, but let's keep them here.             I'm

2      getting hundreds of DMs, et cetera.        I don't mind if it's an

3      off the chat type of thing."

4           Q     7, please.

5           A     Continue?

6           Q     Please.

7           A     "They mentioned us on the call with Congressmen

8      and the wanted to say thank you, all, for providing and

9      protecting us.     Wednesday will not be" --

10          Q     Will be?

11          A     Sorry.

12                "Wednesday we will be working with or more likely

13     around Secret Service not with.       Let's look like we know

14     what we are doing."

15          Q     And 9, please?

16          A     "Primarily scanning the crowd.         Wednesday will be

17     at rally point at 6:00 a.m. so don't plan on being out

18     playing hero on Tuesday and be late for detail Wednesday."

19          Q     Okay.    So, again, this has been asked probably

20     more times than I need to, but it always bears repeating

21     sometimes.   You didn't get to choose what sections of what

22     texts were portrayed; is that fair?

23          A     That's correct.

24          Q     Okay.

25                And if we could have slide 10, please.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 23 of 135

                                                                               3881

1                 11.

2                 Are you familiar --

3                 And if you can go full screen, please.

4                 You're familiar with this text?

5           A     I am.

6           Q     Okay.

7                 So fair to say that this was also Government's

8      Exhibit 6923, and was this one that you had seen before?

9           A     Yes, this one actually came in through me.

10          Q     There was never a response to that particular

11     request as to whether there's going to be a QRF to

12     Ms. Watkins, correct?

13          A     She's saying, "Where can we drop off the weapons

14     to the QRF team?"      It seems that she knows there is a QRF

15     team.

16          Q     Perhaps my question was poorly phrased, and

17     I apologize.

18                She never received a response to this text as to

19     where the weapons could be dropped off?

20          A     Not in this chat thread that I'm aware of, no.

21          Q     Okay.   And again, you're aware that she left

22     weapons in Winchester, Virginia?

23          A     I am aware of that, yes.

24          Q     Okay.

25                Slide 12, please.
     Case 1:22-cr-00015-APM   Document 730      Filed 01/02/24   Page 24 of 135

                                                                                  3882

1                 This would be follow-on chats from Ms. Watkins'

2      chats in that same "D.C. Op" chat group, correct?

3           A     I have seen these, yes.

4           Q     Okay.

5                 And 13.

6                 14.

7                 And 15.

8                 Okay.

9           A     I've seen all those also.

10          Q     So in that chat group, just to be clear, there was

11     never a response to her about where to put weapons?

12          A     I did not see the Comfort Inn Ballston address

13     exchange in that chat group, no.

14          Q     Okay.

15                MR. CRISP:    Thank you, ma'am.          No additional

16     questions.

17                THE COURT:    Okay.    Mr. Manzo.

18                MR. MANZO:    Thank you, Your Honor.

19                                      - - -

20                            REDIRECT EXAMINATION

21     BY MR. MANZO:

22          Q     Agent, you've reviewed thousands of Signal

23     messages in this case?

24          A     I have.

25          Q     And recovered from many different sources?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 25 of 135

                                                                               3883

1           A     Yes.

2           Q     Why are they recovered from many different

3      sources?

4           A     Because the communications we're using -- the

5      communications were primarily over an encrypted app, Signal,

6      that we've talked about, which we can only get from the

7      end-to-end user device.

8           Q     In the last few weeks, have you worked with some

9      very difficult attorneys?

10          A     Yes.

11          Q     And do you remember Mr. Woodward pointing out a

12     typo from yesterday?

13          A     I do.

14          Q     Can we pull up Government's Exhibit

15     6923.slide42.extraction.      Just for the witness and defense.

16                Agent, do you recognize what's on your screen

17     right now?

18          A     I do.

19          Q     And, generally, what is on the screen?

20          A     This is what the extraction from the program

21     called Cellebrite, this is the user interface for Cellebrite

22     if you were reviewing within the application.

23          Q     And is this a fair and accurate extraction from

24     Mr. Rhodes' phone here?

25          A     It is.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 26 of 135

                                                                               3884

1                 MR. MANZO:    And at this point, I seek to move into

2      evidence 6923.slide42.extraction.

3                 MR. WOODWARD:     No objection.

4                 THE COURT:    Okay.   It will be admitted.

5                   (Government's Exhibit 6923.Slide42.Extraction
                                           received into evidence.)
6      BY MR. MANZO:

7           Q     And I believe yesterday Mr. Woodward asked you

8      about the slide in the bottom right-hand corner, whether it

9      was from Kelly Meggs or Stewart Rhodes, right?

10          A     Yes.

11          Q     And who's it from?

12          A     It's from Stewart Rhodes.

13          Q     Typo?

14          A     Yes.

15          Q     And can we go to -- I'll now pull up

16     6923.slide42.extraction.

17                And looking at slide 6923.Slide42.Extraction,

18     do you recognize what this is?

19          A     That's not the number I have on the top.            Is this

20     the right exhibit?

21          Q     Well, do you recognize what -- who's speaking in

22     this exhibit?

23          A     I do, yes.    This is a Signal message from

24     Doug Smith.

25          Q     And would this be from Mr. Caldwell's phone?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 27 of 135

                                                                               3885

1           A     It was, yes.

2           Q     And is this a fair and accurate extraction from

3      Mr. Caldwell's phone?

4           A     It is.

5           Q     And why is it in this format that you're looking

6      at right now?

7           A     In the Signal messages that we obtained from

8      Mr. Caldwell's phone were primarily captured actually using

9      like a screenshot of the device.

10                MR. MANZO:    And at this point, I'd like seek to

11     move into evidence 6923.slide18.extraction.

12                MR. WOODWARD:     No objection.

13                THE COURT:    It will be admitted.

14                     (Government's Exhibit 6923.slide18.extraction
                                             received into evidence.)
15     BY MR. MANZO:

16          Q     And just looking at the two messages on this

17     screen, who's speaking in the first message?

18          A     That is Thomas Caldwell.

19          Q     And then who's speaking in the bottom message?

20          A     Doug Smith.

21          Q     Thank you.

22                MR. MANZO:    Mr. Nestler, can you assist me by

23     putting up the board?

24                MR. NESTLER:     Of course.

25                MR. MANZO:    Thank you.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 28 of 135

                                                                               3886

1      BY MR. MANZO:

2           Q     Shifting gears, you were asked a number of

3      questions about PSDs by Mr. Bright.        Do you remember that?

4           A     Yes.

5           Q     Have you worked conspiracy investigations before?

6           A     I have.

7           Q     What type of conspiracy investigations have you

8      worked?

9           A     Primarily complex fraud investigations, accounting

10     fraud, and antitrust investigations.

11          Q     Do the people you're investigating in those cases

12     have other jobs aside from the crime that they're

13     committing?

14          A     Yes.

15          Q     Were you aware of any -- whether any of the people

16     on the personal security details were licensed in any way?

17          A     I have no knowledge of that.

18          Q     Any record of any insurance?

19          A     No, not that we could find.

20          Q     Any record of any training?

21          A     Other than what we have seen in court, no.

22          Q     Mr. Bright asked you a series of questions about

23     whether a gun was legally or illegally purchased.            Do you

24     remember that?

25          A     Yes.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 29 of 135

                                                                               3887

1           Q     Could a gun that's legally purchased be used in an

2      illicit manner?

3           A     Absolutely.

4           Q     Can you give me an example, that doesn't have to

5      deal with with what's going on here?

6           A     Yes.

7                 If someone owns a rifle for hunting and they own

8      it legally but then they use it to hold up a convenience

9      store, then that is a crime.

10          Q     Mr. Bright asked you about whether the weapons

11     that Stewart Rhodes purchased or brought to D.C. were

12     deposited in the Comfort Inn?

13          A     Yes, I remember that.

14          Q     Do you know where Mr. Rhodes kept his weapons

15     when -- in the Washington, D.C., area?

16          A     I understand from this investigation at the hotel

17     where he stayed.

18          Q     Which hotel was that?

19          A     The Hilton Garden Inn in Vienna, Virginia.

20          Q     Are you aware whether the FBI recovered any

21     weapons that were previously purchased by Mr. Rhodes on his

22     journey to D.C. after January 6th?

23          A     I am, as well as some of the accessories and

24     parts.

25          Q     Where were those weapons recovered from?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 30 of 135

                                                                               3888

1             A   From a storage locker in the name of Joshua James.

2             Q   Can you point to Mr. James on Government's Exhibit

3      1530.

4             A   (Witness complied.)

5                 He is the first one under Stack 2.

6             Q   Did Mr. James deposit weapons at the Comfort Inn?

7             A   He did not.

8             Q   Prior to January 6th, did you review messages or

9      statements where Mr. Rhodes stated that he would act to stop

10     Biden from becoming president whether Trump acted or not?

11            A   Yes.

12            Q   Can we pull up 1004.1, slide 2.

13                Do you recognize who's present in 1004.1, slide 2?

14            A   Yes.

15            Q   Who is that?

16            A   Stewart Rhodes.

17            Q   Can you play the sound.

18                (Audio played)

19     BY MR. MANZO:

20            Q   Fair to say during your investigation you saw

21     numerous individuals dropping off weapons at the Comfort

22     Inn?

23            A   Yes.

24            Q   Did you --

25            A   Or picking up, I want to say.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 31 of 135

                                                                               3889

1           Q     Or picking up weapons?

2           A     Yes.

3           Q     Did you also review video footage of individuals

4      in this case entering or being present on the Capitol

5      Grounds on January 6th?

6           A     I did.

7           Q     At the time that those people were breaching the

8      Capitol, did the people at the Comfort Inn have access to

9      weapons or a car?

10          A     They did.

11          Q     Just because a weapon is not used, does that make

12     it irrelevant to your investigation?

13          A     Absolutely not.

14          Q     Why?

15          A     Because it goes to -- well, for example, many

16     crimes are for attempted crimes, and it goes to intent and

17     state of mind and the purpose of the plan or conspiracy.

18          Q     Generally speaking, does the FBI have to let an

19     entire conspiracy play out before it disrupts it?

20          A     I hope not, no.

21          Q     Mr. Fischer asked you a series of questions about

22     D.C. maps.   Do you remember that?

23          A     I do.

24          Q     Without saying what jurisdiction do you reside it,

25     do you reside in Washington, D.C.?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 32 of 135

                                                                               3890

1           A     I don't.

2           Q     And he asked you a series of questions about M

3      Street?

4           A     Yes.

5           Q     Can we pull up 6929.

6                 And do you recognize what 6929 is?

7           A     It's a map of around -- of D.C. around the White

8      House.

9           Q     Is this a fair and accurate portrayal of a map of

10     Washington, D.C.?

11          A     Yes, I believe this one actually did come in

12     through me.

13                MR. MANZO:    And at this point, we'd seek to move

14     into evidence 6929.

15                MR. FISCHER:     No objection.

16                THE COURT:    6929 will be admitted.

17                                           (Government's Exhibit 6929
                                                received into evidence.)
18     BY MR. MANZO:

19          Q     Okay, Agent, do you see on the right hand of your

20     screen, the words "North Capitol Street"?

21          A     Yes.

22          Q     What is two streets above that?

23          A     M Street.

24          Q     And can you actually draw on the map left and

25     right where it appears M Street goes?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 33 of 135

                                                                               3891

1           A     This is very bad, I'm sorry.

2           Q     And just for the record, the witness circled M

3      Street running lengthwise across the city.

4                 Is M Street just in Georgetown?

5           A     No.

6           Q     Did you see any information on Mr. Caldwell's

7      phone about Mr. Caldwell going to a movie in Georgetown?

8           A     I did not.

9           Q     Having brunch in Georgetown?

10          A     I did not.

11          Q     Anything like that?

12          A     Nothing like that.

13          Q     Did you see messages in Mr. Caldwell's phone about

14     securing boat transportation?

15          A     I did.

16          Q     Did you see messages about a pleasure cruise in

17     January?

18          A     I did not.

19          Q     Can we pull up -- actually KM13, 88.

20                So we're looking at Kelly Meggs' exhibit, so K13,

21     slide 88, which has already been admitted into evidence.

22                Who's speaking here on KM13 at page 88.

23          A     Kelly Meggs.

24          Q     What does he say?

25          A     "Ammo situation.     Are we bringing or are we set at
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 34 of 135

                                                                               3892

1      QRF?   I mean, I'm always going to have a couple hundred but

2      if SHTF we got ample availability."

3             Q   Can we go to the next slide.

4                 What does Rook say here about the police?

5             A   He says, "Local law enforcement is not our

6      friends.   Lot of the good ones that believe in the oath they

7      took have quit."

8             Q   And slide 90.

9                 And what does slide 90 say?

10            A   "The ones who took their place only care about a

11     paycheck and will do as they are told.         Just keep that in

12     mind when deciding what to carry around the city.

13     Personally, I carried an axe handle with a small flag

14     attached to it."

15            Q   So what, if any, advantage would a boat have if

16     the police set up roadblocks?

17            A   It would go around the roadblocks, bypass the

18     roadblocks.

19            Q   Mr. Fischer asked you a series of questions about

20     burner phones.    Do you know whether or not the government

21     ever recovered every burner phone in this case?

22            A   I do not.

23            Q   Why is that?

24            A   Because they're disposable.

25            Q   Is it fair to say you don't know what you don't
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 35 of 135

                                                                               3893

1      know?

2           A      Yes.

3           Q      Can we go to slide -- or Government's Exhibit

4      6923, slide 57.

5                  Do you recognize this exhibit here?

6           A      Yes.

7           Q      What's happening in this exhibit?

8                  MR. FISCHER:    Objection; beyond the scope.

9                  THE COURT:    It's overruled.     I'll allow it.

10                 THE WITNESS:    Mr. Caldwell, or someone accessing

11     Mr. Caldwell's Facebook account, is unsending a message on

12     1/14/2021, that was originally sent on 1/2/2021.

13     BY MR. MANZO:

14          Q      What's the following message?

15                 Let me go to the next slide.

16                 What's this message say?

17          A      "Damn, I wish I did.      LOL.   I'd be your captain

18     for sure.    And off the top of my head, I can't think of

19     anyone with a boat.      Smoot has a bass boat.        It wouldn't go

20     on the Potomac though."

21          Q      Can we go to the previous slide now.

22                 So what did Mr. Caldwell say to elicit that

23     response?

24          A      I don't know.

25          Q      Were you ever able to find out what was deleted?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 36 of 135

                                                                               3894

1           A     I was not.

2           Q     And what caused those messages to disappear?

3           A     The author, the user of Mr. Caldwell's account.

4           Q     Mr. Fischer asked a series of questions about the

5      North Carolina Oath Keepers and I think he said whether they

6      were the good guys because they had split from Rhodes.

7                 Do you remember that?

8           A     I do remember that.

9           Q     Can we pull up 6927.

10                And I don't believe this whole series has been

11     admitted into evidence yet.

12                Can you look at 6927.

13          A     Yes.

14          Q     And do you recognize 6927?

15          A     I do.

16          Q     What is 6927?

17          A     Are messages from Ranger Doug Smith to

18     Stewart Rhodes.

19                MR. MANZO:    And at this point, I'd seek to move

20     6927 into evidence.

21                MR. WOODWARD:     If we could see the whole exhibit.

22                I think this was admitted, but no objection.

23                THE COURT:    Okay.   6927 will be admitted if it

24     hasn't been already.

25                                           (Government's Exhibit 6927
                                                received into evidence.)
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 37 of 135

                                                                               3895

1      BY MR. MANZO:

2           Q      Agent, what are we looking at here on the first

3      page of 6927?

4           A      So this exhibit is three or four messages

5      exchanged between Doug Smith and Stewart Rhodes over a

6      period of time.

7                  This message is from December 23rd, 2020.

8           Q      What is Mr. Smith saying to Mr. Rhodes?

9           A      "Hey, Stewart, I just read you're second part of

10     the letter to President Trump, bravo, bravo, bravo.             That is

11     the very best presentation of the truth that has ever been

12     penned.    You and Kellye have literally laid out what could

13     become the most influential writing that the United States

14     has seen since it's founding by men inspired by God."

15                 And I will reiterate, he's referring to

16     Kellye SoRelle, not Kelly Meggs.

17          Q      Can we go to the next slide.

18          A      "Stewart, look at you, you have done it, can't be

19     done better.    This is what you were tapped to do.          Call me,

20     pal, lets talk.    The most trying time in our nation history

21     is now.    We all have tasks to do.      We know that it is our

22     time.    I told you I would be with you till the bitter end,

23     things like this most precious writing make my task easier.

24     Call me, pal."

25          Q      And the next slide?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 38 of 135

                                                                               3896

1           A     This is now a message the morning of January 6th,

2      2021, at 1:45 a.m. from Doug Smith to Stewart Rhodes.

3                 "Stewart, we are coming in on a charter bus.             Paul

4      and the advance team left at 5 this morning.           When you leave

5      Washington, come down and stay with me and let's get Paul

6      and Steve, maybe Jim will come up from Mississippi, we can

7      talk and size up the situation.       It may might pay to stay

8      close to the East Coast for the near future."

9           Q     Next slide.

10                This is a response?

11          A     This is response from Mr. Rhodes to Doug Smith.

12     "I'll see you in D.C.     Bring your Oath Keepers flag."

13          Q     Okay.   Ms. Rohde, can you pull up 51.S.5299.

14                This is just a single page exhibit here.

15                Do you recognize 51.S.5299?

16          A     I do.

17          Q     And does 51 refer to Paul Taylor's phone?

18          A     It does.

19          Q     And have you reviewed this before?

20          A     I have.

21                MR. MANZO:    Your Honor, at this time, I'd seek to

22     move into evidence 51.S.5299.

23                MR. WOODWARD:     No objection.

24                THE COURT:    It will be admitted.

25                                     (Government's Exhibit 51.S.5299
                                               received into evidence.)
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 39 of 135

                                                                               3897

1      BY MR. MANZO:

2           Q      Can you tell the jury what's going on in this

3      exhibit?

4           A      So Stewart Rhodes is adding a number of

5      individuals to the January 6 -- or the "D.C. Op Jan 6" chat.

6      I can read them off.

7           Q      Yes, please.

8           A      The first one is Stephen Cochran, he is from

9      North Carolina.    Bill Token Sailor, that's Bill Abshire;

10     he's from North Carolina.      Western State Leader Stamey is

11     Paul Stamey.    He's from North Carolina.        Stewart Rhodes

12     added NC Lead 2, Steve Kwiatkowski, also from North

13     Carolina.    And Ranger Smith, Smith, Doug Smith also from

14     North Carolina.

15          Q      Does it appear there's any split between

16     North Carolina and Stewart Rhodes?

17          A      He goes on to say, "Added some of the NC leaders

18     and experienced prior op veterans from North Carolina."

19     So no, it doesn't.

20          Q      Can we pull up 6926.

21                 Do you recognize 6926?

22          A      Yes.

23          Q      What is 6926 generally?

24          A      This is a group text that we -- or a group thread

25     that we obtained from Stewart Rhodes.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 40 of 135

                                                                               3898

1           Q     From his phone?

2           A     Correct.

3                 MR. MANZO:    Your Honor, at this point, I'd seek to

4      move into evidence 6926.      And we can play it forward for the

5      defense it's just a couple slides here.

6                 MR. BRIGHT:    Your Honor, this has already been

7      admitted, but either way, we wouldn't object.

8                 THE COURT:    Okay.   6926 will be admitted.

9                                            (Government's Exhibit 6926
                                                received into evidence.)
10     BY MR. MANZO:

11          Q     Can you tell the jury what's going on in 6926 and

12     specifically who's talking to whom?

13          A     So these are messages from Stewart Rhodes to

14     others, but Smith, Stamey and Steve Kwiatkowski, who were

15     from North Carolina.

16          Q     What does Mr. Rhodes say?

17          A     I think we have seen this message posted in

18     others.   It's "Urgent alert.     Do not enter D.C. with

19     anything that would be deemed illegal in D.C. or even

20     questionable.

21                "The D.C. police have arrested multiple people for

22     items they cannot bring into D.C., including Enrique Tarrio,

23     president of Proud Boys."

24          Q     Can we go to the next slide?

25          A     "But he's not the only one.        Three others have
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 41 of 135

                                                                               3899

1      also been arrested.     They are setting traps.        Do not even

2      cross over into D.C. at all, for any reason, with anything

3      on you or in your vehicle that could get you into trouble.

4                 "And do not think you are clever enough to sneak

5      something in.     Don't do it."

6           Q     Can we go back to that first slide which mentioned

7      Mr. Tarrio.

8                 Are you familiar generally with arrest processes?

9           A     Yes.

10          Q     When someone is arrested, do they have access to

11     their phone?

12          A     No.

13          Q     Can they continue coordinating?

14          A     No.

15          Q     And just for the record, the date in the top

16     left-hand corner, 1/4/2020?

17          A     That should be 1/4/2021.

18          Q     And so when you say that people don't have access

19     to their phones, when somebody is arrested, generally what

20     happens?

21          A     The property is -- that is on their person is

22     inventoried and stored and they are incarcerated for a

23     period of time.

24          Q     Until they go before a judge?

25          A     Correct.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 42 of 135

                                                                               3900

1           Q     And then can we go to the next slide here.

2                 Where it says, "They are setting traps," have you

3      ever seen anyone with an assault rifle or semi-automatic

4      weapon walking around Washington, D.C.?

5           A     I have not.

6           Q     If you saw that what --

7           A     Other than after January 6th all of the

8      National Guard had them.

9           Q     If you saw that even as a private citizen, what

10     would you do?

11                MR. WOODWARD:     Objection.

12                THE COURT:    Sustained.

13     BY MR. MANZO:

14          Q     As a law enforcement agent if you saw somebody

15     walking around in open daylight with a rifle in Washington,

16     D.C., what would you do?

17                MR. WOODWARD:     Objection.

18                THE COURT:    It's overruled.

19                THE WITNESS:     I would call for help.

20     BY MR. MANZO:

21          Q     Would you expect help to come?

22          A     Yes.

23          Q     What would you expect to happen to the individual

24     walking around with a rifle?

25          A     That they would be detained.
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 43 of 135

                                                                                3901

1           Q     I want to shift gears for a minute back to what

2      Mr. Fischer said yesterday when he asked if Mr. Caldwell was

3      on the second or third floor.         Do you remember that?

4           A     Yes.

5           Q     Do you remember Mr. Caldwell pressing the button

6      to go between the floors?

7           A     Yes.

8           Q     Was there anything that prevented him from

9      pressing the button to go between the second and third floor

10     of the hotel?

11          A     No.

12                MR. MANZO:    Can you pull up, Ms. Rohde, 1510.10,

13     at 30 seconds.

14                (Video played)

15     BY MR. MANZO:

16          Q     Do you recognize what 1510.10 is generally?

17          A     Yes.

18                This is Paul Stamey carrying a large item.

19          Q     And at 30 seconds, what do you see here?

20          A     That is Sharon Caldwell and Tom Caldwell getting

21     off the elevator on the third floor.

22                (Video played)

23     BY MR. MANZO:

24          Q     As they're walking, do you notice anything

25     preventing Mr. Caldwell from moving?
     Case 1:22-cr-00015-APM    Document 730   Filed 01/02/24    Page 44 of 135

                                                                                 3902

1           A      I do not.

2           Q      Do you remember Mr. Bright asking you a series of

3      questions about Mr. Caldwell's connections to the Florida

4      Oath Keepers?

5           A      Yes.

6           Q      Can we pull up 6923, slide 4.

7                  Can you read 6923, slide 4.

8           A      "We are going to win this election.           I'm still

9      praying.    Was asked to be one of the speakers on Sunday.

10     Sharon recorded it.      Hope I wasn't too weird.         You know how

11     I am.    Met some very interesting special operators there,

12     some of whom are coming back in town this week for an

13     op along the lines of what we discussed.           Coming in numbers.

14     You and Kenny should meet them.        I am helping with intel and

15     logistics.    They are nationwide."

16          Q      Who had Mr. Caldwell met the weekend before, the

17     time before?

18          A      That was Mr. Rhodes and Mr. Smith at least.

19          Q      And are you aware of where Mr. Stamey lives?

20          A      In North Carolina.

21          Q      So can you pull up slide 7.

22                 Looking at Slide 7 here, what's going on here?

23          A      This is a message we saw before.            This is

24     Mr. Caldwell telling Mr. Stamey about a conversation he had

25     with -- presumably with Ranger Doug.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 45 of 135

                                                                               3903

1           Q     And then Mr. Stamey is from what state again?

2           A     Mr. Stamey is from North Carolina.

3           Q     Can we go to slide 9 now.

4                 What is going on here in slide 9?

5           A     This is Doug Smith telling a Signal group that was

6      titled "NC members" about an upcoming training.

7           Q     What did the training entail?

8           A     Amongst other things, setting up hasty ambushes

9      and reacting to ambushes, falling into formation when we

10     assemble, roadblocks, vehicle recovery.          Sorry.    There's a

11     number of things.

12          Q     Can we now go to 6923, slide 50.

13                Who's speaking here in 6923, slide 50?

14          A     Kelly Meggs.

15          Q     And what does he say here?

16          A     "Good call last night.      Lots covered.       I'll get

17     with NC team today and find out QRF location."

18          Q     And can we go to 51 now, the next slide.

19                Who's speaking here?

20          A     This is Mr. Stamey to Mr. Caldwell, and he is

21     reporting "Florida, 2 men left back, 12 to 15 going in D.C."

22          Q     So did Mr. Caldwell have conduct [sic] indirectly

23     with Florida people even on these chains?

24          A     He did.     And I have seen other messages also.

25                MR. FISCHER:     Objection.    Non-responsive.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 46 of 135

                                                                               3904

1                  THE COURT:   What was the question again?

2                  MR. CRISP:   Did Mr. Caldwell have indirect contact

3      with Florida?

4                  THE COURT:   I don't know what that means.          What do

5      you mean?

6                  MR. MANZO:   Indirect Signal communications with

7      Florida.

8                  THE COURT:   Do you mean about people from Florida

9      or with people from Florida?

10     BY MR. MANZO:

11          Q      Did Mr. Caldwell have communications with

12     individuals connected to Florida?

13          A      Yes.

14          Q      And can we go now to slide 19 here.

15                 Who's speaking in slide 19?

16          A      This is Tom Caldwell.

17          Q      And who is he speaking to?

18          A      Jessica Watkins.

19          Q      And can we now go to 1510.11.

20                 What are we looking at here in 1510.11?

21          A      This is Mr. Caldwell, Mr. Crowl, and Ms. Watkins

22     standing near the second floor elevators.

23                 (Video played)

24     BY MR. MANZO:

25          Q      And what happens here at the end of the slide?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 47 of 135

                                                                               3905

1           A     They raise glasses and salute.

2           Q     Was this before or after January 6th?

3           A     After.

4           Q     Can we go to 1510.8.

5                 And go to 5 seconds here and pause it.

6                 (Video played)

7      BY MR. MANZO:

8           Q     Okay.    Who is walking in with the tote into the

9      lobby of the Comfort Inn?

10          A     Ed Vallejo.

11          Q     Who's got the purple arrow next to him?

12          A     Tom Caldwell.

13                MR. MANZO:    Can you play it in order forward,

14     Ms. Rohde.

15                (Video played)

16     BY MR. MANZO:

17          Q     And what does Mr. Caldwell appear to do as

18     Mr. Vallejo passes?

19          A     He nods.

20                MR. MANZO:    Ms. Rohde, can you pull up now 1052.6.

21     BY MR. MANZO:

22          Q     Did you recognize 1052.6?

23          A     Yes.

24          Q     Who's the person speaking here in this clip?

25          A     Ed Vallejo.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 48 of 135

                                                                               3906

1           Q      Is that the person that you just mentioned from

2      the clip from the Comfort Inn?

3           A      Yes.

4           Q      What does Mr. Vallejo say as we play it forward?

5                  (Audio played)

6      BY MR. MANZO:

7           Q      When was this clip -- or when did Mr. Vallejo make

8      this statement?

9           A      Sometime in the morning of January 6th, 2021.

10          Q      What was scheduled to happen in the afternoon of

11     January 6th?

12          A      The certification by Congress of the 2020

13     election.

14          Q      Mr. Fischer asked you a series of questions about

15     plans.   Can you --

16                 Can we pull up 6923, slide 1.

17                 Can you read what 6923, slide 1 says?

18          A      "Sharon and I are going to this rally tomorrow for

19     the President.      It's a show of support.      If we lose him from

20     the White House, our country is dead.         They are asking that

21     folks Trump train it over there with flags flying.             This may

22     be the last hurrah, or a final push to let people know we

23     are not going down easily.      Next step, I guess, if the

24     democraps throw out the Constitution, is Civil War."

25          Q      Okay.    You were asked a series of questions about
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 49 of 135

                                                                               3907

1      whether you saw a specific message that said, on

2      January 6th, we're going to do X plan to go storm the

3      Capitol with X people?

4           A     Right.

5           Q     Did you ever see that exact message?

6           A     No.

7           Q     In this case, did individuals destroy evidence?

8           A     Yes.

9           Q     Who?

10                That you've already testified about?

11          A     Mr. Caldwell.

12                MR. FISCHER:     Objection.    She didn't testify to

13     that.

14     BY MR. MANZO:

15          Q     Did individuals delete evidence?

16                THE COURT:    Well, hang on.

17                So I understood the question differently, but I'll

18     sustain the objection.      Just rephrase it, please.

19     BY MR. MANZO:

20          Q     Did individuals that you've already testified

21     about here delete evidence?

22          A     Yes.

23                MR. FISCHER:     Objection.    That's not the

24     testimony.

25                THE COURT:    I'm sorry.
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 50 of 135

                                                                                3908

1                  (Bench conference)

2                  MR. FISCHER:    Your Honor, the only testimony I

3      heard is something about an unsent message.             That's not

4      deleting anything, that's not destroying anything.              That's

5      simply recalling a message.      That's not evidence

6      destruction.

7                  MR. MANZO:    I can word it precisely then.

8                  MR. WOODWARD:    We second the objection.         I think

9      this is opening the door to recross that's unnecessary.

10                 THE COURT:    I don't think it's opening the door to

11     recross.    But if the question needs to be more precisely

12     worded, then I think that's appropriate.

13                 I mean, look, I guess deleted is a loaded word and

14     I guess that's what the defense is really objecting to.                  So,

15     Mr. Manzo, if you want to be precise about what you believe

16     the defendants did that resulted in the inability of the

17     government to access the communication, then be precise

18     about it.

19                 MR. MANZO:    Very well.

20                 MR. GEYER:    Your Honor, this is Mr. Geyer.

21     Mr. Manzo went over that slide very fast that has the

22     reference to Kenny.      That is not Kenny Harrelson.         I would

23     respectfully request that at some point during his redirect,

24     that he return to that slide and just mention that it's not

25     Harrelson.
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 51 of 135

                                                                                3909

1                 MR. MANZO:    I will.      I actually don't remember

2      which slide it is, but maybe Ms. Rohde can assist me.

3                 MR. GEYER:    Thank you, Mr. Manzo.

4                 (Open court)

5                 THE COURT:    All right.      So the objection is

6      sustained as the question was phrased.

7                 Mr. Manzo.

8      BY MR. MANZO:

9           Q     Earlier you saw a message that had the word

10     "Kenny" in it.     Do you remember that?

11          A     Yes.

12          Q     That's not Kenneth Harrelson?

13          A     Correct.

14          Q     Okay.

15                When I asked you questions about messages not

16     being available.

17          A     Yes.

18          Q     Did you observe in your -- and testify in court

19     that messages were unsent by a user?

20          A     Yes.

21          Q     Does that make them available to the FBI via

22     search warrant?

23          A     It does not.

24          Q     Can we turn -- nevertheless, you did obtain a

25     large number of messages; is that correct?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 52 of 135

                                                                               3910

1             A    Yes.

2             Q    Were there some messages about mobilizing in the

3      streets?

4             A    Yes.

5             Q    Can we go to 6923, slide 27.

6                  What is going on here in 6927 -- 6923, slide 27?

7             A    This is a comment or a reply to a comment from

8      Mr. Caldwell on December 31st, 2020.         It says, "It begins

9      for real Jan 5 and 6 on Washington, D.C. when we mobilize in

10     the streets.    Let them try to certify some crud on

11     Capitol Hill with a million or more patriots in the streets.

12     This kettle is set to boil."

13            Q    Can we go to 6923, 31.     What's going on here in

14     6923, 31?

15            A    This is from Adrian Grimes to Mr. Caldwell on

16     January 1st, 2021, from Facebook.        "Trump will win on the

17     6th.   If not I'm personally going to start the Civil War

18     myself, so fucking tired of these libtards."

19            Q    Is there a response from Mr. Caldwell?

20            A    Yes.

21            Q    What is it?

22            A    "I am starting it the night of the 6th if

23     necessary."

24            Q    Can we go to 6860, slide 29.

25                 Do you recognize 6860, slide 29 which is already
     Case 1:22-cr-00015-APM    Document 730   Filed 01/02/24   Page 53 of 135

                                                                                3911

1      in evidence?

2           A     Yes.

3           Q     Can you read 6860, 29 to the jury?

4           A     This is from Mr. Rhodes to the "OK FL hangout"

5      chat on December 21st, 2020.

6                 "Let's adopt the Q slogan of WWG1WGA.            Where we go

7      one, we go all.    We nullify together.        We defy together.         We

8      resist together.       We defend together.     They come for one of

9      us, they come for all of us."

10          Q     Next slide, please.

11          A     "When they come for us, we go for them.            When they

12     strike at our leaders, we strike at their leaders.              This is

13     the path of the founders.       It's what they did."

14          Q     And can we go to the next slide?

15                Who's speaking here?

16          A     Kelly Meggs.

17          Q     What does he say?

18          A     "We are militia.      We don't have to play by their

19     rules.   We make the rules, we the people."

20          Q     Can we go to 6860, slide 52 now.

21                What's going on here in 6860, slide 52?

22          A     These are additional messages from Mr. Meggs to

23     the OK Florida hangout chat.

24          Q     What does he say here?

25          A     "We have millions."
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 54 of 135

                                                                               3912

1            Q     Next?

2            A     "Once they see it start.      We need to wait

3      patiently and then be the leaders."

4            Q     And then who's speaking here at the very end?

5            A     I believe this is actually Mr. Bittner.

6            Q     What does he say?

7            A     "If this election situation is not resolved on

8      January 6th, all hell is going to break loose across

9      America."    So 'resolved' which way?      In my honest

10     opinion" -- I'm sorry, "IMHO, either way is going to set it

11     off."

12           Q     Can we now go to Kelly Meggs Exhibit 13 on page

13     24.

14                 Do you recognize this from your cross-examination

15     yesterday?

16           A     I've seen this message.      I'm not sure it was from

17     my cross-examination.

18           Q     Okay.   And what does it say here?

19                 And this has already been admitted into evidence.

20                 What does it say here?

21           A     On December 31st, 2020, "It's incredibly important

22     for us to be front and center, again, and very visible to

23     the patriots and to the domestic enemies.          Heck, also to our

24     foreign enemies, who will surely be watching as well."

25           Q     Okay.   Can we go to Kelly Meggs 13, page 54.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 55 of 135

                                                                               3913

1                 Who's speaking here?

2            A    Don Siekerman.

3            Q    What does he say?

4            A    "Everyone, tonight or tomorrow" -- let me go back.

5      January 2nd, 2021.     "Everyone, tonight or tomorrow, let's

6      take some time to thank our loved ones for putting up with

7      us and our inability not to stop from running to the sounds

8      of battle."

9            Q    I'm going town stop you there.

10                Where were the Oath Keepers planning to be on

11     January 6th?

12           A    In Washington, D.C.

13           Q    So where would the sounds of battle that

14     Mr. Siekerman is referring to be?

15           A    Washington, D.C.

16           Q    Can we go to Kelly Meggs 13, page 69.

17                And can you read these two sentences here and

18     state who they're from?

19           A    So this is from an individual named Nick Grenier

20     to the D.C. Op Jan 6 chat on January 3rd, 2021.

21                "From an email I received from someone traveling

22     up:   'The March to save America rally's main venue is on the

23     50-acre Ellipse just south of the White House.            As we know,

24     this merges into the Mall around the Washington Monument and

25     heads down to the Capitol, the scene of the 'action.'"
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 56 of 135

                                                                               3914

1           Q     What happened at the Capitol on January 6th?

2           A     The certification and then a riot.

3           Q     Can we go now to 6615B, which has already been

4      admitted into evidence, slide 5.

5                 What's the date of this slide?

6                 THE COURT:    Mr. Manzo, I'm sorry to interrupt.

7      Could I just ask you to get on the phone real quick.

8                 (Bench conference)

9                 THE COURT:    Mr. Manzo, how much longer are you

10     going to have?

11                MR. MANZO:    Five to ten minutes.

12                THE COURT:    Okay.   One of the defendants has

13     requested a bathroom break, so I'm going to do that now.

14                MR. MANZO:    That's fine.

15                THE COURT:    And we'll just take about ten minutes,

16     okay?

17                MR. MANZO:    Thank you.

18                (Open court)

19                THE COURT:    Ladies and gentlemen, we're going to

20     take a short break this morning.       So it's 11:25 now.        Why

21     don't we plan to resume at 11:35 or so, or 11:40.            But

22     actually about 11:35 we'll try and get started again.

23                Thank you all very much, we'll see you shortly.

24                COURTROOM DEPUTY:     All rise.

25                (Jury exited the courtroom.)
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 57 of 135

                                                                               3915

1                 THE COURT:    All right.    See everybody back here in

2      ten minutes.    Thank you.

3                 (Recess from 11:26 a.m. to 11:37 a.m.)

4                 THE COURT:    Please stay seated, everybody.

5      Thank you.

6                 Agent Hilgeman, why don't you come on back up.

7                 (Pause)

8                 COURTROOM DEPUTY:     Jury panel.

9                 (Jury entered the courtroom.)

10                THE COURT:    Okay.   Please be seated, everyone.

11                Mr. Manzo.

12                MR. MANZO:    Thank you, Your Honor.

13     BY MR. MANZO:

14          Q     We left off when you were testifying about

15     messages in the mainly late December, early January period;

16     is that correct?

17          A     Yes.

18          Q     Let's go back to November.

19                And, Ms. Rohde, can you pull up 6615B, slide 5.

20                Agent, what's the date of this message?

21          A     November 7th, 2020.

22          Q     Who's it --

23                MR. FISCHER:     Your Honor, objection.        Beyond the

24     scope.

25                (Bench conference)
     Case 1:22-cr-00015-APM    Document 730   Filed 01/02/24   Page 58 of 135

                                                                                3916

1                 MR. WOODWARD:      I'll let Mr. Fischer take the --

2                 MR. FISCHER:      This is Mr. Fischer.

3                 Your Honor, this is not covered in direct

4      examination.    Now we're going back to November 7th chat

5      regarding the Serbian guy.

6                 MR. MANZO:      Your Honor, there was about 50

7      questions on whether there was a plan or not.            This one of

8      the best piece of evidence that we have that Mr. Rhodes did

9      lay out a plan, a five-step plan that involved storming the

10     parliament, which is exactly what happened which is why

11     we're bringing this in here.

12                MR. WOODWARD:      This is Mr. Woodward.        She did not

13     testify to that.       They've compartmentalized their evidence

14     and have objected when we've tried to go outside the time

15     period of their witness' testimony.

16                THE COURT:      Look, the testimony, at least as

17     conceived, was largely about the QRF and the collection of

18     weapons.   So we're not going back to something much earlier

19     in time Now, there were a lot of questions about the purpose

20     of the QRF.    I'm not sure this goes to that.

21                MR. MANZO:      I think there are a number of

22     open-ended questions about whether there was, for instance,

23     the entirety of the investigation, you never saw one message

24     that said X, Y, Z.

25                Our argument is that there is this message that
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 59 of 135

                                                                               3917

1      says, not specifically be in D.C. on January 6th, but

2      there's a message that says storm parliament.           We think it's

3      squarely to rebut the cross-examination of the defense here.

4                 MR. WOODWARD:     I think we'd have to look at

5      exactly at what the transcript says but we've also been

6      specific about asking, for example, when I have

7      cross-examined a witness, I've said, of all the messages you

8      read here today, yesterday, you didn't read a single message

9      today that said there was no plan to enter the Capitol, or

10     with this witness I asked about whether there were any maps,

11     she saw any maps of the Capitol, this is not that.             You

12     know, again, we appreciate the point that the government is

13     trying to make, they made that point with

14     Special Agent Palian.     If we have the opportunity, we'd love

15     to cross-examine this witness about messages that go back to

16     November 7th, 2020.

17                THE COURT:    Okay.   All right.      I'll sustain the

18     objection, and let's stay focused on the time period that

19     she was -- the main part of her testimony, okay?            I mean, if

20     there's slightly outside of this, I'll consider it, but this

21     does go back to early November.

22                MR. MANZO:    Okay.

23                (Open court)

24                THE COURT:    So that objection will be sustained.

25
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 60 of 135

                                                                               3918

1      BY MR. MANZO:

2           Q     You were asked a number of questions about what

3      the purpose of the QRF was, correct?

4           A     Yes.

5           Q     What was the purpose of the QRF?

6           A     The purpose of the QRF was to support the overall

7      plan to keep President Biden from taking power.

8                 MR. MANZO:    Thank you.    No further questions.

9                 THE COURT:    Okay.

10                MR. GEYER:    Sidebar, please.

11                (Bench conference)

12                THE COURT:    Yes.

13                MR. GEYER:    I thought we had an agreement with

14     Mr. Manzo that he would go up there and correct that.             I'd

15     like it to be a robust correction if possible, Your Honor.

16                THE COURT:    I'm sorry, I'm missing what are you

17     referring to.

18                MR. GEYER:    What they did was on the issue of that

19     there's all this Florida involvement, they pulled up the

20     slide that has my client's name on it.         It's not my client.

21                THE COURT:    This is the reference to Kenny?

22                MR. GEYER:    Yes.

23                THE COURT:    He did ask about that.

24                MR. GEYER:    Oh.

25                THE COURT:    He did ask her before the break.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 61 of 135

                                                                               3919

1                 MR. GEYER:    Never mind.

2                 THE COURT:    Okay.

3                 MR. GEYER:    Sorry.

4                 (Open court)

5                 THE COURT:    All right.    Agent Hilgeman, step down,

6      your testimony is done.      Thank you very much.

7                 MS. HUGHES:    The government calls Captain Ronald

8      Ortega.

9                 The Court's indulgence, it may be just a few

10     minutes.

11                THE COURT:    Okay.

12                (Pause)

13                THE COURT:    Thank you for your patience, everyone.

14     We should have somebody here in a minute.

15                (Pause)

16                THE COURT:    Ms. Hughes, do we know where your

17     witness is?

18                MS. HUGHES:    We do know where the witness is.

19     He's coming.

20                THE COURT:    Is he coming from where?

21                MS. HUGHES:    He is here.     He is just indisposed at

22     the moment.    He will be here in just a few minutes.

23                THE COURT:    All right.

24                MS. HUGHES:    I would prefer to speak with you at

25     sidebar if possible.
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 62 of 135

                                                                                3920

1                  (Bench conference)

2                  MS. HUGHES:    Your Honor, he had to go to the

3      bathroom.

4                  THE COURT:    I figured that's what you meant by

5      that, okay.

6                  MS. HUGHES:    I'm trying to be discreet.         So

7      apologies.

8                  (Open court)

9                  (Pause)

10                 COURTROOM DEPUTY:    Please raise your right hand.

11                 (Witness is placed under oath.)

12                 COURTROOM DEPUTY:    Thank you.

13                 THE COURT:    Captain Ortega, welcome.         If you'd

14     like to have a mask on, we'll ask you to put on a clear

15     mask.    But if you're comfortable testifying without one, you

16     can keep it off.

17                 THE WITNESS:    I'm fine with that.

18                 THE COURT:    All right.    Thank you.

19                 Ms. Hughes.

20                                    - - -

21     CAPTAIN RONALD ORTEGA, WITNESS FOR THE GOVERNMENT, SWORN

22                              DIRECT EXAMINATION

23                                    - - -

24     BY MS. HUGHES:

25          Q      Good morning, Captain Ortega.
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 63 of 135

                                                                                3921

1           A     Good morning.

2           Q     Could you please introduce yourself by spelling

3      and stating your full name.

4           A     Ronald Ortega.     R-o-n-a-l-d.      Ortega, O-r-t-e-g-a.

5           Q     Where do you work?

6           A     For the United States Capitol Police.

7           Q     What is your title?

8           A     My title is captain.

9           Q     How long have you worked for the

10     U.S. Capitol Police?

11          A     I've been with the Capitol Police for

12     approximately 15 years.

13          Q     Were you on duty on January 6th, 2021?

14          A     I was.

15          Q     As captain, are you one of the more senior

16     officers at the U.S. Capitol Police?

17          A     I am.

18          Q     Can you please sort of explain your rank.

19          A     So the rank of captain, I'm in charge of

20     lieutenants, sergeants, and police officers at the

21     United States Capitol Police.         I'm at the assistant

22     commander level.

23          Q     Are you familiar with the closed caption TV

24     systems and surveillance systems that the U.S. Capitol

25     Police deploys at the U.S. Capitol?
     Case 1:22-cr-00015-APM    Document 730   Filed 01/02/24   Page 64 of 135

                                                                                3922

1           A     I am.

2           Q     And are you familiar specifically with footage

3      from January 6th, 2021?

4           A     I am.

5           Q     I'm going to ask you a little bit more about all

6      of these topics, but first I want to just go into your

7      background a little bit more.

8                 You mentioned that you've been at

9      U.S. Capitol Police for 15 years.

10                Could you please explain in broad brushstrokes,

11     what is the mission of the U.S. Capitol Police?

12          A     The mission of the Capitol Police is to protect

13     the Congress, its family members, staffers, and visitors

14     through the Capitol and Capitol Grounds.

15          Q     How is the U.S. Capitol Police different from

16     D.C.'s Metropolitan Police Department?

17          A     Metropolitan Police Department would be the

18     primary police agency on -- in the District of Columbia.

19     U.S. Capitol Police is exclusively going to be on the

20     Capitol Grounds.       Our main focus is the United States

21     Capitol, the surrounding buildings, and the grounds.

22          Q     Are there specialized divisions within the

23     U.S. Capitol Police?

24          A     There are.

25          Q     Could you please explain what those divisions are?
     Case 1:22-cr-00015-APM    Document 730    Filed 01/02/24   Page 65 of 135

                                                                                 3923

1           A     We have a full-service special operations

2      division, which would be a patrol division.              We have a

3      dignitary protection division, which provides protection

4      details to the leadership of Congress.           We have a

5      full-service investigations division.           We have a

6      full-service bomb squad.       We have a full-service hazardous

7      materials response team.       We have a full-service SWAT team.

8      We have a full-service K-9 unit.

9           Q     Does the U.S. Capitol Police have a division that

10     is specifically trained in less than lethal deployments?

11          A     We do.

12          Q     What does the less-than-lethal division do?

13          A     The less-than-lethal team is utilized -- they are

14     trained in, like, some of the FN 303s, which utilize the

15     pepper balls, weapons like that that are used in civil

16     disturbance.

17          Q     You stated a number there.          What is an FN 303?

18          A     The FN 303, it's a less lethal launcher that

19     launches the pepper bullets and some of the less-than-lethal

20     items.

21          Q     Do they also carry guns?

22          A     They do carry guns.         They are still full-service

23     police officers.       They've just have extra training.

24          Q     What is the Senate division responsible for?

25          A     The Senate division would be responsible for the
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 66 of 135

                                                                               3924

1      Senate buildings.      The Russell, Dirksen and Hart buildings

2      on the Senate side of the U.S. Capitol.

3           Q      What is the Capitol division responsible for?

4           A      The Capitol division is in charge of the Capitol

5      Building.

6           Q      And what's the House division responsible for?

7           A      The House division would be in charge of the House

8      office buildings, the Rayburn, the Longworth and the Cannon

9      buildings.

10          Q      Captain Ortega, could you please briefly describe

11     the various positions you have held while at the

12     U.S. Capitol Police.

13          A      As a police officer, I served on House Division

14     Section 3.

15                 As a special agent, I was with the Dignitary

16     Protection Division.

17                 When I was a sergeant, I served with House

18     Division Section 1.

19                 Then at the Dignitary Protection Division again,

20     and then the Office of Professional Responsibility.

21                 When I made the rank of lieutenant, I was assigned

22     to Senate Division Section 3, and then I was assigned to our

23     Investigations Division where I ran our threat assessment

24     section and our intel operations section.

25                 When I made the rank of captain, I was assigned to
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 67 of 135

                                                                               3925

1      Senate Division as the Assistant Commander.

2                  And then in March of 2021, I was resigned to the

3      Capitol Division as an Assistant Commander.

4           Q      I want to turn now to talking about the actual

5      physical U.S. Capitol building.       Through all of these jobs,

6      have you become familiar with the physical U.S. Capitol

7      complex?

8           A      I have.

9           Q      And can we please put up for the witness

10     Government's Exhibit 7025.

11                 What is on your screen, Captain Ortega?

12          A      That is overhead of the United States Capitol.

13          Q      Is it a fair and accurate depiction of the

14     United States Capitol, and I will -- just let me back up for

15     a second.

16                 Do you know approximately when this overhead was

17     taken based on some of the physical features in the photo?

18          A      It appears to be January 2021.

19          Q      And is this a fair and accurate depiction of the

20     United States Capitol on -- in January 2021?

21          A      It is.

22                 MS. HUGHES:    Government moves to admit and publish

23     Government's Exhibit 7025.

24                 MR. FISCHER:    No objection.

25                 THE COURT:    7025 will be admitted.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 68 of 135

                                                                               3926

1                                            (Government's Exhibit 7025
                                                received into evidence.)
2      BY MS. HUGHES:

3             Q   Okay.   Captain Ortega, if you could just state

4      again what is this a photo of?

5             A   It's an overhead view of the United States

6      Capitol.

7             Q   Captain Ortega, you can touch the screen before

8      you.   And if you could just, on the screen, could you please

9      note which is the House side of this picture?

10            A   That would be the House side.

11            Q   And for the record, Captain Ortega placed an H on

12     the lower rectangle of the Capitol.

13                And which is the Senate side?

14            A   It would be right here.

15            Q   For the record, on top of the screen, the upper

16     most, the Captain placed an S.

17                What is in the center?      What is the circular dome

18     that we are looking down upon?

19            A   That would be the dome of the United States

20     Capitol.

21            Q   To the left of the dome, there is a white

22     structure.   What is that structure?       And if you could just,

23     the structure I'm speaking about is this white half circle.

24     What is that structure?

25            A   That would be the Inaugural Stage.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 69 of 135

                                                                               3927

1           Q     And would this be on the west side of the Capitol?

2           A     That is correct, the west side of the Capitol.

3           Q     Is this stage there all the time?

4           A     It is not.

5           Q     What is the purpose of this structure?

6           A     That stage is constructed for the inauguration.

7           Q     And would this structure -- or was this structure,

8      rather, there on January 6th, 2021?

9           A     It was.

10                MS. HUGHES:    And, Ms. Rohde, if we could just for

11     the witness put up Government's Exhibit 1652.

12                Now, 1653.

13                1661.

14                1662.

15                1663.

16                1673.

17     BY MS. HUGHES:

18          Q     Captain Ortega, have you had an opportunity to

19     review these photos prior to testifying today?

20          A     I have.

21          Q     And are these photos fair and accurate depictions

22     of the United States Capitol to include blueprints of

23     various floors within the Capitol?

24          A     They are.

25                MS. HUGHES:    Government moves to admit and publish
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 70 of 135

                                                                               3928

1      Government's Exhibit 1652, 1653, 1661, 1662, 1663, and 1673.

2                   MR. CRISP:    No objection, Your Honor.

3                   THE COURT:    Okay.

4                   Those will all be admitted.

5                (Government's Exhibits 1652, 1653, 1661, 1662, 1663,
                                     and 1673 received into evidence.)
6

7                   MS. HUGHES:    If we could begin with 1661,

8      Ms. Rohde.     Thank you.

9      BY MS. HUGHES:

10           Q      What is this floor plan of, Captain Ortega?

11           A      This is the first floor of the United States

12     Capitol.

13           Q      And which, again, is the House side?

14           A      So if we're looking at this, the House side would

15     be right here.

16                  MS. HUGHES:    And, Ms. Rohde, if we actually

17     could -- is it possible to rotate this so north is, in fact,

18     facing north.     If the answer is no, that's okay, we'll make

19     do.

20     BY MS. HUGHES:

21           Q      Sorry, Captain Ortega.    If you could just imagine

22     that this actually facing north.       So the House side is to

23     the right; is that correct?

24           A      Correct, that would be south of the building.

25           Q      And is the Senate side then to the left?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 71 of 135

                                                                               3929

1           A     That is correct.

2           Q     What is in the center of this map?

3           A     So on the first floor, that would be the Crypt of

4      the United States Capitol.

5           Q     What is the Crypt?

6           A     It's just the center of the Capitol on the first

7      floor.

8           Q     What is directly above the Crypt?

9           A     Above would be the Rotunda.

10          Q     If we could please move to Government's Exhibit

11     1662.

12                What is this a schematic of?

13          A     This is the second floor of the United States

14     Capitol.

15          Q     And which side is the House side?

16          A     The House side would be the south of the photo.

17          Q     And what is the Senate side?

18          A     That would be the north of the photo.

19          Q     And on this drawing, is there actually the

20     chambers that are reflected in this schematic?

21          A     There are.

22          Q     Meaning the places where the Senate and House

23     convene?

24          A     That is correct.

25          Q     Now, what is in the center of this schematic, this
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 72 of 135

                                                                               3930

1      circle in the center?

2             A   That would be the United States Capitol Rotunda.

3             Q   And what is -- to the left of the Rotunda, what is

4      this area?

5             A   So that would be the Old Senate Chamber.

6             Q   And what is -- within the Old Senate Chamber,

7      there's a small circle that is right below it.            Do you know

8      what this small area is?

9             A   That is the mini Rotunda on the Senate side.

10            Q   What is this area to the right of the Rotunda?

11            A   That would be called Statutory Hall.

12            Q   And, Captain Ortega, are you familiar with where

13     the Speaker's office is?

14            A   I am.

15            Q   Where is the Speaker's office on this diagram?

16            A   If you don't mind me circling, it would be right

17     around here.

18                MS. HUGHES:    And for the record, the witness

19     placed a circle to the lower right of the Rotunda on the

20     map.

21                Thank you, Ms. Rohde.      You can take that down.

22     BY MS. HUGHES:

23            Q   Captain Ortega, are you generally familiar with

24     the security procedures at the Capitol?

25            A   I am.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 73 of 135

                                                                               3931

1           Q      On a normal day, what kinds of security would a

2      person -- would a visitor to the United States Capitol have

3      to go through?

4           A      Anyone that enters the United States Capitol would

5      have to submit to security screening, which would involve

6      walk-through magnetometers, hand wands and X-rays.

7           Q      Are all the doors on the U.S. Capitol open to

8      visitors?

9           A      They're not.

10          Q      Which doors must you go through in order to enter

11     the United States Capitol as a visitor?

12          A      So we have the north screening facility, and we

13     have the south door of the United States Capitol if you're

14     coming into the Capitol proper.       The only other place you

15     could enter would be the Capitol Visitor Center.

16          Q      Are there certain items that are prohibited?

17          A      There are.

18          Q      What kinds of items are prohibited in the

19     United States Capitol?

20          A      You can't have weapons like firearms, knives of a

21     certain length, items like that are prohibited inside the

22     United States Capitol.

23          Q      Are you familiar with the security procedures that

24     were in place on January 6th, 2021?

25          A      I am.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 74 of 135

                                                                               3932

1           Q     First, on January 6th, 2021, was the United States

2      Capitol open to the public?

3           A     It was not.

4           Q     Why was it closed to the public?

5           A     It was -- the Capitol, first of all, is never

6      actually open to the public.      You have to have a reason to

7      be at the Capitol.     But during that time frame, due to

8      COVID, the Capitol was not open to the public.

9           Q     Were there additional restrictions in place

10     because of the events taking place that day?

11          A     Correct.

12          Q     What event was taking place on January 6th, 2021?

13          A     There was a Joint Session of Congress.

14          Q     Could we please put up for the witness

15     Government's Exhibit 7026.

16                Captain Ortega, what is this a depiction of?

17          A     The red line on this picture represents the

18     perimeter that we had on January 6th, 2021.

19          Q     And is this a fair and accurate depiction of the

20     perimeter that was in place on January 6th, 2021?

21          A     It is.

22                MS. HUGHES:    Government moves to admit and publish

23     Government's Exhibit 7026.

24                MR. WOODWARD:     No objection.

25                MR. BRIGHT:    No objection.
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 75 of 135

                                                                                3933

1                 THE COURT:    7026 will be admitted.

2                                              (Government's Exhibit 7026
                                                  received into evidence.)
3      BY MS. HUGHES:

4           Q     So, Captain Ortega, could you please explain what

5      was this red line?

6           A     So the red line is the bike rack, the fence that

7      we utilized on January 6, 2021, to secure the perimeter

8      around the Capitol.

9           Q     And for the record, could you please note what is

10     the perimeter on the northmost part of the red line?

11          A     So the perimeter is on First and Constitution

12     Northwest.   Would you like me to go through the whole

13     perimeter?

14          Q     Yes, please.

15          A     It travels up Constitution, eastbound to around

16     Delaware and Conn, then it goes down on the east plaza of

17     the United States Capitol.

18          Q     Just to pause you there, when you say the east

19     plaza, is this this area?

20          A     Yes, ma'am, it is.

21          Q     And for the record, that's on the middle portion

22     of the easternmost perimeter.         I apologize.      Continue,

23     Captain Ortega.

24          A     For there it travels down to independence Avenue.

25     Independence Avenue, it travels westbound back to 1st Street
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 76 of 135

                                                                               3934

1      in the southwest and then continues up 1st Street to make a

2      full square.

3             Q   And so who could pass across this perimeter?

4             A   Only authorized individuals, which would include

5      members of the United States Capitol Police, staffers,

6      members of Congress.

7             Q   Is there only this one perimeter on January 6th?

8             A   No, there are more.

9             Q   So do you please explain how many perimeters there

10     are?

11            A   We had -- the red line would be the outermost

12     perimeter.   Beyond that, we had snow fencing that was

13     utilized as a perimeter.      Beyond that, we had police

14     officers as well that were being used to ensure our

15     perimeter.   And beyond that, close to the Capitol, we had

16     additional bike rack that was being utilized as a perimeter.

17            Q   What is snow fencing?

18            A   Snow fencing is a green type of fence that they

19     used on Capitol Grounds, and it's just another layer of

20     security to prevent somebody from making it through Capitol

21     Grounds.

22            Q   If we could please bring up Government's Exhibit

23     7028.

24                Captain Ortega, what is this a photo of?

25            A   That is a photo of the crowd picking up the bike
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 77 of 135

                                                                               3935

1      rack and utilizing it to hit my officers.

2           Q     And have you seen this photo before?

3           A     I have.

4           Q     And is this a fair and accurate depiction of the

5      bike racks and the signage that was on the bike racks on

6      January 6th, 2021?

7           A     It is.

8                 MS. HUGHES:    Government seeks to admit and publish

9      Government's Exhibit 7028.

10                MR. LINDER:    No objection.

11                THE COURT:    All right.    7028 will be admitted.

12                                           (Government's Exhibit 7028
                                                received into evidence.)
13     BY MS. HUGHES:

14          Q     Okay.    So, Captain Ortega, on this, are these the

15     bike racks that you were describing?

16          A     They are.

17          Q     And what is this -- there appears to be a sign on

18     the bike rack.     First of all, could you please read what is

19     on that sign?

20          A     The sign says "Area closed."

21          Q     And if we could please bring up Government's

22     Exhibit 7031, which is a physical exhibit, and this has been

23     viewed by defense prior.

24                If you could hold the exhibit, Captain Ortega, you

25     can stand.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 78 of 135

                                                                               3936

1                 Well, I apologize, you should probably sit down.

2                 My apologies, Your Honor.

3                 THE COURT:    That's okay.

4      BY MS. HUGHES:

5           Q     Is this a fair and accurate -- or is this one of

6      the signs that was in place on January 6th on the bike

7      racks, to the best of your viewing abilities?

8           A     It appears to be, yes.

9                 MS. HUGHES:    Government seeks to admit and publish

10     to the jury Government's Exhibit 7031.

11                MR. CRISP:    No objection.

12                THE COURT:    7031 will be admitted.

13                                           (Government's Exhibit 7031
                                                received into evidence.)
14     BY MS. HUGHES:

15          Q     My apologies, Captain Ortega.         You can now stand.

16                So this was one of the signs -- or is -- this is

17     importantly the approximate size of the signs that were on

18     this perimeter on January 6th, 2021?

19          A     It is.

20          Q     Could you read what is on the sign?

21          A     "Area closed by the order of the United States

22     Capitol Police board."

23          Q     Thank you, Captain Ortega, and thank you,

24     Ms. Rakoczy.

25                If we could please put up for the witness
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 79 of 135

                                                                               3937

1      Government's Exhibit 7029.

2                  Is this another photo of the "area closed" sign on

3      the fencing?

4           A      It is.

5                  MS. HUGHES:    And if we could admit and publish

6      Government's Exhibit 7029.

7                  THE COURT:    7029 will be admitted.

8                                            (Government's Exhibit 7029
                                                received into evidence.)
9      BY MS. HUGHES:

10          Q      And so were these signs around the perimeter for

11     the entirety of sort of the red line that we originally

12     viewed?

13          A      That is correct.

14          Q      Captain Ortega --

15                 You can take that down, thank you, Ms. Rohde.

16                 I want to now turn to what you yourself did on

17     January 6th, 2021.     First of all, were you working at the

18     United States Capitol complex on January 6th?

19          A      I was.

20          Q      When did you report for duty that day?

21          A      At approximately 0530 hours.

22          Q      When you arrived at 5:30, how many people were

23     there?    Was anyone gathered at that time?

24          A      There were.    As soon as I drove into the city, we

25     had a lot of -- the crowd was already in the city at this
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 80 of 135

                                                                               3938

1      point.

2           Q     What division were you working that day.

3           A     I was assigned to the Senate Division.

4           Q     And was there a time when you left the Senate

5      Division -- or left the Senate and reported to the Capitol?

6           A     There was.

7           Q     What time did you go to the Capitol?

8           A     At approximately 1:00 p.m.

9           Q     Why did you go to the Capitol?

10          A     There was a report on U.S.C.P. dispatch of a

11     breach of one of the perimeters.

12          Q     Where did you go?

13          A     I responded to the United States Capitol.

14          Q     Where specifically on the Capitol complex?

15          A     I responded to the east front of the United States

16     Capitol.

17          Q     If we could put up Government's Exhibit 1653,

18     which is already in evidence.

19                On this map, Captain Ortega, could you please

20     point out where you responded.

21          A     I had responded through the law library door.

22          Q     So where's the law library door?

23                And, Ms. Rohde, if perhaps we could just zoom in

24     on this section.

25          A     You're coming out from this area.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 81 of 135

                                                                               3939

1           Q     And what did you see when you exited out of the

2      law library doors?

3           A     Front of me, I saw a big crowd that was on the

4      east side of the plaza.      At the time they were behind the

5      fence and I saw several officers -- or I saw the bike rack

6      and then several officers behind the bike rack.

7           Q     How big was the crowd at this time?

8           A     It was enormous.     There was a -- it was one of the

9      bigger crowds I'd seen on the east plaza at that point.

10          Q     And what did you do upon responding to the east

11     side?

12          A     I'd noticed that a lot of the officers were

13     standing close to each other, but the size of the crowd and

14     the size of the perimeter that we were trying to hold

15     together, I started spreading the officers across the plaza,

16     starting from the House side in the south and working my way

17     north to the north side.

18          Q     And after you spread out the officers --

19                I don't know if we could zoom out again,

20     Ms. Rohde.   Thank you.

21                -- where did you go next?

22          A     I was informed by one of the officers that, when I

23     got to the end, that, "Captain, this isn't where they need

24     people, they need people on the west front."           So at that

25     point, I responded to the west front.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 82 of 135

                                                                               3940

1           Q     If we could put up Government's Exhibit 1652.

2                 On the west side, Captain Ortega, could you please

3      identify where you were positioned.

4           A     So I walked -- would you like me to draw it on the

5      screen?

6           Q     That would be wonderful.       Thank you.

7           A     So I walked up to the Upper West Terrace and

8      initially ended up here at the top of the Upper West

9      Terrace.

10                From there, I went down these set of stairs to the

11     inaugural stage.

12                MS. HUGHES:    And on the exhibit, the witness has

13     drawn a line from the left-hand side of the Capitol Building

14     up to the center left position on the front on the west side

15     of the Capitol.

16     BY MS. HUGHES:

17          Q     So when you arrived there, what did you see?

18          A     When I got to the Upper West Terrace, I was able

19     to observe the west front was almost completely filled in by

20     the crowd.

21          Q     And did you observe what the crowd was doing at

22     this time?

23          A     I did.

24                Once I got to the inaugural stage, I observed my

25     officers from the Senate Division being attacked by the
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 83 of 135

                                                                               3941

1      crowd.

2           Q     So where are you positioned in relation to the

3      crowd at this time?

4           A     I'm in this area.

5           Q     That's where you were?

6           A     At that time.

7           Q     On the stage itself?

8           A     Correct.

9           Q     How did you get from the West Terrace to the

10     stage?

11          A     There's a set of stairs right down here.            You pass

12     the scaffolding and then you'll be on the stage.

13                MS. HUGHES:    And the witness has indicated that he

14     traveled on the steps on the left side of the stage on

15     Government's Exhibit 1652.

16     BY MS. HUGHES:

17          Q     And when you were on the stage, were there rioters

18     on the stage at this time?

19          A     There were not.

20          Q     And did there come a time when you were in

21     physical proximity to the rioters?

22          A     There was.

23          Q     Could you please explain what happened during this

24     time period.

25          A     So as I went into the scaffolding after I saw my
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 84 of 135

                                                                               3942

1      officers attacked, I was looking for the way to get down to

2      them.    When I got into the scaffolding, the rioters at that

3      point were starting to go under the scaffolding.            The

4      scaffolding is these metal poles and it was covered by a

5      tarp.    The crowd was able to figure out how to get under the

6      tarp and started to enter inside the tarp.

7                  And at that point, slowly the crowd was starting

8      to come in.    At one point, they threw some sort of orange

9      liquid at my face and then they eventually started to

10     surround us and we had to engage in combat with them.

11          Q      Were you yourself hit during this physical

12     altercation, Captain Ortega?

13          A      I was.

14          Q      Was the rioters' access to this stage of

15     particular concern to the Capitol police?

16          A      It was.

17          Q      Why was that?

18          A      If they were able to get through the scaffolding,

19     they were going to have immediate access to the Lower West

20     Terrace door.    If they were to get up to the stairs on the

21     others side, they'd have access to the Capitol Building, to

22     the first floor through the doors.

23          Q      What was -- in terms of numbers, how did the

24     number of Capitol police officers that were trying to hold

25     this area compare with the rioters that you were opposed?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 85 of 135

                                                                               3943

1           A     We were severely out-numbered.

2           Q     Had you learned whether or not the rioters had

3      breached the Capitol at this time?

4           A     At that point, we were just hearing calls on the

5      radio.   But as I was in the scaffolding, they had not

6      breached at that point yet.

7           Q     Did there come a time when you went back inside

8      the Capitol?

9           A     There was.    We eventually did get breached at the

10     Upper West Terrace, and then we had to relocate back to the

11     east front.

12          Q     Captain Ortega, I want to circle back to, we had

13     mentioned originally that you were familiar with some of the

14     monitoring systems inside the U.S. Capitol.

15                First, as your time as captain, have you become

16     familiar with the kinds of security systems that the U.S.

17     Capitol employs?

18          A     I have.

19          Q     What kinds of camera systems are in place at the

20     U.S. Capitol?

21          A     We utilize closed-circuit television, also known

22     as CCTV.

23          Q     And are these CCTV cameras throughout the Capitol?

24          A     They are.

25          Q     Are there cameras inside the Capitol?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 86 of 135

                                                                               3944

1           A     There are.

2           Q     Are there cameras outside the Capitol?

3           A     There are.

4           Q     Can you pan on the cameras?

5           A     Some of them you can.

6           Q     Can you zoom in?

7           A     Yes, you can.

8           Q     Is there audio?

9           A     There's no audio on the cameras.

10          Q     Are you familiar with the kinds of radio systems

11     that are employed by U.S. Capitol Police?

12          A     I am.

13          Q     In general, what kinds of -- how do you stay in

14     touch with each other on your radios?

15          A     The Capitol Police issues out handheld radios to

16     each officer that's on the department.         We also have radios

17     inside of our vehicles.      They're utilized as a way to

18     communicate.    All of our radio calls go to a centralized

19     dispatch, which would be the United States Capitol Police

20     communication section, and that is how we use our radio

21     system.

22          Q     Are you familiar with how channels are used?

23          A     I am.

24          Q     What are the various radio channels that are used

25     by the U.S. Capitol in general?
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 87 of 135

                                                                               3945

1           A     We use main ops 1, main ops 2.         At times, we'll

2      use special events 1, special events 2.          And in some of the

3      special units, such as dignitary protection have their own

4      channel.   And the House Chambers section have their own

5      channel.

6           Q     Are you familiar with the radio channels that were

7      used on January 6th?

8           A     I am.

9           Q     And you mentioned dispatch.        Could you explain how

10     dispatch actually serves to coordinate between calls on

11     these various channels?

12          A     So with the radio, U.S.C. dispatch would be the

13     key at the center of communication.        I pass on a message to

14     them, they confirm that they have the message and if there's

15     a request for resources, they will make that request and

16     units will respond to them and then they will make that

17     notification that the resources are coming to you.

18                They also check all these calls with time checks

19     to confirm they've happened and they use a CAD system,

20     computer automated dispatch system, where they track all

21     this stuff as well.

22          Q     So at various points on the calls, they'll note

23     the time; is that correct?

24          A     That is correct.

25                MS. HUGHES:    I want to move now to Government's
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 88 of 135

                                                                               3946

1      Exhibit 1515.    If you could just bring on the beginning of

2      this.   It's a video, so just bring up the beginning of the

3      video for this witness, Ms. Rohde.

4                  MR. CRISP:    May we get on the phone.

5                  (Bench conference)

6                  MR. CRISP:    Your Honor, we have an objection to

7      the video writ large.      It is a huge compilation of areas

8      involving the lower visitor hallway, the Senate hallway,

9      areas that our clients were never alleged to have been.

10     There's fighting, there's things like this, and I think it's

11     highly prejudicial and I don't believe it's relevant to what

12     our clients are accused of doing.

13                 MS. HUGHES:    All of the footage in this video is a

14     compilation of CCTV footage for establishing a 231 or a

15     civil disorder.    We have an obligation to show there's a

16     riot.   We have an obligation also to show what was happening

17     in the building and what the defendants themselves were

18     aware of when they themselves entered the building.             This is

19     all sort of a long way of saying this all incredibly

20     relevant.

21                 But in terms of just practical concern, this has

22     been is in the defense's possession for weeks so the fact

23     that they're raising an objection now is a little confusing,

24     but in terms of its probative value is highly, highly

25     probative.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 89 of 135

                                                                               3947

1                 MR. CRISP:    Your Honor, they've given us a lot of

2      excerpts, some of which they haven't entered.           But at the

3      end of the day, I don't know they're going to be able to

4      establish that our clients knew exactly what was going

5      inside the building based upon some of the things that were

6      being shown.    Moreover, I still think it has little

7      relevance to what they were doing because they weren't even

8      there at the time this was actually going on.

9                 THE COURT:    Okay.   Let's take a break.

10                (Open court)

11                THE COURT:    Ladies and gentlemen, we're going to

12     break for lunch now.     It's 12:20.     Let us resume at 1:30.

13     Enjoy your lunch break and we will see you all after the

14     lunch break.

15                Thank you very much.

16                COURTROOM DEPUTY:     All rise.

17                (Jury exited the courtroom.)

18                THE COURT:    Captain Ortega, you can step down.

19     I'll just ask you not to discuss your testimony with anyone

20     during the lunch break.      Thank you.

21                Have a seat, everyone.

22                How long is the video?

23                MS. HUGHES:    12 minutes and 33 seconds.         It

24     includes CCTV footage from the United States Capitol.

25                There are two parts that have people identified,
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 90 of 135

                                                                                3948

1      the defendants identified in them, but other than that, the

2      videos themselves are unaltered.

3                  And then there's one radio clip.

4                  I will also note that this is pursuant to a

5      stipulation that defense has agreed to about their

6      authenticity.    So this has been agreed to as authentic

7      between the parties, the 403 objection's of a different

8      nature; but, again, the defense has had this for weeks.

9                  THE COURT:    All right.     Can we run the tape.        Get

10     comfortable.

11                 MR. CRISP:    I'm sorry, what did you say?

12                 THE COURT:    I said "get comfortable."

13                 (Video played)

14                 MR. NESTLER:    Your Honor, the audio comes on at

15     2:44 p.m. just to orient you.         So it's silent until 2:44

16     p.m.

17                 THE COURT:    Okay.

18                 (Video played)

19                 THE COURT:    Can somebody remind me again what time

20     the defendants are alleged to have arrived at the Capitol

21     Building?

22                 MS. HALLER:    2:30.

23                 MR. NESTLER:    Mr. Dolan and Mr. Harrelson arrived

24     at 2:00 p.m.    They arrived a little bit earlier, they

25     arrived at the grounds at about 1:58, and then they were on
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24    Page 91 of 135

                                                                                3949

1      these stairs that you saw, Mr. Dolan and Mr. Harrelson.

2                  And then the other defendants entered the grounds

3      themselves around 2:20, and then on the stairs around 2:35.

4                  MS. HUGHES:    And I would just note, Your Honor,

5      there are -- there's particular relevance for all of these

6      clips.    So if there are questions you have about the earlier

7      clips, we're happy to address them.

8                  THE COURT:    Just pause it for a moment.

9                  Look, I think the question is, to what extent the

10     clips showing what happened on the west side of the Capitol,

11     how that's relevant to the conduct of these defendants.

12                 Now, other than Mr. Caldwell, I don't know that

13     any of them -- well, Mr. Caldwell is the only one that, at

14     least, was on the west side for the duration of it, let's

15     put it that way.

16                 MS. HUGHES:    So there are a few points that are

17     sort of relevant in what's been shown that may not be

18     obvious but that the witness will explain.

19                 THE COURT:    Before you continue, can you tell what

20     tie Mr. Caldwell gets to the west side of the Capitol?

21                 MR. NESTLER:    In the 12:00 hour.         I believe it's

22     by 12:53, he's there.

23                 THE COURT:    Okay.

24                 Go ahead, Ms. Hughes.     I just wanted to orient

25     myself.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 92 of 135

                                                                               3950

1                 MS. HUGHES:    So, for example, there's one clip

2      that shows, which you wouldn't know just from watching the

3      video, but it shows Vice President's Pence's motorcade

4      departing.   That is significant in terms of what we have to

5      prove in terms of a federally protected function being

6      disrupted.

7                 There are various sort of parts of this that we're

8      getting in for a larger case in terms of a 231 charge.

9                 And then, also, the defense has, through its

10     questioning, implied that there was no indication that

11     barriers were ever in place.      For example, that's been a

12     line of questioning that's been brought up.            That's a

13     cross-examination question of several witnesses.

14                And so this is needed to establish what was the

15     scene at the Capitol prior to their arrival.

16                THE COURT:    So, look, am I right, the only person

17     that's been charged with under 231, that is civil disorder,

18     is Ms. Watkins?

19                MS. HUGHES:    Correct.

20                THE COURT:    And --

21                MS. HUGHES:    I mean, in this trial, but correct.

22                THE COURT:    Right.

23                That's the only one I'm presently concerned about.

24                MS. HUGHES:    In our indictment.

25                THE COURT:    And what is the evidence going to show
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 93 of 135

                                                                               3951

1      in terms of her approach on the west side?

2                 I gather you all have, and assume you'll show, as

3      I've seen in other trials, the progress of a particular

4      defendant up to the Capitol, and to the extent that you know

5      that person's path in and around the Capitol Grounds.

6                 MS. HUGHES:    We do.

7                 This is, again, the lead-up.        This is -- these

8      snippets are very short.      The lead-up progresses to show the

9      various stages of entry into the U.S. Capitol Building.

10     Those in particular are incredibly relevant because what the

11     government argues its evidence shows is that these

12     defendants were getting updates about what was happening in

13     the Capitol.    So this is relevant to hearing, for example,

14     Mr. Meggs reporting to individuals, they've breached the

15     Capitol, for example.

16                The timing of each of these pieces is actually

17     incredibly important to the government's case about what

18     they were aware of what was happening at the Capitol, what

19     they were aware of as they were coming to the Capitol.

20     We will see the defendants assembling and marching to the

21     Capitol, and it's important to know, we will have the burden

22     of establishing that they're aware of this.            It's important

23     to know that when they are getting these updates, what is

24     the actual scene of the Capitol.

25                THE COURT:    Okay.   Just keep playing it then,
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 94 of 135

                                                                               3952

1      please.

2                  (Video played)

3                  MS. HUGHES:    And also I'll just note that police

4      have limited resources on the west side.          So how they're

5      responding on the east side for any argument that police

6      were willingly allowing protesters in, it's important to

7      note they're limited resources and what they were facing in

8      terms of this being surrounded.       So it is something that the

9      government argues needs to be viewed in totality.

10                 MR. FISCHER:    Your Honor, if I could point out,

11     according to the government, an exhibit they sent to the

12     defense, Mr. Caldwell was at the Peace Fountain that was

13     outside of the barrier according to their exhibit, at 2:20

14     p.m.    I mean, he wasn't on Capitol Grounds at 12:30 or

15     whatever the government just said.        He was at the Peace

16     Fountain according to their own exhibit at 2:20 p.m.

17                 MR. NESTLER:    I can pull up the other exhibit

18     showing that he was at the Peace Fountain much earlier than

19     that.

20                 MR. FISCHER:    I understand that, Your Honor,

21     I'm not disputing that.      But as far as the Peace Fountain is

22     outside of the perimeter so it was legal -- apparently legal

23     according to their own exhibit.

24                 THE COURT:    Well, I don't think that's the point.

25     I think the issue is at what time did he arrive, and,
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 95 of 135

                                                                               3953

1      therefore, what would he have observed after he got there,

2      and if he was at the Peace Fountain at noon, presumably he

3      would have then observed what was happening after noon,

4      because I understand he remained on the west side until some

5      period of time after that.

6                 Okay.   Let's just keep playing this.

7                 (Video played)

8                 MR. CRISP:    Your Honor, we can let this play while

9      I chat with you.

10                My concern is really is more about the Senate wind

11     doors, what's going on in the visitors' hallway area, and

12     I can speak to that a little bit more.

13                But I understand where the government wants to

14     show what was potentially visible, and we can cross them on

15     what could have been seen, what wouldn't have been seen.

16     But just to focus you in, nobody's, in this indictment,

17     alleged to have been in this area.

18                THE COURT:    No, you know, I know.

19                (Video played)

20                MS. HUGHES:    So, for example, Your Honor, this is

21     the first time the building is breached.          So it's important

22     to elicit that even though none of the defendants themselves

23     were present.

24                MR. FISCHER:     Your Honor, one issue I would have

25     in that clip that was just shown before, there's a
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 96 of 135

                                                                               3954

1      Confederate flag that's shown, which I know -- I think there

2      were two Confederate flags on January 6th and they've made

3      it into the Government's Exhibits quite a bit, so I think --

4      I would ask on 403 grounds that that part be excluded.

5                  MS. HUGHES:   That is the moment the building is

6      breached.    We cannot control what flags they were bringing

7      with them.

8                  (Video played)

9                  MS. HUGHES:   So there's an important -- there is

10     significance to the Crypt in terms of what other officers

11     will testify about and it's important, that's part of the

12     reason why so many places of the building are being shown,

13     and is to contextualize this in a very summary fashion.

14     Captain Ortega will not in detail in any way that it dwells

15     on any of these clips.

16                 These are obviously, at 2:25, these are the

17     Rotunda doors.    These are the doors that the defendants

18     themselves come through later so it's important -- I would

19     imagine defense would appreciate us showing that they were

20     not the first to breach, but this is the sequence of the

21     breach at these specific doors.

22                 (Video played)

23                 MS. HUGHES:   Your Honor, also for -- I neglected

24     to mention that also for our 1752 charge -- or, apologies,

25     for our 1512 charge for disruption of an official
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 97 of 135

                                                                               3955

1      proceeding, the magnitude of this incursion is important to

2      show why the proceeding could not continue, the magnitude of

3      sort of what they were aware of, what they were

4      participating in is also significant to that.

5                 THE COURT:    What's the significance of the visitor

6      center hallway and what's happening here?

7                 MS. HUGHES:    This is just another -- so the

8      questions I asked Captain Ortega, is this the way that

9      you're supposed to enter the building through the visitor

10     center, is this the way you normally enter the building.

11     It's just to show the degree to which the entire building

12     was occupied.

13                (Video played)

14                THE COURT:    These are the east doors through which

15     the defendants ultimately came through?

16                MS. HUGHES:    Correct.

17                (Video played)

18                MR. CRISP:    Your Honor, I believe I speak for the

19     rest of the defendants, we don't object to this.

20                I stand corrected.     I apologize, Your Honor.

21                MR. GEYER:    We don't object.

22                MS. HUGHES:    This is the only, any kind of editing

23     that is on -- the rest is just CCTV footage and it's not

24     zoomed in, it's just the circle, and he would, the witness

25     would confirm that was this not imposed by the
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 98 of 135

                                                                               3956

1      Capitol Police but was the prosecution's decision.

2                 (Video played)

3                 MS. HUGHES:    These are magnetometers.         This is

4      also leading directly to the House Chamber, which is a

5      region that our defendants encroached down.

6                 Senate gallery, this is another place of

7      particular importance for our case.

8                 THE COURT:    It's a few minutes after this that --

9                 MS. HUGHES:    Correct.    So it's one minute after

10     the defendants were already inside the building.

11                THE COURT:    Right.

12                No.   At some point, I understand that some of the

13     defendants moved in towards this hallway.

14                MS. HUGHES:    Correct, towards the House and the

15     Senate, they split.

16                THE COURT:    Right.

17                MS. HUGHES:    So this is the audio from --

18                If you want to pause here for a second, Ms. Rohde.

19                So this is audio from the main Ops 2 radio channel

20     and this is important to show the timing of shots fired

21     which will be referenced sort of as like a delineation in

22     time throughout the case.

23                (Video played)

24                MS. HUGHES:    That's the visitor center.

25     We believe the whole clip is necessary because the time
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 99 of 135

                                                                               3957

1      announcement comes at the end of that clip.

2                  (Video played)

3                  THE COURT:    So what's the relevance of this clip

4      with the Senate wing doors?        They'd already been breached at

5      this point.

6                  MS. HUGHES:    So the Senate wing -- the Senate

7      corridor is a corridor that the defendants pushed down and

8      they were not acting in isolation.        I mean, we will show

9      that all of these, there was a force multiplier when you're

10     pushing down the hallways, for example, they are engaging

11     with others.    So to show the number of people that are in

12     the building and the way in which they engage with other

13     rioters is relevant.

14                 This is Pence's -- this is the doors that are here

15     on the right at 3:01 are Vice President Pence's doors.

16                 THE COURT:    Right.

17                 MS. HUGHES:    This is -- there is -- this is not a

18     contained ecosystem.      The government's position is that we

19     have to show the environment that these defendants were

20     operating in, and any one isolated clip, the totality of

21     this must be shown.      It must also be shown why there is no

22     way they could think that they were permitted to be in that

23     building.

24                 So the fact that all of these windows are broken

25     into and there are people streaming in through exits, they
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24     Page 100 of 135

                                                                                  3958

1      may contend that they were in there to help police, but the

2      magnitude that these police officers faced, the overwhelming

3      violence they faced, and then these defendants' celebration

4      of what they participated in is relevant.              It's relevant to

5      show that they did not enter thinking that this was a

6      peaceful protest in this building that they were permitted

7      to join, and we have to show the full context of this.                I'm

8      sorry that it was such a violent day, but it's the

9      circumstances they entered into.

10                 MR. WOODWARD:    They can show video of the

11     environment in which the defendants are alleged to have been

12     operating.    As the Court is well aware there are hundreds of

13     hours.    What they're doing is now asking to be prepared to

14     understand the totality of the video from this day,

15     something that I personally complained about.

16                 I mean, what's happening in the tunnel is

17     completely unbeknownst.

18                 MS. HUGHES:    That was a 3-second clip.           I mean,

19     all of these -- I mean, I'm sorry to belabor this but this

20     has literally been in the defense's possession for weeks.

21                 THE COURT:    I know, I know.      This is a recurring

22     theme.

23                 It cannot be that the first time you all had an

24     objection to this was the second before it was going to be

25     played.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 101 of 135

                                                                                3959

1                  MR. CRISP:     Judge, you know, I don't like to get

2      into the petty stuff back and forth, but it does upset me

3      when I get sent at 1:30 in the morning, new things that are

4      being introduced.       We're not objecting to that and

5      complaining to Your Honor about that because I find that to

6      be petty.    There's a ton of stuff.       This is the only case

7      they have worked on, not so with us.         So I don't like --

8                  MS. HUGHES:     Not so with us neither.

9                  MR. MANZO:     Not at all.

10                 MR. CRISP:     My point simply is let's focus on

11     where we are now, Judge.

12                 THE COURT:     That's what I'm doing.       But I have

13     asked you all repeatedly --

14                 MR. CRISP:     I understand, Judge.

15                 THE COURT:     I'm not -- you know, there's -- this

16     morning, we had tons of time this morning, folks.             We all

17     could have come in here and dealt with this video this

18     morning.

19                 MR. CRISP:     I don't know what exactly every

20     exhibit they're going to put in, they don't always put

21     everyone in yet.       I don't want to necessarily waste the

22     Court's time.     There's probably half a dozen --

23                 THE COURT:     Let's not belabor this.       It is hard

24     for me to believe -- if I understand said correctly, you

25     would have been notified about this exhibit last night.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 102 of 135

                                                                                3960

1      It's hard for me to believe that somebody would not have

2      seen this last night, somebody on this defense team and

3      said, hey, wait a minute, we need to bring this to the

4      judge's attention.

5                  Mr. Geyer.

6                  MR. GEYER:    May I, Your Honor?

7                  12:36, this came up with Sam Andrews, they

8      provided three videos of Sam Andrews calling for 5,000 armed

9      patriots to come to the Capitol.        Well, many of those

10     arrived, I believe, not armed.

11                 But at 12:36, he was there and that was the first

12     breach.    And if I can just show you real quick.          So just so

13     you know how this impacts my client, my client arrived at

14     about 12:54, thereabouts, at the Blue Star.            The entire

15     morning he was doing security details.          And there's a lot of

16     detail, a lot of facts about how that situation unfolded,

17     I'll play you a quick little video snippet in a minute.

18                 So after breaching the outer barricades which had

19     people going around taking down fencing, moving barriers,

20     this is all documented on video, the crowd arrives at the

21     West Plaza and immediately engages police.

22                 This is the reverse view.       So this is at 1:00.

23     "The crowd has pushed the police back to the bottom of the

24     West Terrace.     Conditions for protesting here are fine.

25     Prospects make entry into the Capitol possible of a core
     Case 1:22-cr-00015-APM    Document 730   Filed 01/02/24   Page 103 of 135

                                                                                 3961

1      subgroup of the crowd has intent."          This is only 7 minutes

2      after the initial breach.

3                  By 1311, MPD arrive, they can be seen on the left

4      of this image.     The dynamics change in the MPD's favor, the

5      crowd is effectively kept in place doing a very, very solid

6      job, and yes, there's a lot of violence, they start to use

7      munitions by 1:10.

8                  By 1:45, they have pushed the crowd back, you can

9      see that there.        They did a phenomenal job.

10                 Plans for demonstrating here are working

11     perfectly, but prospects look bleak for anyone plotting to

12     go into the Capitol.        This is where teams 1 and 2 come in.

13     They planned and they intend to enter the Capitol.              Some of

14     these, I believe, were affiliated with Sam Andrews.

15                 Then at 1:48, teams 1 and 2 start breaking through

16     the lower police line intent on entering the Capitol.

17                 By about 1:53, teams 1 and 2 have successfully

18     broken through the lower police line.

19                 THE COURT:      Can I just ask, Mr. Geyer, what are

20     you showing?    Is this something you intend to use for

21     cross-examination purposes?

22                 MR. GEYER:      Your Honor, I'd like to propose a

23     proffer with our two experts, we've made two court filings

24     that lay out preliminary --

25                 THE COURT:      I didn't think you'd noticed any
     Case 1:22-cr-00015-APM    Document 730   Filed 01/02/24   Page 104 of 135

                                                                                 3962

1      experts.

2                  MR. GEYER:      Excuse me, Your Honor.

3                  THE COURT:      I did not understand you to have

4      noticed formally any experts.

5                  MR. GEYER:      I understand the government's position

6      is that I did not provide them with Rule 16 notice, however,

7      I made two filings of extensive reports on this.

8                  THE COURT:      I don't want to get into that right

9      now.    We've got a lot to go through here.

10                 MR. GEYER:      Can I show you how it impacts the east

11     real quick?

12                 So about 1:45 or thereabouts, a group from team 2

13     breaks off, strafes the north side of the Capitol.

14                 THE COURT:      Who are these teams, Mr. Geyer, that

15     you are contending exist?

16                 MR. GEYER:      I could actually show them to you,

17     Your Honor.

18                 THE COURT:      Mr. Tarpley, I'm going to ask you to

19     please keep your mask on.        We had to remind you of this

20     multiple times.        We have jurors who are very sensitive to

21     the issue.    I know they're not here now, but let's get in

22     the habit of following the directions of the Court, please.

23                 (Video played)

24                 MR. GEYER:      My client's on security detail.         And

25     at --
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 105 of 135

                                                                                3963

1                  THE COURT:    Can you just, for a moment, Mr. Geyer,

2      just tell me what you are objecting to as part of the

3      government's compilation.

4                  MR. GEYER:    I'm actually not objecting.         I support

5      them in being able to support it.        I think the door in being

6      able to present that information.        I believe the door was

7      also opened by bringing -- making so much of their case

8      around Mr. Andrews.

9                  THE COURT:    So who's Mr. Andrews?

10                 MR. GEYER:    Sam Andrews.     There were two or three

11     videos.

12                 THE COURT:    0h, that's --

13                 MR. GEYER:    Probably on TV, Your Honor.

14                 THE COURT:    I don't know if that person's name was

15     ever really mentioned, but okay.

16                 MR. GEYER:    There are a lot of names.

17                 THE COURT:    So all right.     Look, here's where I am

18     on this.    Can we just cue it back up to the initial entry.

19     Not your video, the government's video.

20                 MS. HUGHES:    The beginning of the video,

21     Your Honor?

22                 THE COURT:    Sorry, no, the initial entry, the

23     breaking of the window and what follows.           That's what I

24     meant by the initial entry.

25                 (Video played)
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 106 of 135

                                                                                 3964

1                  THE COURT:    Okay.   So just pause it for a second.

2                  If the purpose of this video is to show the time

3      that there was a breach of the Senate wing doors and the

4      braking of the windows, I think that's been established at

5      this point in the video, and then seeing the rest of the

6      folks come in after an extended period of time, I think, is

7      probably more than is necessary.

8                  You can go ahead and keep playing it because all

9      we then see is somebody opening the door or kicking the door

10     down.   The defendants in this case are not involved in any

11     of this.    There's no suggestion that they have actual

12     knowledge of what's happening here on the screen right now.

13     So if the primary purpose is just for timing, that's been

14     established by the initial breach video.

15                 MS. HUGHES:    There's only a few individuals,

16     though, who come through the window.          It is really once the

17     doors are open that there is a flood gate opened and that

18     tens -- you know, 100 or so people within the first few

19     minutes enter.

20                 THE COURT:    All right.     Well, here's what we'll

21     do.   I'm going to ask you to cut the portion that is after

22     the initial two to three entrants come in until the end of

23     that clip.    And you can ask the detective, or excuse me, the

24     captain and say, is it -- did additional people follow

25     through those doors, and I'm sure he's going to answer yes.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 107 of 135

                                                                                3965

1      Can you estimate the number of people that entered through

2      those doors.    He will say hundreds.       And you will ask him,

3      did any of these defendants, to your knowledge, enter

4      through those doors.      The answer will be no.        Just so the

5      jury is oriented as what they're seeing and whether it

6      involves these defendants or not.

7                  To the extent there is footage about the visitors'

8      center, I'm not quite sure if the real reason to bring that

9      in is to show this is how they really should have entered,

10     it seems to me to be more prejudicial than probative,

11     because there are some -- some violent footage of it.

12     There's no reason to think these defendants are part of it

13     nor is there any reason to think they would know about that

14     happening.    So if the limited purpose of that is simply to

15     show this is how you ordinarily would have come through, I

16     don't think the video is really terribly probative for that

17     point and certainly is heavily prejudicial.

18                 MR. NESTLER:    I'm sorry, Your Honor, on the

19     visitors' center, one of the other relevant portions there

20     is that there is a sliding metal door that's supposed to

21     protect the Capitol from the visitors' center.            So the fact

22     that the Capitol Police Officers were not able to keep that

23     door closed because rioters were able to use the automatic

24     function to block it and therefore additional rioters were

25     able to stream in from the visitors' center side.
     Case 1:22-cr-00015-APM   Document 730     Filed 01/02/24   Page 108 of 135

                                                                                  3966

1                  THE COURT:    So I don't think there's going to be

2      dispute here, Counsel, that there were a lot of people that

3      got in, and there were a lot of people that were in at the

4      time these defendants made their bay in.

5                  The question is to what extent this is all

6      necessary to contextualize your case without being unduly

7      prejudicial to these defendants and what they stand accused

8      of.   And so I haven't heard a particularly convincing reason

9      for why the visitors' center footage needs to be left in.

10     So I'm going to ask the government to take that out.

11                 I'm also going to ask you to take out the images

12     from the Lower West Terrace.          There's no reason to believe

13     these defendants were aware of what was going on in the

14     Lower West Terrace.      My understanding -- and what I mean by

15     that is the tunnel.      I mean, the images for the Lower West

16     Terrace tunnel, where some of the worst violence occurred.

17     My understanding is that nobody from the west -- from that

18     tunnel actually was able to get into the Capitol.               So it

19     doesn't sort of help you in terms of establishing how people

20     got in.    It really is just -- it's violence, and there's

21     no -- these folks didn't participate in it, there's no

22     reason to think they were aware of what was going on.                And,

23     you know, the imagery is fairly inflammatory.

24                 I will tell you I've dealt with this in one other

25     trial, because I knew the government had played a
     Case 1:22-cr-00015-APM   Document 730     Filed 01/02/24   Page 109 of 135

                                                                                  3967

1      compilation in that case, I cut some of it back in that

2      case, too.

3                  MR. NESTLER:     A couple of points, Your Honor.

4                  First of all, we front for the defense in August

5      that we were going to do a montage like this and then we

6      gave them this actual montage several weeks ago.               The fact

7      that we have to cut this now in the middle of our

8      presentation is quite frustrating to the government

9      obviously.

10                 THE COURT:     I understand.

11                 MR. NESTLER:     Now, on the Lower West Terrace

12     tunnel, these defendants were still on the Capitol Grounds

13     while that violence was happening.           So after they left the

14     building, they did not leave the Capitol Grounds.               And so

15     one of our arguments is that, then they were planning to

16     come back later.       There's messages from later on January 6th

17     about they were going to continue their violence, they were

18     going to come back the next day, and we have messages later

19     on the 6th and into the 7th.          And the fact that they were

20     still active violence happening on the Capitol Grounds while

21     they were still on the Capitol Grounds is certainly

22     relevant.

23                 THE COURT:     What's the evidence that they knew

24     specifically what was happening in the West Tunnel?               I mean,

25     look, I'm not disagreeing with you necessarily.              You showed
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 110 of 135

                                                                                3968

1      some clips, for example, on the West Plaza.            I think that's

2      nobody is really objecting to that.         And they're frankly

3      fairly limited and it's only a handful of seconds.             But the

4      images in the Lower West Tunnel are among the most stark

5      images of what happened that day.        And I've been given no

6      reason to believe that these defendants knew at any time

7      what happened in the Lower West Tunnel, observed what

8      happened in the Lower West Tunnel, and, you know, the case

9      that's coming up right after this one involves individuals

10     in the Lower West Tunnel.

11                 So, I mean, there's a time and a place for that

12     footage.    I don't think it's in this case, and, you know, it

13     does have a prejudicial impact.        I mean, I've seen that

14     video many times, and it still has an impact on me.

15                 MR. NESTLER:    Mr. Caldwell was on the west side

16     and likely would have been aware of what was happening on

17     the Lower West Terrace Tunnel and was communicating with

18     other individuals both within this conspiracy and outside

19     about what was happening at the Capitol on those times.

20                 These defendants' presence on the ground was

21     certainly prejudicial to the police officers response.

22                 THE COURT:    I understand that, but there's no

23     reason for me to think, unless you tell me otherwise, that

24     Mr. Caldwell would have had a view into the tunnel from

25     where he was standing.      So if you could establish that, then
     Case 1:22-cr-00015-APM   Document 730    Filed 01/02/24   Page 111 of 135

                                                                                 3969

1      perhaps there may be a greater nexus here than what I'm

2      suggesting there may be.      But if he's simply -- I shouldn't

3      say simply a spectator -- if he is a spectator on the west

4      side and cannot see into that west tunnel, then I think it's

5      going to stay out.

6                  MR. NESTLER:    We can double-check that,

7      Your Honor.    I'm not sure the precise answer about what his

8      angle of view was at that time, but it certainly was close

9      to where Mr. Caldwell was, all around this time.

10                 THE COURT:    Because my understanding is that he

11     was -- had actually gotten to a point where he would have

12     been above the tunnel so that he actually could not have

13     seen inside of it.      Maybe I'm wrong about that.         In other

14     words, I thought he had made his way up to the stairs.

15                 MR. NESTLER:    Correct.

16                 THE COURT:    Right.

17                 MR. NESTLER:    He wouldn't be looking at the

18     tunnel.    He would be on the area where people were talking

19     what was happening in the tunnel and be aware of the police

20     response that was all happening around him that was forcing

21     rioters back as they were trying to force forward as he was

22     there.

23                 THE COURT:    I don't have any doubt that that's

24     true with respect to the West Plaza images.             Again, this is

25     inside the tunnel.
     Case 1:22-cr-00015-APM   Document 730   Filed 01/02/24   Page 112 of 135

                                                                                3970

1                  MR. NESTLER:    Understood.

2                  THE COURT:    It's a confined space.

3                  As I said, the imagery is particularly vivid of

4      what happened in the West Tunnel so I'm going to ask the

5      government to take that out of the video.

6                  I think the question is now is can you all splice

7      this in time for it to be shown after lunch?

8                  MR. NESTLER:    We'll work on it.

9                  THE COURT:    Okay.   Thank you.     We'll see everybody

10     back at 1:30.

11                 COURTROOM DEPUTY:     All rise.

12                 This Court stands in recess.

13                 (Recess from 12:54 p.m. to 1:30 p.m.)

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Case 1:22-cr-00015-APM   Document 730     Filed 01/02/24   Page 113 of 135




                         C E R T I F I C A T E
                    I, William P. Zaremba, RMR, CRR, certify that
  the foregoing is a correct transcript from the record of
  proceedings in the above-titled matter.




  Date:__October 18, 2022______ ____________________________
                                        William P. Zaremba, RMR, CRR
                                                                                                                    3972

   Case 1:22-cr-00015-APM
                   3896/21 3898/3Document  730[1] 3899/16
                                      1/4/2020    Filed 01/02/24     Page 114 of3923/18
                                                           1:10 [1] 3961/7       135
                       3901/12 3904/6        1/4/2021 [1] 3899/17   1:30 [4] 3947/12           303s [1] 3923/14
BY MR. CRISP: [2]
                       3905/13 3905/20       10 [2] 3865/8 3880/25 3959/3 3970/10              3065 [1] 3861/18
3874/10 3877/23
                       3908/7 3908/19 3909/1 100 [1] 3964/18         3970/13                   31 [2] 3910/13 3910/14
BY MR. MANZO: [25]
                       3914/11 3914/14       1004.1 [2] 3888/12     1:45 [3] 3896/2 3961/8 318 [1] 3860/12
3882/21 3884/6
                       3914/17 3915/12        3888/13                3962/12                   31st [2] 3910/8
3885/15 3886/1
                       3916/6 3916/21        1052.6  [2]   3905/20  1:48  [1]   3961/15         3912/21
3888/19 3890/18
                       3917/22 3918/8 3959/9 3905/22                1:53  [1]   3961/17        3249  [1] 3862/5
3893/13 3895/1 3897/1
                       MR.  NESTLER:    [15] 10:27  [1]  3868/24    1:58  [1]   3948/25        33 [1]  3947/23
3898/10 3900/13
                       3868/8 3885/24        11 [1]  3881/1         1st [3]   3910/16          3300  [2]  3860/3 3860/7
3900/20 3901/15
                       3948/14 3948/23       11:25  [1]  3914/20     3933/25 3934/1            333 [1]   3862/4
3901/23 3904/10
                       3949/21 3952/17       11:26 [1] 3915/3                                  352-2615 [1] 3861/9
3904/24 3905/7                                                      2
                       3965/18 3967/3        11:35  [2]  3914/21                               354-3249 [1] 3862/5
3905/16 3905/21
                       3967/11 3968/15        3914/22               20 [2] 3870/22 3871/1 3:01 [1] 3957/15
3906/6 3907/14
                       3969/6 3969/15        11:37 [1] 3915/3       20001 [1] 3862/5           3rd [1] 3913/20
3907/19 3909/8
                       3969/17 3970/1 3970/8 11:40 [1] 3914/21      20010 [1] 3861/4
3915/13 3917/25                                                                                4
                       MR. WOODWARD:         12 [3] 3881/25 3903/21 20036 [1] 3861/9
BY MR. WOODWARD:                                                                3861/12
                       [16] 3872/2 3872/9     3947/23               2006   [1]                 403 [2] 3948/7 3954/4
[2] 3870/2 3872/16
                       3872/13 3873/17       12:00 [1] 3949/21      202 [4] 3859/18 3861/4 4031 [1] 3860/15
BY MS. HUGHES: [13]                                                  3861/9 3862/5
                       3884/3 3885/12        12:20 [1] 3947/12                                 410 [1] 3861/18
 3920/24 3926/2
                       3894/21 3896/23       12:30  [1]  3952/14    2020 [8] 3895/7            412-4676 [1] 3860/16
3927/17 3928/9
                       3900/11 3900/17       12:36  [2]  3960/7      3899/16 3906/12           4676 [1] 3860/16
3928/20 3930/22
                       3908/8 3916/1 3916/12 3960/11                 3910/8 3911/5 3912/21 487-1460 [1] 3860/12
3933/3 3935/13 3936/4
                       3917/4 3932/24        12:53 [1] 3949/22       3915/21 3917/16
3936/14 3937/9
                       3958/10               12:54  [2]  3960/14    2021 [23] 3893/12          5
3940/16 3941/16                                                                                5,000 [1] 3960/8
                       MS. HALLER: [1]        3970/13                3893/12 3896/2
COURTROOM                                                            3899/17 3906/9            50 [3] 3903/12 3903/13
                       3948/22               13 [8]  3859/7 3866/3
DEPUTY: [10] 3865/2                                                                             3916/6
                       MS.  HUGHES:    [47]   3866/14 3867/8 3882/5 3910/16 3913/5
3865/4 3868/25 3869/8                                                                          50-acre   [1] 3913/23
                       3919/7 3919/18         3912/12 3912/25        3913/20    3921/13
3914/24 3915/8
                       3919/21 3919/24        3913/16                3922/3 3925/2 3925/18 51 [2] 3896/17 3903/18
3920/10 3920/12                                                                                51.S.5299 [4] 3896/13
                       3920/2 3920/6 3925/22 1311 [1] 3961/3         3925/20 3927/8
3947/16 3970/11                                                                                 3896/15 3896/22
                       3927/10 3927/25       14 [1] 3882/6           3931/24 3932/1
MR. BRIGHT: [2]                                                      3932/12    3932/18         3896/25
                       3928/7 3928/16        1460 [1]   3860/12
3898/6 3932/25
                       3930/18 3932/22       14th [1] 3875/15        3932/20 3933/7 3935/6 52 [2] 3911/20 3911/21
MR. CRISP: [19]                                                                                54 [1] 3912/25
                       3935/8 3936/9 3937/5 15 [10] 3859/4 3865/5 3936/18 3937/17
3873/21 3873/24
                       3940/12 3941/13        3868/15 3869/4 3872/6 2022 [2] 3859/5 3971/7 57 [1] 3893/4
3874/2 3877/9 3877/16                                                                          5708 [1] 3861/13
                       3945/25 3946/13        3872/9 3882/7 3903/21 20579 [1] 3859/17
3882/15 3904/2 3928/2                                                                          5:30 [1] 3937/22
                       3947/23 3949/4         3921/12 3922/9        21061-3065 [1]
3936/11 3946/4 3946/6                                                                          5th [2] 3872/21 3877/6
                       3949/16 3950/1        1510.10   [2]  3901/12  3861/18
3947/1 3948/11 3953/8
                       3950/19 3950/21        3901/16               214  [2]   3860/5  3860/9
3955/18 3959/1
                       3950/24 3951/6 3952/3 1510.11 [2] 3904/19    21st [1] 3911/5            6
3959/10 3959/14                                                                                601 [2] 3859/17 3861/7
                       3953/20 3954/5 3954/9 3904/20                22-15 [2] 3859/4
3959/19                                                                                        607-5708 [1] 3861/13
                       3954/23 3955/7        1510.8 [1] 3905/4       3865/5
MR. FISCHER: [12]                                                              3946/14  3950/8 6615B [2] 3914/3
                       3955/16 3955/22       1510.9 [1] 3873/7      231  [3]
3890/15 3893/8                                                                                  3915/19
                       3956/3 3956/9 3956/14 1512 [1] 3954/25        3950/17
3903/25 3907/12                                                                                6860 [5] 3910/24
                       3956/17 3956/24       1515  [1]  3946/1      23rd [1] 3895/7
3907/23 3908/2                                                                                  3910/25 3911/3
                       3957/6 3957/17        1530 [1] 3888/3        24 [1] 3912/13
3915/23 3916/2                                                                                  3911/20 3911/21
                       3958/18 3959/8        16 [1]  3962/6         252-7277     [1]  3859/18
3925/24 3952/10                                                                                6870 [2] 3878/4 3878/8
                       3963/20 3964/15       1652  [5]  3927/11     252-9900 [1] 3860/5
3952/20 3953/24                                                                                69 [1] 3913/16
                       THE COURT: [117]       3928/1 3928/5 3940/1 2615 [1] 3861/9
MR. GEYER: [21]                                                              3910/5   3910/6   6923 [12] 3881/8
                       THE WITNESS: [4]       3941/15               27 [2]
3908/20 3909/3
                       3874/6 3893/10        1653  [4]  3927/12     29 [3] 3910/24 3910/25 3893/4 3902/6 3902/7
3918/10 3918/13                                                                                 3903/12 3903/13
                       3900/19 3920/17        3928/1 3928/5 3938/17 3911/3
3918/18 3918/22                                                                                 3906/16 3906/17
                                             1661 [4] 3927/13       2:00 [1] 3948/24
3918/24 3919/1 3919/3 '                                                                         3910/5 3910/6 3910/13
                                              3928/1 3928/5 3928/7  2:20  [3]   3949/3
3955/21 3960/6                                                                                  3910/14
                      'action.' [1] 3913/25  1662  [4]  3927/14      3952/13 3952/16
3961/22 3962/2 3962/5                                                                          6923.slide18.extractio
                      'resolved' [1] 3912/9   3928/1 3928/5 3929/11 2:25 [1] 3954/16
3962/10 3962/16                                                                                n [2] 3885/11 3885/14
                      'The [1] 3913/22       1663 [3] 3927/15       2:30 [1] 3948/22
3962/24 3963/4                                                                                 6923.slide42.extractio
                                              3928/1 3928/5         2:35 [1] 3949/3
3963/10 3963/13       0                      1673 [3] 3927/16       2:44 [2] 3948/15           n [5] 3883/15 3884/2
3963/16               0530 [1] 3937/21                                                          3884/5 3884/16
                                              3928/1 3928/5          3948/15
MR. LINDER: [2]       08077 [1] 3861/13                                        3913/5           3884/17
                                             17110 [1] 3860/15      2nd  [1]
3868/9 3935/10        0826 [1] 3861/18                                                         6926 [7] 3897/20
                                             1752 [1] 3954/24
MR. MANZO: [28]       0h [1] 3963/12         18 [2] 3859/5 3971/7   3                           3897/21 3897/23
3872/7 3873/20                                                      3-second      [1] 3958/18   3898/4 3898/8 3898/9
                                             1808 [1] 3861/3
3877/19 3882/18       1                      19 [2] 3904/14 3904/15 30 [2]   3901/13   3901/19  3898/11
3884/1 3885/10        1/14/2021 [1] 3893/12 1:00 [2] 3938/8         300 [1] 3861/17            6927 [9] 3894/9
3885/22 3885/25       1/2/2021 [1] 3893/12                          303 [2] 3923/17             3894/12 3894/14
                                              3960/22
3890/13 3894/19
                                                                                                                               3973


6 Case 1:22-cr-00015-APM
                  3868/20                  Document 730 [1]
                                                accounting Filed 01/02/24
                                                              3886/9          Page 115 of3964/20
                                                                     3905/3 3939/18       135 3966/5 3967/4
                          9:45 [1] 3868/20        accurate [10] 3874/23 3941/25 3947/13                     3969/9 3969/20 3970/6
6927... [6] 3894/16
                                                   3883/23 3885/2 3890/9 3953/1 3953/3 3953/5 3970/11
 3894/20 3894/23       A                           3925/13 3925/19              3956/8 3956/9 3960/18 alleged [4] 3946/9
 3894/25 3895/3 3910/6
                       a.m [7] 3859/6 3868/24 3927/21 3932/19                   3961/2 3964/6 3964/21 3948/20 3953/17
6929 [5] 3890/5 3890/6 3868/24 3880/17
                                                   3935/4 3936/5                3967/13 3968/9 3970/7 3958/11
 3890/14 3890/16
                        3896/2 3915/3 3915/3 accused [2] 3946/12               afternoon      [1] 3906/10 allow [1] 3893/9
 3890/17
                       abilities [1] 3936/7        3966/7                      again    [15]   3880/19     allowing [1] 3952/6
6:00 [1] 3880/17
                       able [12] 3876/20          acre  [1]  3913/23            3881/21 3903/1 3904/1 almost [1] 3940/19
6th [34] 3877/6         3893/25 3940/18
 3887/22 3888/8 3889/5                            across [4] 3891/3             3912/22 3914/22            along [1] 3902/13
                        3942/5 3942/18 3947/3 3912/8 3934/3 3939/15 3917/12 3924/19                        already [13] 3867/25
 3896/1 3900/7 3905/2
                        3963/5 3963/6 3965/22 act [1] 3888/9                    3926/4 3928/13              3891/21 3894/24
 3906/9 3906/11 3907/2
                        3965/23 3965/25           acted   [1]   3888/10         3939/19 3948/8              3898/6 3907/10
 3910/17 3910/22
                        3966/18                   acting   [1]   3957/8         3948/19 3951/7              3907/20 3910/25
 3912/8 3913/11 3914/1
                       about [74] 3866/1          active   [1]  3967/20         3969/24                     3912/19 3914/3
 3917/1 3921/13 3922/3
                        3867/16 3867/16           actual   [4]   3925/4        agency     [1]  3922/18      3937/25 3938/18
 3927/8 3931/24 3932/1
                        3867/18 3867/22            3951/24 3964/11             agent    [12]   3869/14      3956/10 3957/4
 3932/12 3932/18
                        3870/8 3872/1 3872/20 3967/6                            3870/3 3882/22             also [30] 3868/12
 3932/20 3934/7 3935/6
                        3874/3 3874/12            actually   [22]    3872/3     3883/16 3890/19             3873/2 3874/22 3875/3
 3936/6 3936/18
                        3882/11 3883/6 3884/8 3873/21 3881/9 3885/8 3895/2 3900/14 3915/6 3878/5 3879/23 3881/7
 3937/17 3937/18
                        3886/3 3886/22             3890/11 3890/24              3915/20 3917/14             3882/9 3889/3 3897/12
 3945/7 3954/2 3967/16
                        3887/10 3889/21            3891/19 3909/1 3912/5 3919/5 3924/15                     3897/13 3899/1
 3967/19
                        3890/2 3891/7 3891/13 3914/22 3928/16                  Agent Hilgeman [2]           3903/24 3912/23
7                       3891/16 3892/4             3928/22 3929/19              3915/6 3919/5               3917/5 3923/21
                        3892/10 3892/19            3932/6   3945/10     3947/8 ago   [2]   3870/14  3967/6  3943/21 3944/16
700 [2] 3860/4 3860/8
                        3894/4 3902/3 3902/24 3951/16 3962/16                  agree    [2]  3878/18        3945/18 3946/16
7025 [4]  3925/10
                        3903/6 3904/8 3906/14 3963/4 3966/18                    3879/6                      3948/4 3950/9 3952/3
 3925/23 3925/25
                        3906/25 3907/10            3969/11    3969/12          agreed     [2]  3948/5       3954/23 3954/24
 3926/1
                        3907/21 3908/3            added    [2]   3897/12        3948/6                      3955/4 3956/4 3957/21
7026 [4] 3932/15
                        3908/15 3908/18            3897/17                     agreement [1] 3918/13 3963/7 3966/11
 3932/23 3933/1 3933/2
                        3909/15 3910/2            adding [1] 3897/4            ahead [2] 3949/24           altercation [1] 3942/12
7028 [4] 3934/23
                        3914/15 3914/22           additional     [9]  3872/6    3964/8                     alternate [1] 3869/5
 3935/9 3935/11
                        3915/14 3916/6             3879/14    3879/17          aided    [1]  3862/7        alternates [2] 3867/10
 3935/12
                        3916/17 3916/19            3882/15    3911/22          AL   [1]  3859/6             3867/23
7029 [4] 3937/1 3937/6
                        3916/22 3917/6             3932/9   3934/16            alert  [1]   3898/18        although    [1] 3866/25
 3937/7 3937/8
                        3917/10 3917/15            3964/24    3965/24          Alexandra      [2] 3859/15  always   [3]  3880/20
7031 [4] 3935/22
                        3918/2 3918/23 3922/5 address [3] 3874/23               3865/10                     3892/1 3959/20
 3936/10 3936/12
                        3925/4 3926/23 3948/5 3882/12 3949/7                   Alexandria [1] 3860/11 am [22] 3867/12
 3936/13
                        3948/25 3949/6            addresses       [1]  3874/15 all [74] 3865/2 3865/19 3867/21 3871/16
71301 [1] 3860/11
                        3950/23 3951/12           addressing       [1]  3867/4  3865/25 3866/13             3878/14 3879/15
717 [1] 3860/16
                        3951/17 3953/10           administrators [1]            3866/24 3867/16             3881/5 3881/23
720-7777 [1] 3860/9
                        3954/11 3958/15            3866/5                       3867/25     3868/10         3887/23 3902/11
7277 [1] 3859/18
                        3959/5 3959/25            admit   [9]   3872/5          3868/21     3868/25         3902/14 3910/22
7310 [1] 3861/17
                        3960/14 3960/16            3877/10    3877/13           3869/7    3869/10           3921/17 3922/1 3922/4
7447 [1] 3861/4
                        3961/17 3962/12            3925/22 3927/25              3871/12 3872/13             3930/14 3930/25
75219 [2] 3860/4
                        3965/7 3965/13             3932/22    3935/8    3936/9  3872/23     3874/2          3931/25 3944/12
 3860/8
                        3967/17 3968/19            3937/5                       3874/11     3876/18         3944/23 3945/8
7777 [1] 3860/9
                        3969/7 3969/13            admitted     [22]   3863/10   3877/20     3880/8 3882/9   3950/16 3963/17
787-0826 [1]  3861/18
                       above   [5] 3890/22         3864/4   3872/10             3895/21     3899/2 3900/7  ambushes      [2] 3903/8
7th [4] 3915/21 3916/4
                        3929/8 3929/9 3969/12 3877/21 3884/4                    3909/5    3911/7  3911/9    3903/9
 3917/16 3967/19
                        3971/4                     3885/13 3890/16              3912/8 3914/23             AMERICA [4] 3859/3
8                      above-titled   [1] 3971/4 3891/21 3894/11                3914/24 3915/1 3917/7 3865/6 3912/9 3913/22
819 [1] 3860/11        Abshire [1] 3897/9          3894/22 3894/23              3917/17 3918/19            AMIT [1] 3859/9
85.S.198.9E [1]        Absolutely    [2]  3887/3   3896/24    3898/7    3898/8  3919/5    3919/23          Ammo [1] 3891/25
 3879/18                3889/13                    3912/19 3914/4               3920/18 3922/5 3925/5 among [1] 3968/4
856 [1] 3861/13        access [9] 3875/5           3925/25 3928/4 3933/1 3927/3 3928/4 3931/7 Amongst [1] 3903/8
88 [3] 3891/19 3891/21  3875/7  3889/8   3899/10   3935/11 3936/12              3932/5 3935/11             ample [1] 3892/2
 3891/22                3899/18  3908/17           3937/7                       3935/18     3937/17        Andrews [6] 3960/7
                        3942/14 3942/19           adopt [1] 3911/6              3944/18 3945/18             3960/8 3961/14 3963/8
9                       3942/21                   Adrian [1] 3910/15            3945/20 3946/13             3963/9 3963/10
90 [2] 3892/8 3892/9   accessing    [1]  3893/10  Adrian    Grimes     [1]      3946/19     3946/19        angle  [1] 3969/8
900 [1] 3861/8         accessories [1]             3910/15                      3947/13 3947/16            announcement [1]
98 [1] 3874/20          3887/23                   advance [1] 3896/4            3948/9 3949/5 3951/2 3957/1
9900 [1] 3860/5        according    [4]  3952/11  advantage       [1]  3892/15  3957/9 3957/24             another [4] 3934/19
996-7447 [1]  3861/4    3952/13  3952/16          affiliated   [1]  3961/14     3958/19     3958/23         3937/2 3955/7 3956/6
9:00 [1] 3859/6         3952/23                   after [23] 3866/4             3959/9 3959/13             answer [4] 3928/18
9:09 [1] 3868/24       account [4] 3875/6          3866/6 3866/6 3868/20 3959/16 3960/20                    3964/25 3965/4 3969/7
9:30 [2] 3868/16        3875/7  3893/11    3894/3  3887/22    3900/7    3905/2  3963/17     3964/8         antitrust  [1] 3886/10
                                                                                                                          3974


A Case 1:22-cr-00015-APM
                  3938/25 3941/4Document 7303922/5
                                     3920/14   Filed 01/02/24     Page3875/3
                                                         3871/16 3875/2 116 of3906/22
                                                                               135 3908/11
                        3942/25 3953/11              3947/19 3954/4               3876/10 3876/25       3908/15 3908/17
any [41] 3866/11
                        3953/17 3969/18              3961/19 3962/18              3877/12 3878/9        3912/3 3912/22
 3867/1 3867/2 3867/6
                       areas [2] 3946/7              3964/21 3964/23              3879/15 3881/20       3912/24 3913/10
 3867/14 3868/22
                        3946/9                       3965/2 3966/10               3881/21 3881/23       3913/14 3915/10
 3869/6 3870/5 3876/11
                       argues [2] 3951/11            3966/11 3970/4               3886/15 3887/20       3917/1 3917/24
 3876/11 3876/15
                        3952/9                      asked   [20]     3865/24      3902/19 3946/18       3918/15 3919/9
 3876/25 3877/2 3877/6
                       argument      [2]   3916/25 3868/16 3880/19                3951/18 3951/19       3919/22 3920/6
 3886/15 3886/15
                        3952/5                       3884/7 3886/2 3886/22 3951/22 3955/3               3922/17 3922/19
 3886/16 3886/18
                       arguments       [1]  3967/15 3887/10 3889/21               3958/12 3966/13       3923/2 3923/25 3924/7
 3886/18 3886/20
                       armed    [2]   3960/8         3890/2 3892/19 3894/4 3966/22 3968/16              3925/18 3925/25
 3886/20 3887/20
                        3960/10                      3901/2 3902/9 3906/14 3969/19                      3926/10 3926/14
 3891/6 3892/15
                       around    [20]    3880/13     3906/25 3909/15             axe [1]  3892/13       3926/19 3926/25
 3897/15 3899/2
                        3890/7 3890/7 3892/12 3917/10 3918/2 3955/8                                     3927/1 3928/4 3928/15
 3917/10 3917/11                                                                 B
                        3892/17 3900/4               3959/13                                            3928/24 3929/3 3929/9
 3949/13 3952/5
                        3900/15 3900/24             asking    [5]   3876/1       back [29] 3869/2       3929/16 3929/18
 3954/14 3954/15
                        3913/24 3930/17              3902/2 3906/20 3917/6 3869/11 3874/12              3930/2 3930/5 3930/11
 3955/22 3957/20
                        3933/8 3933/15               3958/13                      3899/6 3901/1 3902/12 3930/16 3931/15
 3961/25 3962/4
                        3937/10 3949/3 3949/3 assault [1] 3900/3                  3903/21 3913/4 3915/1 3932/7 3933/1 3934/11
 3964/10 3965/3
                        3951/5 3960/19 3963/8 assemble [1] 3903/10 3915/6 3915/18 3916/4 3935/11 3935/17
 3965/13 3968/6
                        3969/9 3969/20              assembling [1]                3916/18 3917/15       3936/8 3936/12 3937/7
 3969/23
                       arrest  [1]   3899/8          3951/20                      3917/21 3925/14       3940/6 3941/12
anybody [3] 3866/25                                                               3933/25 3943/7
                       arrested    [4]  3898/21     assessment         [1]                              3944/19 3945/12
 3868/7 3876/4
                        3899/1 3899/10               3924/23                      3943/10 3943/12       3947/3 3949/17 3952/9
anyone [7] 3867/21
                        3899/19                     assigned      [4]   3924/21 3959/2 3960/23 3961/8 3954/4 3956/21
 3893/19 3900/3 3931/4
                       arrival [1] 3950/15           3924/22 3924/25              3963/18 3967/1        3957/21 3957/21
 3937/23 3947/19
                       arrive [3]   3866/7           3938/3                       3967/16 3967/18       3957/22 3958/13
 3961/11
                        3952/25 3961/3              assist  [2]    3885/22        3969/21 3970/10       3958/23 3958/24
anything [8] 3868/7
                       arrived   [8]   3937/22       3909/2                      background [1] 3922/7 3959/6 3961/3 3965/4
 3891/11 3898/19
 3899/2 3901/8 3901/24
                        3940/17 3948/20             assistant [3] 3921/21 bad [1] 3891/1                3965/10 3966/1 3966/9
                        3948/23 3948/24              3925/1 3925/3               baggage [2] 3876/13    3969/1 3969/2 3969/17
 3908/4 3908/4
                        3948/25 3960/10             ASSOCIATES [1]                3877/2                3969/18 3969/19
apologies [5] 3872/3
                        3960/13                      3860/14                     balls [1] 3923/15      3970/7
 3920/7 3936/2 3936/15
                       arrives [1] 3960/20          assume [2] 3866/15           Ballston [1] 3882/12   bears [1] 3880/20
 3954/24
                       arrow [1] 3905/11             3951/2                      BARRETT [2] 3860/3 because [18] 3867/22
apologize [4] 3881/17
                       as [62]   3866/5 3866/5 assuming [1] 3874/25 3862/4                              3867/22 3883/4
 3933/22 3936/1
                        3866/14 3866/14             asymptomatic          [1]    barricades [1] 3960/18 3889/11 3889/15
 3955/20
                        3868/17 3868/17              3866/15                     barrier [1] 3952/13    3892/24 3894/6
app [1] 3883/5
                        3868/17 3868/17             att.net  [1]    3860/12      barriers [2] 3950/11   3932/10 3947/7
apparently [1] 3952/22                                                            3960/19
                        3868/18 3868/19             attached     [1]    3892/14                         3951/10 3953/4
appear [2] 3897/15
                        3869/20 3872/6              attacked     [2]   3940/25 based [4] 3866/10        3956/25 3959/5 3964/8
 3905/17
                        3874/19 3875/1               3942/1                       3878/2 3925/17 3947/5 3965/11 3965/23
APPEARANCES [4]
 3859/13 3859/20
                        3875/17 3876/7              attempted [1] 3889/16 basically [2] 3879/20         3966/25 3969/10
                        3876/19 3881/11             attention     [1]   3960/4    3879/24               become   [4] 3869/6
 3860/17 3861/20
                        3881/18 3887/23             ATTORNEY'S [1]               bass [1] 3893/19       3895/13 3925/6
appeared [1]  3875/5
                        3887/23 3892/11              3859/16                     bathroom [2] 3914/13 3943/15
appearing [1] 3872/4                                                              3920/3
                        3900/9 3900/14              attorneys      [1]   3883/9                         becoming [1] 3888/10
appears [4] 3890/25
                        3901/24 3905/17             audio  [10]     3870/11      battle [2] 3913/8      been [47] 3865/25
 3925/18 3935/17
                        3906/4 3909/6 3912/24 3871/23 3872/15                     3913/13               3866/12 3866/16
 3936/8
                        3913/23 3916/16              3888/18 3906/5 3944/8 bay [1] 3966/4               3866/18 3866/19
application [1]
                        3921/15 3924/13              3944/9 3948/14              be [112] 3865/3        3866/19 3867/1 3867/3
 3883/22
                        3924/15 3925/1 3925/3 3956/17 3956/19                     3868/10 3868/19       3867/4 3869/19
appreciate [5] 3869/13                                                            3868/20 3869/1
                        3931/11 3934/13             August     [1]   3967/4                             3870/14 3871/5
 3879/1 3879/21
                        3934/14 3934/16             authentic      [1]   3948/6   3869/10 3874/2 3875/1 3875/17 3878/21
 3917/12 3954/19
                        3937/24 3937/24             authenticity [1] 3948/6 3875/5 3875/16              3878/24 3880/19
approach [1] 3951/1                                                               3877/10 3877/16
                        3941/25 3943/5              author [1] 3894/3                                   3891/21 3894/10
appropriate [1]
                        3943/15 3943/15             authorized       [1]  3934/4 3877/20 3880/9         3894/24 3895/11
 3908/12
                        3943/22 3944/17             automated [1] 3945/20 3880/10 3880/12               3898/6 3899/1 3912/19
approximate [1]                                                                   3880/16 3880/18
                        3945/3 3945/21 3948/6 automatic [2] 3900/3                                      3914/3 3917/5 3921/11
 3936/17
                        3951/2 3951/19               3965/23                      3881/11 3881/19       3922/8 3935/22 3946/9
approximately [4]
                        3952/21 3952/21             availability [1] 3892/2 3882/1 3882/10 3884/4 3946/22 3948/6
 3921/12 3925/16
                        3956/21 3958/12             available [4] 3866/23         3884/25 3885/13       3949/17 3950/11
 3937/21 3938/8
                        3963/2 3965/5 3969/21 3868/13 3909/16                     3887/1 3890/16        3950/12 3950/17
are [126]                                                                         3893/17 3894/23
                        3969/21 3970/3               3909/21                                            3953/15 3953/15
area [16] 3877/1                                                                  3895/18 3895/22
                       aside  [1]   3886/12         Avenue     [6]    3860/3                            3953/17 3957/4
 3877/6 3887/15 3930/4
                       ask  [17]   3870/25           3860/7 3861/7 3862/4 3896/24 3898/8                3958/11 3958/20
 3930/8 3930/10
                        3877/12 3914/7               3933/24 3933/25              3898/19 3899/17       3959/25 3964/4
 3933/19 3935/20
                        3918/23 3918/25             aware   [25]     3871/14      3900/25 3902/9        3964/13 3968/5
 3936/21 3937/2
                                                                                                                       3975


B Case 1:22-cr-00015-APM
                 bit [7] 3874/13 Document   730[2] 3957/24
                                 3877/4 broken      Filed 01/02/24
                                                             camera [1]Page  117 of3921/19
                                                                        3943/19     135 3924/10
                       3922/5 3922/7 3948/24 3961/18                        cameras [5] 3943/23     3924/25 3925/11
been... [2] 3968/16
                       3953/12 3954/3               brought [7] 3875/1       3943/25 3944/2 3944/4 3926/3 3926/7 3926/11
3969/12
                       bitter [1] 3895/22            3876/12 3876/21         3944/9                 3926/16 3927/18
before [20] 3859/9
                       Bittner [1] 3912/5            3876/25 3877/6         can [100] 3868/17       3928/10 3928/21
3866/13 3866/24
                       bleak [1] 3961/11             3887/11 3950/12         3868/17 3868/19        3930/12 3930/23
3877/13 3878/5 3881/8
                       block   [1]    3965/24       brunch    [1]  3891/9    3871/22 3874/6 3878/6 3932/16 3933/4
3886/5 3889/19
3896/19 3899/24        Blue [1] 3960/14             brushstrokes [1]         3878/11 3881/3         3933/23 3934/24
                       blueprints      [1]  3927/22 3922/10                  3881/13 3883/6         3935/14 3935/24
3902/16 3902/17
                       board   [2]    3885/23       building   [22]  3861/8  3883/14 3884/15        3936/15 3936/23
3902/23 3905/2
                       3936/22                       3924/5 3925/5 3928/24 3885/22 3887/4 3888/2 3937/14 3938/19
3918/25 3926/7 3935/2
3949/19 3953/25        boat [4] 3891/14              3940/13 3942/21         3888/12 3888/17        3939/23 3940/2
                       3892/15 3893/19               3946/17 3946/18         3890/5 3890/24         3942/12 3943/12
3958/24
                       3893/19                       3947/5 3948/21 3951/9 3891/19 3892/3 3893/3 3943/15 3947/18
begin [3] 3869/17
3877/13 3928/7         boil [1] 3910/12              3953/21 3954/5          3893/21 3894/9         3954/14 3955/8
                       bomb    [1]    3923/6         3954/12 3955/9          3894/12 3895/17        3964/24
beginning [5] 3871/12
                       both  [3]    3868/3 3873/6 3955/10 3955/11            3896/6 3896/13 3897/2 Captain Ortega [22]
3871/21 3946/1 3946/2
                       3968/18                       3956/10 3957/12         3897/6 3897/20 3898/4 3924/10 3925/11
3963/20
                       bottom     [4]   3870/22      3957/23 3958/6          3898/11 3898/24        3926/3 3926/7 3927/18
begins [1] 3910/8
                       3884/8 3885/19                3967/14                 3899/6 3899/13 3900/1 3928/10 3928/21
behind [2] 3939/4
                       3960/23                      buildings [5] 3922/21 3901/12 3902/6 3902/7 3930/12 3932/16
3939/6
                       boxes    [4]    3873/3        3924/1 3924/1 3924/8 3902/21 3903/3            3933/4 3933/23
being [17] 3867/18
                       3873/11 3873/14               3924/9                  3903/12 3903/18        3934/24 3935/14
3867/22 3868/1
                       3873/15                      bullets  [1]  3923/19    3904/14 3904/19        3936/15 3936/23
3880/17 3889/4
                       Boys   [1]    3898/23        burden    [1]  3951/21   3905/4 3905/13         3937/14 3938/19
3909/16 3934/14
                       Bradford      [3]  3861/11 burner [2] 3892/20         3905/20 3906/15        3940/2 3942/12
3934/16 3940/25
                       3861/14 3865/16               3892/21                 3906/16 3906/17        3943/12 3954/14
3947/6 3950/5 3952/8
                       Bradford      Geyer   [1]    Burnie   [1]  3861/18    3908/7 3909/2 3909/24 3955/8
3954/12 3959/4 3963/5
                       3865/16                      bus [1] 3896/3           3910/5 3910/13        caption [1] 3921/23
3963/5 3966/6
                       braking     [1]   3964/4     button  [2]   3901/5     3910/24 3911/3        captured [1] 3885/8
belabor [2] 3958/19
                       BRAND [1] 3861/3              3901/9                  3911/14 3911/20       car [1] 3889/9
3959/23
                       brandwoodwardlaw.c bypass [1] 3892/17                 3912/12 3912/25       care [1] 3892/10
belief [1] 3866/11
                       om [1] 3861/5                                         3913/16 3913/17       Carolina [11] 3894/5
believe [20] 3869/15                                C
                       bravo [3] 3895/10                                     3914/3 3915/19         3897/9 3897/10
3874/18 3877/17
                       3895/10 3895/10              CAD [1] 3945/19          3920/16 3921/18        3897/11 3897/13
3884/7 3890/11 3892/6
                       breach    [7]    3938/11     Caldwell [33] 3861/16 3925/9 3926/7 3930/21 3897/14 3897/16
3894/10 3908/15
                       3954/20 3954/21               3865/9 3865/18          3935/25 3936/15        3897/18 3898/15
3912/5 3946/11
                       3960/12 3961/2 3964/3 3885/18 3891/7                  3937/15 3944/4 3944/5 3902/20 3903/2
3949/21 3955/18
                       3964/14                       3893/10 3893/22         3944/6 3944/7 3947/18 carried [1] 3892/13
3956/25 3959/24
                       breached       [7]  3943/3    3901/2 3901/5 3901/20 3948/9 3948/19          carry [3] 3892/12
3960/1 3960/10
                       3943/6 3943/9 3951/14 3901/20 3901/25                 3949/19 3952/17        3923/21 3923/22
3961/14 3963/6
                       3953/21 3954/6 3957/4 3902/16 3902/24                 3953/8 3953/12        carrying  [1] 3901/18
3966/12 3968/6
                       breaching       [2]  3889/7   3903/20 3903/22         3953/14 3958/10       cart [2] 3876/14 3877/2
below [1] 3930/7                                     3904/2 3904/11
                       3960/18                                               3960/12 3961/3 3961/8 case [18] 3865/5
Bench [6] 3908/1                                     3904/16 3904/21
                       break   [9]    3912/8                                 3961/19 3962/10        3875/24 3882/23
3914/8 3915/25
                       3914/13 3914/20               3905/12 3905/17         3963/1 3963/18 3964/8 3889/4 3892/21 3907/7
3918/11 3920/1 3946/5
                       3918/25 3947/9                3907/11 3910/8          3964/23 3965/1 3969/6 3950/8 3951/17 3956/7
Berwick [1] 3861/12                                  3910/15 3910/19
                       3947/12 3947/13                                       3970/6                 3956/22 3959/6 3963/7
besides [1] 3879/3                                   3949/12 3949/13
                       3947/14 3947/20                                      can't [4]  3878/25      3964/10 3966/6 3967/1
best [3] 3895/11                                     3949/20 3952/12
                       breaking      [2]  3961/15                            3893/18 3895/18        3967/2 3968/8 3968/12
3916/8 3936/7
                       3963/23                       3968/15 3968/24         3931/20               cases  [2] 3876/11
better [1] 3895/19                                   3969/9
                       breaks    [1]    3962/13                             Cannon    [1] 3924/8    3886/11
between [8] 3868/21
                                       3924/10      Caldwell's [9] 3874/14 cannot [5] 3867/8       caused [1] 3894/2
3870/6 3895/5 3897/15 briefly [1]
                       BRIGHT       [7]  3860/3      3884/25 3885/3 3885/8 3898/22 3954/6          CCTV [5] 3943/22
3901/6 3901/9 3945/10
                       3860/7 3865/12 3886/3 3891/6 3891/13                  3958/23 3969/4         3943/23 3946/14
3948/7
                       3886/22 3887/10               3893/11 3894/3 3902/3 Capitol [125]            3947/24 3955/23
beyond [5] 3893/8
                       3902/2                       call [6] 3879/23 3880/7 Capitol Hill [1]       celebration   [1] 3958/3
3915/23 3934/12
                       bring  [11]     3869/7        3895/19 3895/24         3910/11               Cellebrite  [2] 3883/21
3934/13 3934/15
                       3874/12 3878/15               3900/19 3903/16        Capitol  Police  [9]    3883/21
Biden [2] 3888/10
                       3896/12 3898/22              called [2] 3883/21       3921/6 3921/11        center [17] 3912/22
3918/7
                       3934/22 3935/21               3930/11                 3921/21 3922/12        3926/17 3929/2 3929/6
big [2] 3939/3 3939/7
                       3946/1 3946/2 3960/3 calling [1] 3960/8               3934/5 3936/22         3929/25 3930/1
bigger [1] 3939/9
                       3965/8                       calls [6] 3919/7 3943/4 3944/15 3944/19         3931/15 3940/14
bike [10] 3933/6                                     3944/18 3945/10
                       bringing [5] 3873/3                                   3956/1                 3945/13 3955/6
3934/16 3934/25
                       3891/25 3916/11               3945/18 3945/22        captain  [39]  3893/17  3955/10 3956/24
3935/5 3935/5 3935/15
                       3954/6 3963/7                came [7] 3875/21         3919/7 3920/13         3965/8 3965/19
3935/18 3936/6 3939/5
                       broad   [1]    3922/10        3875/21 3876/3 3876/4 3920/21 3920/25          3965/21 3965/25
3939/6
                       broader     [1]   3875/23     3881/9 3955/15 3960/7 3921/8 3921/15           3966/9
Bill [2] 3897/9 3897/9
                                                                                                                           3976


C Case 1:22-cr-00015-APM
                  3962/24                  Document     730 Filed
                                                    communicate     [1] 01/02/24
                                                                              constructedPage       118 of3928/17
                                                                                             [1] 3927/6    135 3928/21
                        clients  [3]  3946/9         3944/18                  consultations     [1]       3929/10 3931/15
centralized [1] 3944/18
                         3946/12 3947/4             communicating [1]          3866/4                     3932/14 3933/4 3933/9
certain [3] 3875/20
                        clip [17] 3870/11            3968/17                  contact [1] 3904/2          3934/3 3934/22
 3931/16 3931/21
                         3870/15 3871/2             communication [3]         contained [1] 3957/18 3935/18 3935/21
certainly [6] 3867/21
                         3871/15 3872/6              3908/17 3944/20          contend [1] 3958/1          3935/24 3936/20
 3876/10 3965/17
                         3905/24 3906/2 3906/7 3945/13                        contending    [1]           3936/25 3937/5
 3967/21 3968/21
                         3948/3 3950/1 3953/25 communications [4]              3962/15                    3938/17 3938/19
 3969/8
                         3956/25 3957/1 3957/3 3883/4 3883/5 3904/6 context [1] 3958/7                    3938/23 3939/19
certification [2]
                         3957/20 3958/18             3904/11                  contextualize    [2]        3940/1 3940/2 3941/23
 3906/12 3914/2
                         3964/23                    compare   [1]  3942/25     3954/13 3966/6             3945/9 3946/1 3952/10
Certified [1] 3862/3
                        clips [9]   3871/3 3871/5 compartmentalized [1] continue [7] 3866/21              3953/15 3955/2
certify [2] 3910/10
                         3871/9 3871/10 3949/6 3916/13                         3880/5 3899/13             3957/22 3959/17
 3971/2
                         3949/7 3949/10             compilation   [4]  3946/7 3933/22 3949/19             3962/16 3968/25
cetera [1] 3880/2
                         3954/15 3968/1              3946/14 3963/3 3967/1 3955/2 3967/17                 3969/12
CH [1] 3862/4
                        close  [5]  3867/1          complained    [1]         continued   [5]   3860/1 Counsel [1] 3966/2
chains [1] 3903/23
                         3896/8 3934/15              3958/15                   3861/1 3862/1 3869/22 country [2] 3876/2
Chamber [3] 3930/5
                         3939/13 3969/8             complaining    [1]         3879/4                     3906/20
 3930/6 3956/4
                        closed   [7]  3921/23        3959/5                   continues   [1]   3934/1 couple [4] 3867/18
chambers [2] 3929/20
                         3932/4 3935/20             completely [2] 3940/19 control [1] 3954/6             3892/1 3898/5 3967/3
 3945/4
                         3936/21 3937/2              3958/17                  convene   [1]  3929/23 course [2] 3867/10
change [1] 3961/4
                         3943/21 3965/23            complex [4] 3886/9        convenience [2]             3885/24
channel [3] 3945/4
                        closed-circuit    [1]        3925/7 3937/18            3870/10 3887/8            court  [16] 3859/1
 3945/5 3956/19
                         3943/21                     3938/14                  conversation    [1]         3862/2 3862/3 3866/4
channels [4] 3944/22
 3944/24 3945/6         closer [1] 3868/20          complied [1] 3888/4        3902/24                    3886/21 3909/4
                        Coast   [1]  3896/8         computer   [2]  3862/7    convincing    [1]  3966/8 3909/18 3914/18
 3945/11
                        Cochran [1] 3897/8           3945/20                  coordinate [1] 3945/10 3917/23 3919/4 3920/8
chant [1] 3874/6
                        collection   [1]  3916/17 computer-aided [1]          coordinating [1]            3947/10 3958/12
charge [6] 3921/19
                        COLUMBIA       [2]  3859/1 3862/7                      3899/13                    3961/23 3962/22
 3924/4 3924/7 3950/8
                         3922/18                    conceived   [1]  3916/17 core [1] 3960/25             3970/12
 3954/24 3954/25
                        combat [1] 3942/10          concern [3] 3942/15       corner [2] 3884/8          Court's [3] 3877/9
charged [1] 3950/17
                        come [24] 3865/24            3946/21 3953/10           3899/16                    3919/9 3959/22
charter [1] 3896/3
                         3866/24 3867/8             concerned [1] 3950/23 correct [40] 3870/12           courtroom [8] 3865/19
chat [11] 3880/3
                         3890/11 3896/5 3896/6 concerns [1] 3869/6             3870/13 3871/19            3868/2 3869/9 3878/21
 3881/20 3882/2
                         3900/21 3911/8 3911/9 Conditions [1]                  3872/25 3873/4             3878/24 3914/25
 3882/10 3882/13
                         3911/11 3915/6              3960/24                   3873/11 3873/14            3915/9 3947/17
 3897/5 3911/5 3911/23
                         3941/20 3942/8 3943/7 conduct [2] 3903/22             3876/5 3877/7 3877/18 covered [3] 3903/16
 3913/20 3916/4 3953/9
                         3954/18 3959/17             3949/11                   3878/19 3878/22            3916/3 3942/4
chats [2] 3882/1
                         3960/9 3961/12 3964/6 Confederate [2]                 3878/25 3880/23           COVID    [5] 3866/2
 3882/2
                         3964/16 3964/22             3954/1 3954/2             3881/12 3882/2 3898/2 3866/2 3866/9 3866/12
check [2] 3945/18
                         3965/15 3967/16            conference [6] 3908/1 3899/25 3909/13                 3932/8
 3969/6
                         3967/18                     3914/8 3915/25            3909/25 3915/16           CR  [1] 3859/4
checking [1] 3867/6
                        comes    [3]  3879/24        3918/11 3920/1 3946/5 3918/3 3918/14 3927/2 Craft [1] 3874/19
checks [1] 3945/18
                         3948/14 3957/1             confined [1] 3970/2        3928/23 3928/24           created [1] 3875/12
choose [1] 3880/21
                        comfort [10] 3867/16 confirm [4] 3870/5                3929/1 3929/24            crime [2] 3886/12
Cinnaminson [1]
                         3872/24 3873/3              3945/14 3945/19           3932/11 3937/13            3887/9
 3861/13
                         3882/12 3887/12             3955/25                   3941/8 3945/23            crimes   [2] 3889/16
circle [6] 3926/23
                         3888/6 3888/21 3889/8 confusing [1] 3946/23 3945/24 3950/19                      3889/16
 3930/1 3930/7 3930/19
                         3905/9 3906/2              Congress [5] 3906/12 3950/21 3955/16                 Criminal [1] 3865/5
 3943/12 3955/24
                        Comfort    Inn  [3]  3873/3 3922/13 3923/4             3956/9 3956/14            Crisp [4] 3860/14
circled [1] 3891/2
                         3882/12 3887/12             3932/13 3934/6            3969/15 3971/3             3860/14 3865/17
circling [1] 3930/16
                        comfortable     [7]         Congressmen      [1]      corrected  [1]  3955/20 3873/23
circuit [1] 3943/21
                         3867/15 3868/1 3868/4 3880/7                         correction [1] 3918/15 crisplegal.com [1]
circular [1] 3926/17
                         3868/4 3920/15             Conn [1] 3933/16          correctly [1] 3959/24       3860/16
circumstances [1]
                         3948/10 3948/12            connected   [1]   3904/12 corridor [2] 3957/7        cross  [14] 3863/4
 3958/9
                        coming    [10]   3896/3     connections    [1]         3957/7                     3869/16 3869/17
citizen [1] 3900/9
                         3902/12 3902/13             3902/3                   could [57] 3870/9           3869/22 3874/9 3899/2
city [4] 3891/3 3892/12
                         3919/19 3919/20            consider  [1]  3917/20     3870/14 3873/6             3912/14 3912/17
 3937/24 3937/25
                         3931/14 3938/25            consideration    [1]       3876/13 3877/2             3917/3 3917/7 3917/15
civil [5] 3906/24
                         3945/17 3951/19             3867/19                   3878/15 3879/20            3950/13 3953/14
 3910/17 3923/15
                         3968/9                     consistent [1] 3871/25 3880/25 3881/19                3961/21
 3946/15 3950/17
                        commander [3]               conspiracy [5] 3886/5 3886/19 3887/1                 cross-examination [9]
Civil War [1] 3906/24
                         3921/22 3925/1 3925/3 3886/7 3889/17                  3894/21 3895/12            3869/16 3869/17
clear [2] 3882/10
                        comment [2] 3910/7           3889/19 3968/18           3899/3 3914/7 3921/2 3869/22 3874/9
 3920/14
                         3910/7                     constituted [1] 3878/8 3922/10 3922/25                3912/14 3912/17
clever [1] 3899/4
                        committing     [1]          Constitution   [4]         3924/10 3926/3 3926/8 3917/3 3950/13
client [3] 3918/20
                         3886/13                     3862/4 3906/24            3926/8 3926/22             3961/21
 3960/13 3960/13
                        comms     [1]  3879/25       3933/11 3933/15           3927/10 3928/7            cross-examine    [1]
client's [2] 3918/20
                                                                                                                                   3977


C Case 1:22-cr-00015-APM      Document
                 December [5] 3895/7    730
                                     3961/10                           Filed 01/02/24           Page 119 of3870/21
                                                                                  3880/21 3907/12                 135 3870/24
                       3910/8 3911/5 3912/21 departing [1] 3950/4                 3917/8 3961/25                 3871/10 3872/17
cross-examine... [1]
                       3915/15                        department [3]              3966/21                        3873/8 3873/10
 3917/15
                       December 31st [2]              3922/16 3922/17             different [5] 3877/4           3873/12 3874/6
cross-examined [1]
                       3910/8 3912/21                 3944/16                     3882/25 3883/2                 3874/16 3874/17
 3917/7
                       deciding [1] 3892/12 depiction [5] 3925/13 3922/15 3948/7                                 3874/20 3874/21
crowd [17] 3880/16
                       decision    [1]   3956/1       3925/19 3932/16             differently     [1]  3907/17 3875/9 3875/11
 3934/25 3937/25
                                        3898/19       3932/19 3935/4              difficult [1] 3883/9           3875/12 3875/23
 3939/3 3939/7 3939/13 deemed [1]
                       defend   [1]   3911/8          depictions     [1]  3927/21 dignitary [4] 3923/3           3877/24 3878/1
 3940/20 3940/21
                       defendant     [16]   3860/2 deployments [1]                3924/15 3924/19                3883/11 3883/13
 3941/1 3941/3 3942/5
                       3860/13 3861/2                 3923/10                     3945/3                         3883/16 3883/18
 3942/7 3960/20
                       3861/11 3861/15                deploys   [1]    3921/25    direct  [4]   3863/4           3884/18 3884/21
 3960/23 3961/1 3961/5
                       3865/6 3865/7 3865/7 deposit [1] 3888/6                    3874/19 3916/3                 3884/23 3886/3
 3961/8
                       3865/8 3865/8 3865/13 deposited [1] 3887/12 3920/22                                       3886/11 3886/23
crowds [1] 3939/9
                       3865/15 3865/16                describe    [1]   3924/10 directions [1] 3962/22 3887/14 3888/13
Crowl [1] 3904/21
                       3865/17 3865/18                describing [1] 3935/15 directly [2] 3929/8                 3889/22 3889/23
CRR [2] 3971/2 3971/8
                       3951/4                         despite  [1]    3874/4      3956/4                         3889/24 3889/25
crud [1] 3910/10
                       Defendant     Caldwell     [1] destroy  [1]    3907/7      Dirksen    [1]    3924/1       3890/6 3890/19
cruise [1] 3891/16
                        3865/18                       destroying     [1]  3908/4 disagreeing [1]                 3892/11 3892/20
Crypt [4] 3929/3
                       Defendant     Harrelson        destruction     [1]  3908/6 3967/25                        3892/22 3893/5 3894/7
 3929/5 3929/8 3954/10
                       [1]  3865/16                   detail [4]   3880/18        disappear      [1]   3894/2    3894/8 3894/14
cue [1] 3963/18
                       Defendant     Meggs      [1]   3954/14 3960/16             discreet    [1]   3920/6       3894/15 3895/19
curveball [1] 3869/12
                       3865/15                        3962/24                     discuss    [2]    3865/25      3895/21 3896/15
cut [3] 3964/21 3967/1
                       Defendant     Rhodes      [1]  details [3]    3886/16      3947/19                        3896/16 3897/21
 3967/7
                       3865/13                        3923/4 3960/15              discussed [2] 3874/19 3898/18 3899/1 3899/4
D                      Defendant Watkins [1] detained [1] 3900/25                 3902/13                        3899/5 3899/10
D.C [29] 3859/5        3865/17                        detective    [1]  3964/23   discussion       [1]   3874/13 3900/10 3900/16
 3859/17 3861/4 3861/9 DEFENDANT'S          [3]       determine     [1]  3876/20  discussions        [1]         3901/3 3901/5 3901/16
 3862/5 3877/1 3877/6  3863/10    3872/11             device  [2]   3883/7        3866/10                        3901/19 3901/24
 3887/11 3887/15       3877/22                        3885/9                      dismiss [2] 3867/8             3902/1 3902/2 3904/4
 3887/22 3889/22       defendants      [30]           diagram    [1]   3930/15    3867/21                        3904/8 3905/17 3907/2
 3889/25 3890/7        3859/7   3865/19               did [74]   3870/5    3871/2 disorder     [2]   3946/15     3909/10 3910/25
 3890/10 3896/12       3908/16    3914/12             3871/4   3871/9    3872/20  3950/17                        3912/14 3914/13
 3897/5 3898/18        3946/17    3948/1              3872/22    3875/7    3875/8 dispatch     [6]   3938/10     3919/16 3919/18
 3898/19 3898/21       3948/20    3949/2              3875/9   3877/2    3882/12  3944/19     3945/9             3921/5 3923/11
 3898/22 3899/2 3900/4 3949/11    3951/12             3888/6   3888/7    3888/8   3945/10     3945/12            3923/12 3923/21
 3900/16 3903/21       3951/20 3953/22                3888/24 3889/3 3889/6 3945/20                              3923/22 3925/16
 3910/9 3913/12        3954/17    3955/15             3889/8   3889/10            display   [1]    3878/16       3928/19 3930/7 3934/9
 3913/15 3913/20       3955/19    3956/5              3890/11    3891/6    3891/8 displayed      [1]   3878/12   3939/10 3944/13
 3917/1                3956/10    3956/13             3891/10    3891/13          disposable       [1]   3892/24 3951/6 3964/21 3967/5
D.C. [1] 3882/2        3957/7 3957/19                 3891/15 3891/16             dispute [1] 3966/2             do you [12] 3873/8
D.C. Op [1] 3882/2     3958/11 3964/10                3891/18 3893/17             disputing [1] 3952/21 3874/20 3886/3
D.C.'s [1] 3922/16     3965/3   3965/6     3965/12    3893/22    3903/7           disrupted [1] 3950/6           3886/23 3889/22
daily [1] 3867/6       3966/4   3966/7     3966/13    3903/22    3903/24          disruption      [1]   3954/25  3889/24 3889/25
Dallas [2] 3860/4      3967/12 3968/6                 3904/2 3904/11              disrupts [1] 3889/19           3901/3 3901/24
 3860/8                defendants'      [2]  3958/3   3905/22    3906/7    3907/5 distinguish      [2]           3909/10 3921/5
Damn [1] 3893/17       3968/20                        3907/7   3907/15            3876/13     3877/3             3944/13
date [4]  3899/15      defense    [12]   3883/15      3907/20    3908/16          DISTRICT       [4]  3859/1     Do you know [3]
 3914/5 3915/20 3971/7 3898/5 3908/14 3917/3 3909/18 3909/24                      3859/1 3859/10                 3871/10 3925/16
David [2] 3861/16      3935/23 3948/5 3948/8 3911/13 3916/8                       3922/18                        3930/7
 3865/18               3950/9   3952/12               3916/12    3918/18          disturbance       [1]          do you recognize [12]
David Fischer [1]      3954/19 3960/2 3967/4 3918/23 3918/25                      3923/16                        3870/16 3883/16
 3865/18               defense's [2] 3946/22 3937/16 3937/20                      division [24] 3923/2           3884/18 3884/21
day [15] 3859/7        3958/20                        3938/7   3938/9    3938/12  3923/2    3923/3     3923/5    3890/6 3893/5 3894/14
 3866/13 3866/23       defy [1]   3911/7              3939/1   3939/10            3923/9    3923/12              3896/15 3897/21
 3878/14 3878/21       degree [1] 3955/11             3939/21 3940/17             3923/24 3923/25                3901/16 3910/25
 3878/24 3931/1        Delaware     [1]   3933/16     3940/21    3940/23          3924/3    3924/4     3924/6    3912/14
 3932/10 3937/20       delete [2]    3907/15          3941/9   3941/20            3924/7    3924/13              do you remember [3]
 3938/2 3947/3 3958/8  3907/21                        3942/23    3943/7    3943/9 3924/16     3924/18            3883/11 3901/5 3902/2
 3958/14 3967/18       deleted   [2]  3893/25         3948/11    3952/25          3924/19     3924/22            do you see [4] 3870/21
 3968/5                3908/13                        3958/5   3961/9    3962/3   3924/23     3925/1     3925/3  3877/24 3890/19
daylight [1] 3900/15   deleting [1] 3908/4            3962/6 3964/24 3965/3 3938/2 3938/3 3938/5 3901/19
days [3] 3867/9        deliberating [1] 3869/6 3967/14                            3940/25                        documented [1]
 3867/18 3870/14       delineation     [1]            did you  [7]    3871/2      divisions     [2]   3922/22    3960/20
dead [1] 3906/20       3956/21                        3888/8   3889/3    3905/22  3922/25                        does [27] 3871/17
deal [1] 3887/5        democraps       [1]            3937/20    3940/21          DMs   [1]   3880/2             3871/22 3889/11
dealt [2] 3959/17      3906/24                        3941/9                      do [91] 3866/6 3866/24 3889/18 3891/24
 3966/24               demonstrating [1]              didn't [6] 3876/10          3867/20 3870/16                3892/4 3892/9 3896/17
                                                                                                                             3978


D Case 1:22-cr-00015-APM
                  3969/6                  Document   730
                                                Ed [2]   3905/10 Filed    01/02/24
                                                                     3905/25 entered [8]Page 3869/9 120 of3885/14
                                                                                                            135 3890/14
                      doubt   [1]    3969/23    Ed  Vallejo   [2]   3905/10 3915/9 3946/18 3947/2 3890/17 3891/21
does... [19] 3896/18
                      Doug [9] 3884/24           3905/25                      3949/2 3958/9 3965/1 3894/11 3894/20
3897/15 3898/16
                       3885/20 3894/17          editing [1] 3955/22           3965/9                       3894/25 3896/22
3903/15 3905/17
                       3895/5 3896/2 3896/11 Edmund [1] 3861/2               entering [2] 3889/4           3896/25 3898/4 3898/9
3906/4 3909/21
                       3897/13 3902/25          Edward [3] 3860/10            3961/16                      3907/7 3907/15
3909/23 3911/17
                       3903/5                    3865/9 3865/13              enters   [1]  3931/4          3907/21 3908/5 3911/1
3911/24 3912/6
                      Doug   Smith     [7]      Edward     Tarpley    [1]    entire  [6]  3871/17          3912/19 3914/4 3916/8
3912/18 3912/20
                       3884/24 3885/20           3865/13                      3879/5 3879/12               3916/13 3926/1 3928/5
3913/3 3917/21 3923/9
                       3895/5 3896/2 3896/11 Edwards [2] 3859/16              3889/19 3955/11              3933/2 3935/12
3923/12 3959/2
                       3897/13 3903/5            3865/11                      3960/14                      3936/13 3937/8
3968/13
                      Douyon      [1]  3870/10  edwardtarpley       [1]      entirety  [3]   3871/8        3938/18 3950/25
doesn't [3] 3887/4
                      down    [21]    3867/23    3860/12                      3916/23 3937/11              3951/11 3967/23
3897/19 3966/19
                       3870/22 3896/5           effectively    [1]  3961/5 entrants [1] 3964/22           exact [1] 3907/5
doing [9] 3867/13
                       3906/23 3913/25          either  [3]  3876/17         entry  [5]  3951/9           exactly [5] 3878/13
3880/14 3940/21
                       3919/5 3926/18            3898/7 3912/10               3960/25 3963/18              3916/10 3917/5 3947/4
3946/12 3947/7
                       3930/21 3933/16          election [3] 3902/8           3963/22 3963/24              3959/19
3958/13 3959/12
                       3933/24 3936/1            3906/13 3912/7              environment       [2]        examination   [12]
3960/15 3961/5
                       3937/15 3940/10          elevator   [1]   3901/21      3957/19 3958/11              3869/16 3869/17
Dolan [2] 3948/23
                       3941/11 3942/1           elevators [1] 3904/22 equipment [1] 3873/14 3869/22 3874/9
3949/1
                       3947/18 3956/5 3957/7 elicit [2] 3893/22              Ernest [3] 3870/11            3882/20 3912/14
dome [3] 3926/17
                       3957/10 3960/19           3953/22                      3870/15 3870/18              3912/17 3916/4 3917/3
3926/19 3926/21
                       3964/10                  elicited  [2]   3874/22      especially    [1]  3867/3     3920/22 3950/13
domestic [1] 3912/23
                      dozen    [1]   3959/22     3878/3                      essentially    [1]  3878/19 3961/21
Don [1] 3913/2
                      draw [2] 3890/24          Ellipse [1] 3913/23          establish [3] 3947/4         examine [1] 3917/15
Don Siekerman [1]
                       3940/4                   ELMER     [3]   3859/6        3950/14 3968/25             examined [1] 3917/7
3913/2
                      drawing      [1]  3929/19  3860/2 3865/6               established     [2]   3964/4 example [10] 3887/4
don't [46] 3866/25
3867/2 3867/13        drawn [1] 3940/13         else [2] 3868/7 3871/6 3964/14                             3889/15 3917/6 3950/1
                      Drive  [1]    3861/12     email  [16]    3859/18       establishing     [3]          3950/11 3951/13
3868/11 3870/25
                      drop  [1]    3881/13       3859/19 3860/5 3860/9 3946/14 3951/22                     3951/15 3953/20
3873/11 3873/13
                      dropped [1] 3881/19        3860/12 3860/16              3966/19                      3957/10 3968/1
3873/15 3875/13
                      dropping [1] 3888/21 3861/5 3861/10                    estimate [1] 3965/1          except [1] 3867/3
3876/15 3878/22
                      drove [1] 3937/24          3861/14 3861/19             et [2] 3859/6 3880/2         excerpts [1] 3947/2
3878/23 3880/2
                      due [1] 3932/7             3874/14 3874/22             et cetera [1] 3880/2         exchange [1] 3882/13
3880/17 3890/1
                      duration [1] 3949/14       3875/5 3875/7 3875/12 even [7] 3876/7                    exchanged [1] 3895/5
3892/25 3892/25
                      during    [7]   3866/17    3913/21                      3898/19 3899/1 3900/9 excluded [1] 3954/4
3893/24 3894/10
                       3888/20 3908/23          Empire [1] 3861/17            3903/23 3947/7              exclusively [1]
3899/5 3899/18 3904/4
                       3932/7 3941/23           employed      [1]  3944/11 3953/22                         3922/19
3908/10 3909/1
                       3942/11 3947/20          employs     [1]   3943/17 evening [2] 3866/1              excuse  [3] 3869/4
3911/18 3914/21
                      duty  [2]   3921/13       encroached       [1]  3956/5 3866/3                        3962/2 3964/23
3915/6 3930/16
                       3937/20                  encrypted [1] 3883/5 event [1] 3932/12                    exhibit [62] 3872/6
3939/19 3946/11
                      dwells    [1]   3954/14   end  [10]   3879/4 3883/7 events [3] 3932/10               3872/11 3873/7
3947/3 3949/12
                      dynamics       [1] 3961/4  3883/7 3895/22               3945/2 3945/2                3877/22 3878/4 3878/4
3952/24 3955/19
                                                 3904/25 3912/4              eventually    [2]   3942/9 3878/8 3878/9 3878/17
3955/21 3959/1 3959/7 E
                                                 3939/23 3947/3 3957/1 3943/9                              3879/18 3881/8
3959/19 3959/20
                      each [5] 3868/13           3964/22                     ever  [8]  3876/25            3883/14 3884/5
3959/21 3962/8
                       3939/13 3944/14          ended    [2]  3916/22         3892/21 3893/25              3884/20 3884/22
3963/14 3965/16
                       3944/16 3951/16           3940/8                       3895/11 3900/3 3907/5 3885/14 3888/2
3966/1 3968/12
                      Eagles [1] 3874/5         enemies [2] 3912/23           3950/11 3963/15              3890/17 3891/20
3969/23
                      earlier [6] 3878/3         3912/24                     every  [3]   3866/23          3893/3 3893/5 3893/7
done [3] 3895/18       3909/9 3916/18           enforcement       [2]         3892/21 3959/19              3894/21 3894/25
3895/19 3919/6
                       3948/24 3949/6            3892/5 3900/14              everybody      [8]  3865/24 3895/4 3896/14
door [12] 3908/9       3952/18
3908/10 3931/13                                 engage [2] 3942/10            3866/18 3868/16              3896/25 3897/3 3898/9
                      early [5] 3865/24          3957/12                      3868/18 3869/2 3915/1 3912/12 3925/10
3938/21 3938/22
                       3868/17 3868/17          engages [1] 3960/21           3915/4 3970/9                3925/23 3926/1
3942/20 3963/5 3963/6
                       3915/15 3917/21          engaging     [1]   3957/10 everybody's [1]                 3927/11 3928/1
3964/9 3964/9 3965/20
                      easier [1] 3895/23        Enjoy  [1]   3947/13          3869/13                      3929/10 3932/15
3965/23
                      easily [1] 3906/23        enormous       [1]  3939/8 everyone [13] 3865/3 3932/23 3933/2
doors [17] 3931/7
                      east [11] 3896/8          enough [1] 3899/4             3865/21 3865/23              3934/22 3935/9
3931/10 3939/2
                       3933/16 3933/18          Enrique [1] 3898/22           3867/24 3868/23              3935/12 3935/22
3942/22 3953/11
                       3938/15 3939/4 3939/9 ensure [1] 3934/14               3869/1 3869/11 3913/4 3935/22 3935/24
3954/17 3954/17
                       3939/10 3943/11          entail [1] 3903/7             3913/5 3915/10               3936/10 3936/13
3954/21 3955/14
                       3952/5 3955/14           enter [11] 3898/18            3919/13 3947/21              3937/1 3937/6 3937/8
3957/4 3957/14
                       3962/10                   3917/9 3931/10               3959/21                      3938/17 3940/1
3957/15 3964/3
                      eastbound [1] 3933/15 3931/15 3942/6 3955/9 evidence [38] 3872/11 3940/12 3941/15
3964/17 3964/25
                      easternmost [1]            3955/10 3958/5               3876/15 3876/24              3946/1 3952/11
3965/2 3965/4
                       3933/22                   3961/13 3964/19              3877/5 3877/22 3884/2 3952/13 3952/16
double [1] 3969/6
                      ecosystem [1] 3957/18 3965/3                            3884/5 3885/11               3952/17 3952/23
double-check [1]
                                                                                                                               3979


E Case 1:22-cr-00015-APM        Document
                 fashion [3] 3867/5      7303942/22
                                     3929/13   Filed 01/02/24
                                                         3874/12 Page 121 ofgmail.com
                                                                             135      [1] 3860/9
                        3875/10 3954/13              floors [2] 3901/6             friends [1] 3892/6        go [57] 3867/24 3881/3
exhibit... [2] 3959/20
                       fast [1] 3908/21               3927/23                      front [11] 3860/15        3884/15 3892/3
 3959/25
                       favor [1] 3961/4              Florida [10] 3902/3            3877/25 3912/22          3892/17 3893/3
exhibits [5] 3863/8
                       FBI [3] 3887/20                3903/21 3903/23               3938/15 3939/3           3893/15 3893/19
 3864/2 3878/3 3928/5
                        3889/18 3909/21               3904/3 3904/7 3904/8 3939/24 3939/25                   3893/21 3895/17
 3954/3
                       feature     [1]   3871/17      3904/9 3904/12                3940/14 3940/19          3898/24 3899/6
exist [1] 3962/15
                       features      [1]   3925/17    3911/23 3918/19               3943/11 3967/4           3899/24 3900/1 3901/6
exited [3] 3914/25
                       Federal      [1]   3875/9     Fly [2]   3874/5 3874/5 frustrating [1] 3967/8 3901/9 3903/3 3903/12
 3939/1 3947/17
                       federally [1] 3950/5          flying [1] 3906/21            fucking [1] 3910/18       3903/18 3904/14
exits [1] 3957/25
                       feel  [3]   3866/25           FN  [3]   3923/14 3923/17 full [13] 3878/9              3904/19 3905/4 3905/5
expect [2] 3900/21
                        3867/14 3868/1                3923/18                       3878/11 3881/3 3921/3 3907/2 3910/5 3910/13
 3900/23
                       feeling [1] 3867/15           focus [4] 3875/17              3923/1 3923/5 3923/6 3910/24 3911/6 3911/7
experienced [1]
                       fellow    [1]    3866/8        3922/20 3953/16               3923/6 3923/7 3923/8 3911/11 3911/14
 3897/18
                       fence    [3]    3933/6         3959/10                       3923/22 3934/2 3958/7 3911/20 3912/12
experts [3] 3961/23
                        3934/18 3939/5               focused     [2]   3875/22     full-service  [7] 3923/1 3912/25 3913/4
 3962/1 3962/4
                       fencing      [5]   3934/12     3917/18                       3923/5 3923/6 3923/6 3913/16 3914/3
explain [9] 3878/11
                        3934/17 3934/18              folks [4] 3906/21              3923/7 3923/8 3923/22 3915/18 3916/14
 3921/18 3922/10
                        3937/3 3960/19                3959/16 3964/6               function   [2] 3950/5     3917/15 3917/21
 3922/25 3933/4 3934/9
                       few   [7]   3883/8 3919/9 3966/21                            3965/24                  3918/14 3920/2 3922/6
 3941/23 3945/9
                        3919/22 3949/16              follow   [2]    3882/1        further  [3]  3869/20     3931/3 3931/10
 3949/18
                        3956/8 3964/15                3964/24                       3873/17 3918/8           3933/12 3938/7 3938/9
explained [1] 3869/2
                        3964/18                      follow-on      [1]  3882/1    future  [1]  3896/8       3938/12 3939/21
exposed [2] 3866/17
                       fighting     [1]   3946/10    following      [3]  3866/6                              3942/3 3944/18
 3867/1                                                                            G
                       figure    [1]   3942/5         3893/14 3962/22                                        3949/24 3961/12
exposure [1] 3866/12
                       figured     [1]   3920/4      follows    [2]   3869/21      gallery [1] 3956/6        3962/9 3964/8
express [3] 3867/15
                       filings    [2]   3961/23       3963/23                      Gamer [1] 3874/19         go ahead [2] 3949/24
 3867/17 3867/22
                        3962/7                       footage    [10]    3889/3     Garden [1] 3887/19        3964/8
extended [1] 3964/6
                       filled [1] 3940/19             3922/2 3946/13               gate [1] 3964/17          God [1] 3895/14
extensive [1] 3962/7
                       final  [1]    3906/22          3946/14 3947/24              gather [1] 3951/2         goes [6] 3889/15
extent [4] 3949/9
                       find [4] 3886/19               3955/23 3965/7               gathered [1] 3937/23      3889/16 3890/25
 3951/4 3965/7 3966/5
                        3893/25 3903/17               3965/11 3966/9               gave [1] 3967/6           3897/17 3916/20
extra [1] 3923/23
                        3959/5                        3968/12                      gears [2] 3886/2          3933/16
extraction [3] 3883/20                                                              3901/1
                       fine [3] 3914/14              force [2] 3957/9                                        going [57] 3868/15
 3883/23 3885/2
                        3920/17 3960/24               3969/21                      general [2] 3944/13       3869/16 3870/25
F                      firearms [1] 3931/20          forcing [1] 3969/20            3944/25                  3871/24 3871/25
           3942/9      fired  [1]    3956/20         foregoing      [1]   3971/3   generally [7] 3883/19 3877/10 3877/16
face [1]
                                                                                    3889/18 3897/23
Facebook [2] 3893/11 first [24] 3869/5               foreign [1] 3912/24                                     3881/11 3887/5 3891/7
                        3878/23      3885/17         forgettable      [1]  3873/25  3899/8 3899/19           3892/1 3897/2 3898/11
 3910/16
                        3888/5     3895/2    3897/8  forgot   [1]    3874/1         3901/16 3930/23          3902/8 3902/22 3903/4
faced [2] 3958/2
 3958/3                 3899/6 3922/6 3928/11 form [1] 3875/10                     gentlemen [2] 3914/19 3903/21 3906/18
                        3929/3 3929/6 3932/1 formally [2] 3869/4                    3947/11                  3906/23 3907/2 3910/6
facility [1] 3931/12
                        3932/5     3933/11            3962/4                       geographic     [1] 3876/2 3910/13 3910/17
facing [3] 3928/18
 3928/22 3952/7         3935/18 3937/17              format [1] 3885/5             Georgetown [3]            3911/21 3912/8
                        3942/22      3943/15         formation      [1]   3903/9    3891/4 3891/7 3891/9 3912/10 3913/9
fact [7] 3876/19
 3928/17 3946/22        3953/21 3954/20              formed [1] 3876/3             get [24] 3868/17          3914/10 3914/13
                        3958/23      3960/11         FormerFeds         [1]         3868/19 3871/22          3914/19 3916/4
 3957/24 3965/21
                        3964/18 3967/4                3861/12                       3880/21 3883/6 3896/5 3916/18 3922/5
 3967/6 3967/19
facts [1] 3960/16      Fischer [10] 3861/16 formerfedsgroup.com 3899/3 3903/16 3914/7 3922/19 3942/19
                        3861/16 3865/18               [1] 3861/14                   3914/22 3941/9 3942/1 3947/3 3947/4 3947/8
fair [14] 3879/5
                        3889/21      3892/19         forth  [1]   3959/2            3942/5 3942/18           3947/11 3950/25
 3880/22 3881/7
                        3894/4     3901/2    3906/14 forward     [8]   3866/22      3942/20 3943/9 3946/4 3953/11 3958/24
 3883/23 3885/2
 3888/20 3890/9         3916/1 3916/2                 3867/7 3868/5 3869/14 3948/9 3948/12 3959/1 3959/20 3960/19
 3892/25 3925/13       fischerandputzi        [1]     3898/4 3905/13 3906/4 3959/3 3962/8 3962/21 3962/18 3964/21
                        3861/19                       3969/21                       3966/18                  3964/25 3966/1
 3925/19 3927/21
 3932/19 3935/4 3936/5 five  [3]   3867/9    3914/11 found    [1]   3874/14        gets  [1] 3949/20         3966/10 3966/11
                        3916/9                       founders      [1]   3911/13   getting  [5]  3880/2      3966/13 3966/22
fairly [3] 3866/12
                       five-step      [1]  3916/9    founding      [1]   3895/14    3901/20 3950/8           3967/5 3967/17
 3966/23 3968/3
                       FL   [1]   3911/4             Fountain      [5]   3952/12    3951/12 3951/23          3967/18 3969/5 3970/4
falling [1] 3903/9
                       flag  [3]    3892/13           3952/16     3952/18          Geyer [7] 3861/11         gone  [1] 3879/25
familiar [14] 3881/2
                        3896/12      3954/1           3952/21     3953/2            3865/16 3908/20          good  [10] 3865/4
 3881/4 3899/8 3921/23
                       flags   [3]    3906/21        four  [2]   3867/10            3960/5 3961/19           3865/23  3870/3 3870/4
 3922/2 3925/6 3930/12
                        3954/2 3954/6                 3895/4                        3962/14 3963/1           3871/10 3892/6 3894/6
 3930/23 3931/23
 3943/13 3943/16       flood [1] 3964/17             frame [1] 3932/7              give [1] 3887/4           3903/16 3920/25
                       floor  [10]     3901/3        frankly   [1]    3968/2       given  [3]  3868/21       3921/1
 3944/10 3944/22
                        3901/9     3901/21           fraud   [2]   3886/9           3947/1 3968/5            Good   morning [4]
 3945/6
                        3904/22 3928/10               3886/10                      glasses [1] 3905/1        3865/4 3870/3 3870/4
family [1] 3922/13
                        3928/11 3929/3 3929/7 Friday [2] 3866/13                   Glen [1] 3861/18          3920/25
far [1] 3952/21
                                                                                                                     3980


G Case 1:22-cr-00015-APM
                  3894/6               Document 7303908/25
                                            3908/22   Filed 01/02/24      Page 122 of3908/2
                                                               hell [1] 3912/8        135 3908/20
                                               3909/12 3948/23         help [4] 3900/19            3915/12 3915/23
got [10] 3892/2  H                             3949/1                  3900/21 3958/1              3916/3 3916/6 3918/15
3905/11 3939/23
                       habit [1] 3962/22       Harrisburg [1] 3860/15 3966/19                      3920/2 3928/2 3936/2
3940/18 3940/24
                       had [38] 3871/5         Hart [1] 3924/1         helping [1] 3902/14         3946/6 3947/1 3948/14
3942/2 3953/1 3962/9
                       3874/23 3875/3          has [32] 3866/2 3866/2 her [6] 3870/25              3949/4 3952/10
3966/3 3966/20
                       3875/17 3876/20         3866/8 3866/8 3866/18 3876/11 3882/11               3952/20 3953/8
gotten [1] 3969/11     3876/21 3878/18         3867/1 3877/5 3880/19 3917/19 3918/25               3953/20 3953/24
government [30]        3881/8 3894/6 3900/8 3891/21 3893/19            3951/1                      3954/23 3955/18
3859/14 3865/11
                       3902/16 3902/24         3894/10 3895/11         here   [64]   3866/7        3955/20 3959/5 3960/6
3868/8 3869/19 3875/9
                       3909/9 3918/13 3920/2 3895/14 3898/6            3866/16 3867/18             3961/22 3962/2
3877/12 3878/4 3878/9
                       3927/18 3932/18         3908/21 3912/19         3867/22 3868/11             3962/17 3963/13
3878/16 3878/18
                       3934/11 3934/12         3914/3 3914/12          3868/11 3868/13             3963/21 3965/18
3879/18 3892/20
                       3934/13 3934/15         3918/20 3935/22         3868/17 3880/1              3967/3 3969/7
3908/17 3917/12
                       3937/25 3938/21         3940/12 3941/13         3883/24 3887/5             HONORABLE      [1]
3919/7 3920/21
                       3942/10 3943/2 3943/2 3946/21 3947/6 3948/5 3891/22 3892/4 3893/5 3859/9
3925/22 3927/25
                       3943/5 3943/10          3948/6 3948/8 3950/9 3895/2 3896/14 3898/5 hope [3] 3867/24
3932/22 3935/8 3936/9
                       3943/12 3948/8          3958/20 3960/23         3900/1 3901/19              3889/20 3902/10
3951/11 3952/9
                       3958/23 3959/16         3961/1 3968/14          3902/22 3902/22            hopefully  [3] 3868/2
3952/11 3952/15
                       3960/18 3962/19         hasn't [1]  3894/24     3903/4 3903/13              3868/19 3871/22
3953/13 3966/10
                       3966/25 3968/24         hasty [1] 3903/8        3903/15 3903/19            hotel [5] 3875/23
3966/25 3967/8 3970/5
                       3969/11 3969/14         have [143]              3904/14 3904/20             3876/4 3887/16
government's [42]
                       half [3] 3872/3 3926/23 haven't [2] 3947/2      3904/25 3905/5              3887/18 3901/10
3863/5 3864/4 3873/7
                       3959/22                 3966/8                  3905/24 3907/21            hotmail.com   [1]
3881/7 3883/14 3884/5
                       Hall [1] 3930/11        having  [3]  3866/16    3910/6 3910/13              3861/19
3885/14 3888/2
                       Haller [3] 3861/6       3869/19 3891/9          3911/15 3911/21            hour [4] 3866/17
3890/17 3893/3
                       3861/7 3865/14          hazardous    [1] 3923/6 3911/24 3912/4              3868/16 3871/17
3894/25 3896/25
                       hallerjulia [1] 3861/10 he [54] 3872/20         3912/18 3912/20             3949/21
3898/9 3925/10
                       hallway [5] 3946/8      3887/17 3888/5 3888/7 3913/1 3913/17 3915/1 hours [4] 3870/22
3925/23 3926/1
                       3946/8 3953/11 3955/6 3888/9 3890/2 3891/24 3916/11 3917/3 3917/8 3871/1 3937/21
3927/11 3928/1 3928/5
                       3956/13                 3892/5 3894/5 3897/8 3919/14 3919/21                3958/13
3929/10 3932/15
                       hallways [1] 3957/10    3897/17 3901/2          3919/22 3926/14            House [20] 3890/8
3932/23 3933/2
                       Hancock [3] 3870/12     3902/24 3903/15         3928/15 3930/17             3906/20 3913/23
3934/22 3935/9
                       3870/15 3870/18         3903/20 3903/24         3940/8 3941/11 3955/6 3924/6 3924/7 3924/7
3935/12 3935/21
                       hand [7] 3878/17        3904/17 3905/19         3956/18 3957/14             3924/13 3924/17
3936/10 3936/13
                       3884/8 3890/19          3908/24 3911/17         3959/17 3960/24             3926/9 3926/10
3937/1 3937/6 3937/8
                       3899/16 3920/10         3911/24 3912/6 3913/3 3961/10 3962/9                3928/13 3928/14
3938/17 3940/1
                       3931/6 3940/13          3918/14 3918/23         3962/21 3964/12             3928/22 3929/15
3941/15 3945/25
                       handful [1] 3968/3      3918/25 3919/20         3966/2 3969/1               3929/16 3929/22
3951/17 3954/3
                       handheld [1] 3944/15 3919/21 3919/21            here's   [2]   3963/17      3939/16 3945/4 3956/4
3957/18 3962/5 3963/3
                       handle [1] 3892/13      3919/22 3920/2          3964/20                     3956/14
3963/19
                       hang [2] 3865/21        3941/13 3952/14         hero   [1]   3880/18       how  [26] 3867/15
Governor [1] 3861/17 3907/16
                                               3952/15 3952/18         hey   [2]  3895/9 3960/3 3872/20 3877/14
greater [1] 3969/1
                       hangout [2] 3911/4      3952/25 3953/1 3953/1 highly [3] 3946/11            3902/10 3914/9 3921/9
green [1] 3934/18      3911/23                 3953/2 3953/2 3953/4 3946/24 3946/24                3922/15 3934/9
Grenier [1] 3913/19
                       happen [3] 3868/21      3955/24 3960/11         Highway      [1]  3861/17   3937/22 3939/7 3941/9
Grimes [1] 3910/15     3900/23 3906/10         3960/15 3965/2          HILGEMAN        [3]         3942/5 3942/23
ground [1] 3968/20
                       happened [11] 3866/8 3968/25 3969/3             3869/19 3915/6 3919/5 3944/13 3944/20
grounds [15] 3889/5    3868/4 3914/1 3916/10 3969/10 3969/11
3922/14 3922/20                                                        Hill [1] 3910/11            3944/22 3945/9
                       3941/23 3945/19         3969/12 3969/14         Hilton   [1]   3887/19      3947/22 3949/11
3922/21 3934/19
                       3949/10 3968/5 3968/7 3969/17 3969/18           him   [6]   3872/22 3901/8 3952/4 3960/13
3934/21 3948/25
                       3968/8 3970/4           3969/21                 3905/11 3906/19             3960/16 3962/10
3949/2 3951/5 3952/14
                       happening [16] 3893/7 he's [8] 3895/15          3965/2 3969/20              3965/9 3965/15
3954/4 3967/12
                       3946/16 3951/12         3897/10 3897/11         his  [6]  3887/14           3966/19
3967/14 3967/20
                       3951/18 3953/3 3955/6 3898/25 3919/19           3887/21 3898/1             however   [2] 3866/16
3967/21
                       3958/16 3964/12         3949/22 3964/25         3908/23 3969/7              3962/6
group [8] 3868/3       3965/14 3967/13         3969/2                  3969/14                    huge [1] 3946/7
3882/2 3882/10
                       3967/20 3967/24         head  [1]  3893/18      history    [1]  3895/20    Hughes [5] 3859/15
3882/13 3897/24
                       3968/16 3968/19         heads  [1]  3913/25     hit [2]   3935/1 3942/11 3865/11 3919/16
3897/24 3903/5
                       3969/19 3969/20         hear [3] 3868/6         hold [4] 3887/8             3920/19 3949/24
3962/12
                       happens [2] 3899/20     3872/20 3872/22         3935/24 3939/14            hundred [1] 3892/1
Guard [1] 3900/8       3904/25                 heard [2] 3908/3        3942/24                    hundreds [3] 3880/2
guess [3] 3906/23
                       happy [2] 3868/6        3966/8                  honest [1] 3912/9           3958/12 3965/2
3908/13 3908/14
                       3949/7                  hearing [2] 3943/4      Honor [42] 3865/4          hunting [1] 3887/7
gun [2] 3886/23 3887/1
                       hard [2] 3959/23        3951/13                 3868/8 3873/17             hurrah [1] 3906/22
guns [2] 3923/21       3960/1                  heavily [1]  3965/17    3873/20 3873/21
3923/22                                                                                           I
                       Harrelson [8] 3861/11 Heck [1] 3912/23          3877/10 3882/18
guy [1] 3916/5         3865/7 3865/16          held [1] 3924/11        3896/21 3898/3 3898/6 I am [20] 3867/12
guys [2] 3879/25
                                                                                                                                  3981


I   Case 1:22-cr-00015-APM
                   I understand [9]Document 7303891/1
                                        3878/23   Filed 01/02/24     Page 123 of3916/23
                                                            3876/25 3877/5       135
                          3875/18 3887/16            3907/25 3918/16              indicated [1] 3941/13 investigations [6]
I am... [19] 3871/16
                          3952/20 3953/4             3958/19 3965/18              indication [1] 3950/10 3886/5 3886/7 3886/9
 3878/14 3879/15
                          3956/12 3959/14           I'm sure [2] 3880/1           indictment [2] 3950/24 3886/10 3923/5
 3881/5 3881/23
                          3962/5 3967/10             3964/25                       3953/16                      3924/23
 3887/23 3902/11
                          3968/22                   I've [10] 3868/14             indirect [2] 3904/2          involve [2] 3867/9
 3902/14 3910/22
                                       3867/14       3878/5 3882/9 3912/16 3904/6                               3931/5
 3921/17 3922/1 3922/4 I want [8]
                          3878/25 3888/25            3917/7 3921/11 3951/3 indirectly [1] 3903/22 involved [2] 3916/9
 3930/14 3930/25
                          3901/1 3922/6 3937/16 3966/24 3968/5                    indisposed [1]                3964/10
 3931/25 3944/12
                          3943/12 3945/25            3968/13                       3919/21                     involvement     [1]
 3944/23 3945/8
                        I  was   [13]   3894/1      identified     [2]   3947/25 individual [2] 3900/23 3918/19
 3963/17
                          3921/14 3924/21            3948/1                        3913/19                     involves [2] 3965/6
I apologize [4] 3881/17
                          3924/22 3924/25           identify    [1]  3940/3       individuals    [14]           3968/9
 3933/22 3936/1
                          3925/2 3937/19 3938/3 III [3] 3859/6 3860/2              3871/14 3875/23             involving    [1] 3946/8
 3955/20
                          3939/22 3940/18            3865/6                        3888/21 3889/3 3897/5 irrelevant [1] 3889/12
I believe [10] 3869/15
                          3942/1 3942/13 3943/5 illegal [1] 3898/19                3904/12 3907/7              is [346]
 3874/18 3877/17
                        I  went   [1]  3941/25      illegally   [1]   3886/23      3907/15 3907/20             is that correct [6]
 3884/7 3890/11 3912/5
                        I  will [5]  3866/21        illicit [1]   3887/2           3934/4 3951/14               3870/12 3872/25
 3949/21 3955/18
                          3895/15 3909/1            image    [1]    3961/4         3964/15 3968/9               3873/4 3915/16
 3960/10 3961/14
                          3925/14 3948/4            imagery      [2]   3966/23     3968/18                      3928/23 3945/23
I can [5] 3874/6 3897/6
                        I  wouldn't    [1]  3875/16 3970/3                        indulgence      [2]  3877/9 is that fair [1] 3880/22
 3908/7 3952/17
 3953/12                I'd [14] 3871/12            images [5] 3966/11             3919/9                      is there [4] 3929/19
                          3871/21 3877/11            3966/15 3968/4 3968/5 inflammatory [1]                     3934/7 3944/8 3965/13
I can't [1] 3878/25
                          3877/12 3879/21            3969/24                       3966/23                     isn't  [1] 3939/23
I did [11] 3871/4
                          3885/10 3893/17           imagine      [2]  3928/21     influential   [1]   3895/13 isolated [1] 3957/20
 3871/9 3875/8 3882/12
                          3894/19 3896/21            3954/19                      information [2] 3891/6 isolation [1] 3957/8
 3891/10 3891/15
                          3898/3 3918/14 3939/9 IMHO [1] 3912/10                   3963/6                      issue [4] 3918/18
 3891/18 3893/17
                          3939/12 3961/22           immediate       [1]   3942/19 informed [3] 3865/25          3952/25 3953/24
 3940/23 3962/3 3962/6
                        I'll [12]  3867/18          immediately        [1]         3866/1 3939/22               3962/21
I don't [11] 3866/25
                          3884/15 3893/9             3960/21                      initial [6]  3961/2          issues    [1] 3944/15
 3867/2 3875/13
                          3896/12 3903/16           impact [2] 3968/13             3963/18 3963/22             it [147]
 3878/22 3890/1
                          3907/17 3916/1             3968/14                       3963/24 3964/14             it would be [1]
 3908/10 3946/11
                          3917/17 3917/20           impacts [2] 3960/13            3964/22                      3930/16
 3952/24 3959/7 3966/1
                          3947/19 3952/3             3962/10                      initially [1] 3940/8         it's [47] 3872/3
 3968/12
                          3960/17                   implied [1] 3950/10           Inn [10] 3872/24              3873/25 3880/2
I guess [2] 3908/13
                        I'm   [51]  3870/25         importance        [2]          3873/3 3882/12               3884/12 3890/7 3893/9
 3908/14
                          3873/22 3873/24            3874/25 3956/7                3887/12 3887/19              3895/14 3898/5
I have [12] 3871/8
                          3874/25 3875/3 3876/1 important [11] 3912/21 3888/6 3888/22 3889/8 3898/18 3900/18
 3882/3 3884/19 3886/6
                          3877/10 3878/23            3951/17 3951/21               3905/9 3906/2                3906/19 3908/10
 3886/17 3896/20
                          3880/1 3880/1 3881/20 3951/22 3952/6                    inside   [10]  3931/21        3908/24 3911/13
 3900/5 3925/8 3927/20
                          3891/1 3892/1 3902/8 3953/21 3954/9                      3942/6 3943/7 3943/14 3912/21 3914/20
 3935/3 3943/18
                          3907/25 3910/17            3954/11 3954/18               3943/25 3944/17              3917/2 3918/20
 3959/12
                          3912/10 3912/16            3955/1 3956/20                3947/5 3956/10               3923/18 3926/5 3929/6
I haven't [1] 3966/8
                          3913/9 3914/6 3914/13 importantly [1]                    3969/13 3969/25              3934/19 3946/2
I hope [1] 3889/20
                          3916/20 3918/16            3936/17                      inspired [1] 3895/14          3946/10 3946/11
I just [5] 3874/1
                          3918/16 3920/6            imposed       [1]   3955/25 instance [1] 3916/22            3947/12 3948/15
 3878/22 3879/1 3895/9
                          3920/17 3921/19           inability    [2]  3908/16     instead   [1]  3867/11        3949/21 3951/21
 3949/24
                          3921/21 3922/5             3913/7                       insurance     [1]  3886/18 3951/22 3952/6
I know [5] 3876/22
                          3926/23 3941/4            inaugural [3] 3926/25 intel [2] 3902/14                     3953/21 3954/11
 3953/18 3954/1
                          3948/11 3950/23            3940/11 3940/24               3924/24                      3954/18 3955/11
 3958/21 3958/21
                          3952/21 3958/7            inauguration        [1]       intend   [2]  3961/13         3955/23 3955/24
I mean [13] 3867/12
                          3958/19 3959/12            3927/6                        3961/20                      3956/8 3956/9 3958/4
 3867/25 3892/1
                          3959/15 3962/18           incarcerated        [1]       intent  [3]  3889/16          3958/8 3960/1 3966/20
 3917/19 3950/21
                          3963/4 3964/21             3899/22                       3961/1 3961/16               3968/3 3968/12 3969/4
 3952/14 3958/16
                          3964/25 3965/8            inclined     [1]   3867/21    interesting    [1]   3902/11 3970/2
 3958/18 3958/19
                          3965/18 3966/10           include [2] 3927/22           interface [1] 3883/21 item [1] 3901/18
 3966/14 3966/15
                          3966/11 3967/25            3934/4                       interrupt [1] 3914/6         items [5] 3898/22
 3967/24 3968/11
                          3969/1 3969/7 3969/13 includes [1] 3947/24 interviewed [1]                            3923/20 3931/16
I think [17] 3876/6
                          3970/4                    including      [1]   3898/22 3871/15                        3931/18 3931/21
 3894/22 3898/17
                        I'm going [5] 3914/13 incredibly [4] 3912/21 introduce [1] 3921/2 its [5] 3871/8 3922/13
 3908/8 3908/12
                          3962/18 3964/21            3946/19 3951/10              introduced [1] 3959/4 3946/24 3950/9
 3916/21 3917/4
                          3966/10 3970/4             3951/17                      inventoried [1]               3951/11
 3946/10 3949/9
                        I'm not [4] 3952/21         incursion [1] 3955/1           3899/22                     itself [1] 3941/7
 3952/25 3954/1 3963/5
                          3959/15 3965/8            independence [2]              investigating [1]
 3964/4 3964/6 3968/1                                                                                          J
                          3967/25                    3933/24 3933/25               3886/11
 3969/4 3970/6
                        I'm not sure [2]            INDEX [3] 3863/2              investigation [5]            James [5] 3860/7
I thought [2] 3918/13                                                                                           3865/12 3888/1 3888/2
                          3916/20 3969/7             3863/8 3864/2                 3876/19 3887/16
 3969/14
                        I'm   sorry   [7]  3873/22 indicate [3] 3876/15            3888/20 3889/12              3888/6
I told [1] 3895/22
                                                                                                                        3982


J Case 1:22-cr-00015-APM
                  3869/5 3869/6 Document 7303884/9
                                     3865/7      Filed 01/02/24
                                                   3891/20          Page 124 of3941/14
                                                           3968/8 3968/12       135 3961/3 3966/9
                        jurors [8] 3866/1        3891/23 3895/16          knowledge [4] 3875/24 3967/13
Jan [3] 3897/5 3910/9
                         3866/7 3866/8 3866/23 3903/14 3911/16             3886/17 3964/12        left-hand [2] 3899/16
 3913/20
                         3867/1 3867/25 3869/3 3912/12 3912/25             3965/3                  3940/13
Jan 6 [1] 3897/5
                         3962/20                 3913/16                  known [1] 3943/21       legal [2] 3952/22
January [40] 3875/15
                        jury [15] 3859/9 3869/8 Kelly Meggs [8]           knows [1] 3881/14        3952/22
 3887/22 3888/8 3889/5
                         3869/9 3873/7 3873/8 3884/9 3891/23              Kwiatkowski   [2]       legally   [3] 3886/23
 3891/17 3896/1 3897/5
                         3877/11 3897/2          3895/16 3903/14           3897/12 3898/14         3887/1 3887/8
 3900/7 3905/2 3906/9
                         3898/11 3911/3          3911/16 3912/12                                  length [2] 3870/21
 3906/11 3907/2                                                           L
                         3914/25 3915/8 3915/9 3912/25 3913/16                                     3931/21
 3910/16 3912/8 3913/5
                         3936/10 3947/17        Kelly  Meggs'    [1]      LA [1] 3860/11          lengthwise     [1] 3891/3
 3913/11 3913/20
                         3965/5                  3891/20                  label [1] 3877/15       less   [5]  3923/10
 3914/1 3915/15 3917/1
                        just [75] 3867/19       Kellye [2] 3895/12        Ladies [2] 3914/19       3923/12 3923/13
 3921/13 3922/3
                         3867/21 3868/18         3895/16                   3947/11                 3923/18 3923/19
 3925/18 3925/20
                         3870/5 3870/9 3872/1 Kellye SoRelle [1]          laid [1] 3895/12        less-than-lethal    [3]
 3927/8 3931/24 3932/1
                         3872/17 3874/1          3895/16                  language [1] 3879/17 3923/12 3923/13
 3932/12 3932/18
                         3875/20 3876/1         Kenneth [3] 3861/11       large [3] 3901/18        3923/19
 3932/20 3933/7 3934/7
                         3878/22 3879/1          3865/7 3909/12            3909/25 3946/7         let [12] 3868/18
 3935/6 3936/6 3936/18
                         3879/11 3882/10        Kenneth    Harrelson  [1] largely [1] 3916/17      3871/13 3879/7
 3937/17 3937/18
                         3883/15 3885/16         3909/12                  larger [1] 3950/8        3889/18 3893/15
 3945/7 3954/2 3967/16
                         3889/11 3891/2 3891/4 Kenny [5] 3902/14          LASSITER [1] 3860/3 3906/22 3910/10
January 1st [1]
                         3892/11 3895/9          3908/22 3908/22          last [9] 3866/1 3866/3 3913/4 3916/1 3925/14
 3910/16
                         3896/14 3898/5          3909/10 3918/21           3866/12 3866/13         3947/12 3953/8
January 6th [25]                                                           3883/8 3903/16
                         3899/15 3906/1         kept  [2]  3887/14                                let's  [15] 3872/13
 3887/22 3888/8 3889/5
                         3907/18 3908/24         3961/5                    3906/22 3959/25         3878/7 3880/1 3880/13
 3896/1 3900/7 3905/2
                         3913/23 3914/7         kettle [1] 3910/12         3960/2                  3896/5 3911/6 3913/5
 3906/9 3907/2 3912/8
                         3914/15 3919/9         key  [1]  3945/13         late [2] 3880/18         3915/18 3917/18
 3913/11 3914/1
                         3919/21 3919/22        kicking   [1]  3964/9      3915/15                 3947/9 3949/14 3953/6
 3921/13 3922/3 3927/8
                         3922/6 3923/23         kind  [1]  3955/22        later [4] 3954/18        3959/10 3959/23
 3931/24 3932/1
                         3925/14 3926/3 3926/8 kinds [6] 3931/1            3967/16 3967/16         3962/21
 3932/12 3932/18
                         3926/22 3927/10         3931/18 3943/16           3967/18                Let's see [1] 3872/13
 3932/20 3934/7 3935/6
                         3928/21 3929/6          3943/19 3944/10          launch [1] 3879/25      lethal [5] 3923/10
 3936/6 3936/18
                         3933/18 3934/19         3944/13                  launcher [1] 3923/18     3923/12 3923/13
 3937/17 3937/18
                         3938/23 3943/4 3946/1 KM13 [3] 3872/6            launches [1] 3923/19 3923/18 3923/19
jcrisp [1] 3860/16
                         3946/2 3946/21          3891/19 3891/22          law [7] 3861/3 3861/7 lets [1] 3895/20
Jeffrey [2] 3859/14                                                        3892/5 3900/14
                         3947/19 3948/15        KM15   [3]  3872/8                                letter [1] 3895/10
 3865/10
                         3949/4 3949/8 3949/24 3872/10 3872/11             3938/21 3938/22        level [2] 3867/17
jeffrey.nestler [1]                                                        3939/2
                         3950/2 3951/25 3952/3 knew [4] 3947/4                                     3921/22
 3859/20
                         3952/15 3953/6          3966/25 3967/23          Lawn [2] 3860/3         library   [3] 3938/21
Jessica [3] 3860/14                                                        3860/7
                         3953/16 3953/25         3968/6                                            3938/22 3939/2
 3865/8 3904/18
                         3955/7 3955/11         knives [1] 3931/20        lay [2] 3916/9 3961/24 libtards [1] 3910/18
Jim [1] 3896/6
                         3955/23 3955/24        know   [56]   3866/18     layer [1] 3934/19       licensed [1] 3886/16
jlbrightlaw [1] 3860/9
                         3960/12 3960/12         3867/12 3867/24          lead [3] 3897/12        lieutenant [1] 3924/21
job [2] 3961/6 3961/9                                                      3951/7 3951/8
                         3961/19 3963/1 3963/2 3868/11 3868/18                                    lieutenants [1]
jobs [2] 3886/12
                         3963/18 3964/1          3871/10 3872/17          lead-up [2] 3951/7       3921/20
 3925/5
                         3964/13 3965/4          3873/11 3873/13           3951/8                 like [24] 3866/25
Johnston [1] 3860/11
                         3966/20                 3873/15 3875/9           Leader [1] 3897/10       3871/12 3871/21
join [1] 3958/7
                                                 3875/11 3875/12          leaders [4] 3897/17      3877/11 3880/13
Joint [1] 3932/13       K                                                  3911/12 3911/12
                                                 3875/14 3876/22                                   3885/9 3885/10
Jonathan [2] 3860/14
                        K-9 [1] 3923/8           3878/22 3879/16           3912/3                  3891/11 3891/12
 3865/17
                        K13 [1] 3891/20          3880/13 3887/14          leadership [1] 3923/4 3895/23 3918/15
Jonathan Crisp [1]
                        Kandaris [3] 3872/18     3892/20 3892/25          leading [1] 3956/4       3920/14 3923/14
 3865/17
                         3872/19 3872/20         3893/1 3893/24           learn [1] 3867/16        3923/15 3931/20
Joshua [1] 3888/1
                        Kathryn [2] 3859/14      3895/21 3902/10          learned [1] 3943/2       3931/21 3933/12
Joshua James [1]         3865/10                 3904/4 3906/22           least [5] 3876/22        3940/4 3946/10
 3888/1
                        Kathryn Rakoczy [1]      3913/23 3917/12           3876/24 3902/18         3956/21 3959/1 3959/7
journey [1] 3887/22      3865/10                                           3916/16 3949/14
                                                 3919/16 3919/18                                   3961/22 3967/5
Jr [2] 3860/10 3861/2
                        kathryn.rakoczy [1]      3925/16 3930/7           leave [3] 3866/6 3896/4 likelihood [1] 3866/11
judge [5] 3859/10        3859/19                                           3967/14
                                                 3939/19 3947/3                                   likely [2] 3880/12
 3899/24 3959/1
                        keep [9] 3880/1          3949/12 3950/2 3951/4 Lee [2] 3860/7 3865/12 3968/16
 3959/11 3959/14
                         3892/11 3918/7          3951/21 3951/23          left [20] 3876/21       limited [5] 3866/12
judge's [1] 3960/4       3920/16 3951/25                                   3876/23 3879/4
                                                 3953/18 3953/18                                   3952/4 3952/7 3965/14
Juli [2] 3861/6 3865/14 3953/6 3962/19 3964/8                              3881/21 3890/24
                                                 3954/1 3958/21                                    3968/3
Juli Haller [1] 3865/14 3965/22                                            3896/4 3899/16
                                                 3958/21 3959/1                                   Linder [3] 3860/2
JULIA [1] 3861/7
                        Keepers [5] 3872/21      3959/15 3959/19           3903/21 3915/14         3860/3 3865/12
jurisdiction [1]         3894/5 3896/12 3902/4 3960/13 3962/21             3926/21 3928/25
 3889/24                                                                                          line  [10] 3932/17
                         3913/10                 3963/14 3964/18           3930/3 3938/4 3938/5 3933/5 3933/6 3933/10
juror [6] 3866/3
                        Kelly [11] 3861/2        3965/13 3966/23           3940/13 3940/14         3934/11 3937/11
 3866/14 3867/8 3869/4
                                                                                                                           3983


L Case 1:22-cr-00015-APM        Document
                  3966/15 3967/11        7303861/18
                                     MD [1]      Filed 01/02/24
                                                          messagesPage
                                                                  [21] 125 of3959/18
                                                                              135 3960/15
                         3968/4 3968/7 3968/8 me [32] 3871/13              3882/23 3885/7              most [5] 3895/13
line... [4] 3940/13
                         3968/10 3968/17       3874/3 3878/18 3879/6 3885/16 3888/8                    3895/20 3895/23
 3950/12 3961/16
                        lunch [6] 3866/17      3879/7 3879/19 3881/9 3891/13 3891/16                   3926/16 3968/4
 3961/18
                         3947/12 3947/13       3885/22 3887/4              3894/2 3894/17 3895/4 motorcade [1] 3950/3
lines [1] 3902/13
                         3947/14 3947/20       3890/12 3893/15             3898/13 3903/24             move [10] 3869/14
liquid [1] 3942/9
                         3970/7                3895/19 3895/24             3909/15 3909/19             3872/5 3884/1 3885/11
listen [1] 3870/25
                                               3896/5 3909/2 3913/4 3909/25 3910/2                     3890/13 3894/19
listened [2] 3871/5     M                      3925/14 3930/16             3911/22 3915/15             3896/22 3898/4
 3871/8
                        ma'am [3] 3877/24      3933/12 3939/3 3940/4 3917/7 3917/15                    3929/10 3945/25
literally [2] 3895/12    3882/15 3933/20       3948/19 3959/2              3967/16 3967/18             moved     [1] 3956/13
 3958/20
                        made [8] 3917/13       3959/24 3960/1 3962/2 met [2] 3902/11                   moves    [3]  3925/22
little [10] 3867/12      3924/21 3924/25       3963/2 3964/23              3902/16                     3927/25 3932/22
 3874/13 3877/4 3922/5
                         3954/2 3961/23 3962/7 3965/10 3968/14             metal [2] 3942/4            movie [1] 3891/7
 3922/7 3946/23 3947/6
                         3966/4 3969/14        3968/23 3968/23             3965/20                     moving [4] 3867/7
 3948/24 3953/12
                        magnetometers [2]      mean   [18]   3867/12       Metropolitan      [2]       3868/5 3901/25
 3960/17
                         3931/6 3956/3         3867/25 3892/1 3904/5 3922/16 3922/17                   3960/19
lives [1] 3902/19
                        magnitude [3] 3955/1 3904/8 3908/13                middle   [2]   3933/21      MPD    [1] 3961/3
LLC [2] 3860/14          3955/2 3958/2         3917/19 3950/21             3967/7                      MPD's    [1] 3961/4
 3861/12
                        main [6] 3913/22       3952/14 3957/8              might   [1]  3896/7         Mr  [5]  3908/20 3914/9
loaded [1] 3908/13       3917/19 3922/20       3958/16 3958/18             militia [1] 3911/18         3916/12 3948/23
lobby [1] 3905/9         3945/1 3945/1 3956/19 3958/19 3966/14             million  [2]   3880/1       3948/23
Local [1] 3892/5
                        mainly [1] 3915/15     3966/15 3967/24             3910/11                     Mr.  [101] 3869/15
location [2] 3876/2
                        make [15] 3866/22      3968/11 3968/13             millions   [1]  3911/25     3870/10 3871/18
 3903/17
                         3867/14 3874/4 3879/1 Meaning [1] 3929/22 mind [5] 3880/2                     3871/22 3871/24
locker [1] 3888/1        3889/11 3895/23       means    [2]  3869/5        3889/17 3892/12             3873/3 3873/19
logistics [1] 3902/15    3906/7 3909/21        3904/4                      3919/1 3930/16              3873/23 3874/14
LOL [1] 3893/17          3911/19 3917/13       meant   [2]   3920/4        Mine   [1]  3874/19         3882/17 3883/11
long [5] 3866/14         3928/18 3934/1        3963/24                     mini  [1]  3930/9           3883/24 3884/7
 3876/11 3921/9
                         3945/15 3945/16       mechanical      [1]  3862/6 minute [5] 3901/1           3884/25 3885/3 3885/8
 3946/19 3947/22
                         3960/25               medical [2] 3866/5          3919/14 3956/9 3960/3 3885/22 3886/3
longer [2] 3867/8
                        making [2] 3934/20     3866/10                     3960/17                     3886/22 3887/10
 3914/9
                         3963/7                meet [1] 3902/14            minutes [12] 3868/15 3887/14 3887/21
Longworth [1] 3924/8
                        Mall [1] 3913/24       Meggs [13] 3861/2           3870/22 3871/1              3888/2 3888/6 3888/9
look [12] 3867/12
                        manner [1] 3887/2      3865/7 3865/15 3884/9 3914/11 3914/15                   3889/21 3891/6 3891/7
 3880/13 3894/12
                        many [8] 3882/25       3891/23 3895/16             3915/2 3919/10              3891/13 3892/19
 3895/18 3908/13
                         3883/2 3889/15 3934/9 3903/14 3911/16             3919/22 3947/23             3893/10 3893/11
 3916/16 3917/4 3949/9
                         3937/22 3954/12       3911/22 3912/12             3956/8 3961/1 3964/19 3893/22 3894/3 3894/4
 3950/16 3961/11
                         3960/9 3968/14        3912/25 3913/16             missing [1] 3918/16         3895/8 3895/8 3896/11
 3963/17 3967/25
                        Manzo [12] 3859/15     3951/14                     mission    [2]  3922/11     3898/16 3899/7 3901/2
looking [15] 3875/20     3865/11 3873/19       Meggs'    [1]  3891/20      3922/12                     3901/2 3901/5 3901/25
 3875/21 3876/2 3876/3
                         3882/17 3908/15       MEHTA     [1]   3859/9      Mississippi     [1]  3896/6 3902/2 3902/3 3902/16
 3884/17 3885/5
                         3908/21 3909/3 3909/7 member [1] 3870/5           mobilize [1] 3910/9         3902/18 3902/18
 3885/16 3891/20
                         3914/6 3914/9 3915/11 members [4] 3903/6          mobilizing    [1]   3910/2 3902/19 3902/24
 3895/2 3902/22
                         3918/14               3922/13 3934/5 3934/6 moment [5] 3870/7                 3902/24 3903/1 3903/2
 3904/20 3926/18
                        map [6] 3890/7 3890/9 men [2] 3895/14              3919/22 3949/8 3954/5 3903/20 3903/20
 3928/14 3942/1
                         3890/24 3929/2        3903/21                     3963/1                      3903/22 3904/2
 3969/17
                         3930/20 3938/19       mention    [2]   3908/24    monitoring     [1]          3904/11 3904/21
looks [1] 3879/3
                        maps [3] 3889/22       3954/24                     3943/14                     3904/21 3905/17
loose [1] 3912/8         3917/10 3917/11       mentioned      [8]  3876/6 montage [2] 3967/5           3905/18 3906/4 3906/7
lose [1] 3906/19
                        March [2] 3913/22      3880/7 3899/6 3906/1 3967/6                             3906/14 3907/11
lot [12] 3892/6 3916/19 3925/2
                                               3922/8 3943/13 3945/9 Monument [1] 3913/24 3908/15 3908/21
 3937/25 3939/12
                        marching [1] 3951/20 3963/15                       more [14] 3868/3            3909/3 3909/7 3910/8
 3947/1 3960/15
                        mask [3] 3920/14       merely   [1]  3871/5        3868/4 3880/12              3910/15 3910/19
 3960/16 3961/6 3962/9
                         3920/15 3962/19       merges    [1]   3913/24     3880/20 3908/11             3911/4 3911/22 3912/5
 3963/16 3966/2 3966/3
                        masked [3] 3866/18     Merit [1]   3862/2          3910/11 3921/15             3913/14 3914/6
Lots [1] 3903/16         3866/19 3867/3        message     [26]   3878/10 3922/5 3922/7 3934/8 3915/11 3916/1 3916/2
loud [1] 3879/21
                        masking [1] 3866/19    3878/12 3879/9              3953/10 3953/12             3916/8 3918/14 3949/1
Louis [2] 3859/15
                        materials [1] 3923/7   3884/23 3885/17             3964/7 3965/10              3949/1 3949/12
 3865/11
                        matter [2] 3867/14     3885/19 3893/11             Moreover [1] 3947/6         3949/13 3949/20
Louis Manzo [1]          3971/4                3893/14 3893/16             morning [20] 3859/7         3951/14 3952/12
 3865/11
                        may [12] 3877/9        3895/7 3896/1 3898/17 3865/4 3865/23                    3960/5 3961/19
love [1] 3917/14         3878/21 3878/24       3902/23 3907/1 3907/5 3865/24 3868/13                   3962/14 3962/18
loved [1] 3913/6         3896/7 3906/21 3919/9 3908/3 3908/5 3909/9 3869/12 3870/3 3870/4 3963/1 3963/8 3963/9
lower [16] 3878/2        3946/4 3949/17 3958/1 3912/16 3915/20             3876/7 3896/1 3896/4 3968/15 3968/24
 3926/12 3930/19
                         3960/6 3969/1 3969/2 3916/23 3916/25              3906/9 3914/20              3969/9
 3942/19 3946/8
                        maybe [3] 3896/6       3917/2 3917/8 3945/13 3920/25 3921/1 3959/3 Mr. Andrews [2]
 3961/16 3961/18
                         3909/2 3969/13        3945/14                     3959/16 3959/16             3963/8 3963/9
 3966/12 3966/14
                                                                                                                       3984


M Case 1:22-cr-00015-APM        Document
                  3869/15 3871/24        730
                                     nation       Filed 01/02/24
                                            [1] 3895/20              Page 126 of3932/3
                                                            3944/9 3950/10       135 3932/8 3941/19
                        3883/11 3884/7           National [1] 3900/8       3953/18 3956/12        3943/2 3943/5 3947/19
Mr. Bittner [1] 3912/5
                        Ms [2] 3920/19 3946/3 National Guard [1]           3957/21 3963/22        3949/17 3952/21
Mr. Bright [4] 3886/3
                        Ms. [23] 3874/23         3900/8                    3964/11 3965/4         3954/14 3954/20
3886/22 3887/10
                        3876/8 3881/12 3882/1 nationwide [1]               3965/12 3966/12        3955/2 3955/23
3902/2
                        3896/13 3901/12          3902/15                   3966/21 3966/21        3955/25 3957/8
Mr. Caldwell [25]
                        3904/21 3905/14          nature  [1]   3948/8      3968/5 3968/22         3957/17 3958/5 3959/4
3891/7 3893/10
                        3905/20 3909/2           NC  [4]  3897/12          nobody   [2] 3966/17   3959/7 3959/8 3959/9
3893/22 3901/2 3901/5
                        3915/19 3919/16          3897/17 3903/6            3968/2                 3959/15 3959/23
3901/25 3902/16
                        3927/10 3928/8           3903/17                   nobody's   [1] 3953/16 3960/1 3960/10 3962/3
3902/24 3903/20
                        3928/16 3930/21          near [2] 3896/8           nods [1] 3905/19       3962/6 3962/21 3963/4
3903/22 3904/2
                        3936/24 3937/15          3904/22                   Non  [1] 3903/25       3963/19 3964/10
3904/11 3904/21
                        3938/23 3939/20          necessarily    [2]        Non-responsive   [1]   3965/6 3965/8 3965/22
3905/17 3907/11
                        3949/24 3950/18          3959/21 3967/25           3903/25                3967/14 3967/25
3910/8 3910/15
                        3956/18                  necessary     [4] 3910/23 none [1] 3953/22       3969/7 3969/12
3910/19 3949/12
                        Ms.  Hughes    [2]       3956/25 3964/7 3966/6 noon [2] 3953/2 3953/3 note [7] 3926/9 3933/9
3949/13 3949/20
                        3919/16 3949/24          need [7] 3866/25          normal [1] 3931/1      3945/22 3948/4 3949/4
3952/12 3968/15
                        Ms.  Rakoczy    [1]      3867/2 3880/20 3912/2 normally [1] 3955/10       3952/3 3952/7
3968/24 3969/9
                        3936/24                  3939/23 3939/24           north [21] 3860/15     Nothing [2] 3873/17
Mr. Caldwell's [9]
                        Ms. Rohde [14]           3960/3                    3890/20 3894/5 3897/9 3891/12
3874/14 3884/25
                        3896/13 3901/12          needed    [1]  3950/14    3897/10 3897/11        notice [2] 3901/24
3885/3 3885/8 3891/6
                        3905/14 3905/20          needs   [4]  3868/21      3897/12 3897/14        3962/6
3891/13 3893/11
                        3909/2 3915/19           3908/11 3952/9 3966/9 3897/16 3897/18            noticed   [3] 3939/12
3894/3 3902/3
                        3927/10 3928/8           neglected    [1]  3954/23 3898/15 3902/20        3961/25 3962/4
Mr. Crisp [1] 3873/23
                        3928/16 3930/21          neither [1] 3959/8        3903/2 3928/17         notification [1]
Mr. Crowl [1] 3904/21
                        3937/15 3938/23          Nestler  [3]   3859/14    3928/18 3928/22        3945/17
Mr. Dolan [1] 3949/1
                        3939/20 3956/18          3865/10 3885/22           3929/18 3931/12        notified [1] 3959/25
Mr. Douyon [1]
3870/10                 Ms. Watkins [5]          never [7] 3881/10         3939/17 3939/17        notwithstanding [2]
                        3874/23 3876/8           3881/18 3882/11           3962/13                3866/22 3868/2
Mr. Fischer [7]
                        3881/12 3904/21          3916/23 3919/1 3932/5 North Carolina [9]         November     [5] 3915/18
3889/21 3892/19
                        3950/18                  3946/9                    3894/5 3897/9 3897/11 3915/21 3916/4
3894/4 3901/2 3906/14
                        Ms. Watkins' [1]         nevertheless [1]          3897/14 3897/16        3917/16 3917/21
3916/1 3916/2
                        3882/1                   3909/24                   3897/18 3898/15        November 7th [2]
Mr. Geyer [4] 3960/5
                        much [7] 3914/9          new [1] 3959/3            3902/20 3903/2         3915/21 3917/16
3961/19 3962/14
                        3914/23 3916/18          next [18] 3867/18         northmost [1] 3933/10 now [40] 3867/23
3963/1
                        3919/6 3947/15           3877/16 3879/9 3892/3 Northwest [1] 3933/12 3868/21 3870/21
Mr. Harrelson [1]
                        3952/18 3963/7           3893/15 3895/17           not [108] 3867/21      3874/25 3883/17
3949/1
                        multiple  [3]  3871/14   3895/25 3896/9            3868/8 3868/9 3870/5 3884/15 3885/6
Mr. James [2] 3888/2
                        3898/21 3962/20          3898/24 3900/1            3870/8 3870/25 3871/4 3893/21 3895/21
3888/6
                        multiplier  [1]  3957/9  3903/18 3905/11           3871/9 3871/17 3872/4 3896/1 3903/3 3903/12
Mr. Manzo [9] 3873/19
                        munitions    [1]  3961/7 3906/23 3911/10           3873/12 3873/25        3903/18 3904/14
3882/17 3908/15
                        must  [3]  3931/10       3911/14 3912/1            3875/8 3875/11         3904/19 3905/20
3908/21 3909/3 3909/7
                        3957/21 3957/21          3939/21 3967/18           3875/20 3876/13        3911/20 3912/12
3914/6 3915/11
                        my  [32]  3866/5         nexus   [1]  3969/1       3877/2 3878/14         3914/3 3914/13
3918/14
                        3866/10 3866/11          Nick [1] 3913/19          3878/14 3879/5         3914/20 3916/4
Mr. Meggs [2]   3911/22
                        3870/8 3870/9 3872/3 night [5] 3879/24             3879/15 3879/19        3916/19 3925/4
3951/14
                        3874/4 3877/4 3877/16 3903/16 3910/22              3880/9 3880/13         3927/12 3929/25
Mr. Nestler [1] 3885/22
                        3881/16 3893/18          3959/25 3960/2            3881/20 3882/12        3936/15 3937/16
Mr. Rhodes [9]
                        3895/23 3912/9           NJ [1]  3861/13           3884/19 3886/19        3945/25 3946/23
3887/14 3887/21
                        3912/17 3918/20          no [55]   3859/4 3865/5 3888/7 3888/10           3947/12 3949/12
3888/9 3895/8 3896/11
                        3918/20 3921/8 3935/1 3865/6 3867/8 3870/8 3889/11 3889/13                3958/13 3959/11
3898/16 3902/18
                        3936/2 3936/15           3872/7 3875/16            3889/20 3891/8         3962/9 3962/21
3911/4 3916/8
                        3939/16 3940/24          3876/20 3876/24           3891/10 3891/18        3964/12 3967/7
Mr. Rhodes' [1]
                        3941/25 3942/9           3877/5 3877/18            3892/5 3892/20         3967/11 3970/6
3883/24
                        3953/10 3959/10          3877/19 3879/19           3892/22 3894/1         nullify [1] 3911/7
Mr. Siekerman [1]
                        3960/13 3960/13          3881/20 3882/13           3895/16 3898/18        number [14] 3867/17
3913/14
                        3962/24 3966/14          3882/15 3884/3            3898/25 3899/1 3899/4 3873/3 3879/21
Mr. Smith [2] 3895/8
                        3966/17 3969/10          3885/12 3886/17           3900/5 3902/1 3906/23 3884/19 3886/2 3897/4
3902/18
                        myself [3] 3873/24       3886/19 3886/21           3907/23 3908/3 3908/4 3903/11 3909/25
Mr. Stamey [5]
                        3910/18 3949/25          3889/20 3890/15           3908/5 3908/22         3916/21 3918/2
3902/19 3902/24
                                                 3891/5 3894/22            3908/24 3909/12        3923/17 3942/24
3903/1 3903/2 3903/20 N
                                                 3896/23 3897/19           3909/15 3909/23        3957/11 3965/1
Mr. Tarpley [1]
                        name [4] 3888/1          3899/12 3899/14           3910/17 3912/7         numbered [1] 3943/1
3962/18
                        3918/20 3921/3           3901/11 3907/6 3917/9 3912/16 3913/7 3916/3 numbers [2] 3902/13
Mr. Tarrio [1] 3899/7   3963/14                  3918/8 3925/24 3928/2 3916/7 3916/12             3942/23
Mr. Vallejo [6] 3871/18
                        named [2] 3865/19        3928/18 3932/24           3916/18 3916/20        numerous     [1] 3888/21
3871/22 3873/3
                        3913/19                  3932/25 3934/8            3917/1 3917/11         NW   [4] 3859/17 3861/3
3905/18 3906/4 3906/7
                        names [1] 3963/16        3935/10 3936/11           3918/20 3927/4 3931/9 3861/7 3862/4
Mr. Woodward [4]
                                                                                                                          3985


O Case 1:22-cr-00015-APM
                  3942/1 3942/24Document 730 [1]
                                     op veterans Filed 01/02/24     Page 127 ofPark
                                                           3895/21 3906/20      135[1] 3861/3
                        3954/10 3958/2          3897/18                    3911/12 3912/23           parliament [2] 3916/10
O-r-t-e-g-a [1] 3921/4
                        3965/22 3968/21         open [13] 3900/15          3913/6 3913/7 3916/25 3917/2
Oak [2] 3860/3 3860/7
                        OFFICES [1] 3861/7      3909/4 3914/18             3922/20 3924/22           part [14] 3871/21
oath [7] 3872/21
                        official [2] 3862/3     3916/22 3917/23            3924/23 3924/24           3874/19 3875/1
3892/6 3894/5 3896/12
                        3954/25                 3919/4 3920/8 3931/7 3934/14 3944/17                 3876/19 3878/23
3902/4 3913/10
                        Oh   [2] 3873/22        3932/2 3932/6 3932/8 3944/18 3944/20                 3879/10 3879/17
3920/11
                        3918/24                 3947/10 3964/17            3946/9 3946/12 3947/4 3895/9 3917/19
Oath Keepers [5]
3872/21 3894/5          OK [2] 3911/4 3911/23 open-ended [1]               3950/24 3954/24           3933/10 3954/4
                        okay   [53]  3865/23    3916/22                    3954/25 3956/5 3956/7 3954/11 3963/2
3896/12 3902/4
                        3868/22 3871/20         opened [2] 3963/7          3961/23 3967/7            3965/12
3913/10
                        3873/16 3873/18         3964/17                    3967/15                   participate   [1] 3966/21
object [3] 3898/7
                        3875/4 3875/25          opening    [3]  3908/9     out [25]   3867/8 3875/1 participated [1] 3958/4
3955/19 3955/21
                        3876/15 3877/8          3908/10 3964/9             3879/21 3880/17           participating [1]
objected [1] 3916/14
                        3879/13 3879/16         operating    [2]   3957/20 3883/11 3889/19           3955/4
objecting [5] 3908/14
                        3880/19 3880/24         3958/12                    3893/25 3895/12           particular  [8] 3866/17
3959/4 3963/2 3963/4
                        3881/6 3881/21          operations     [2]  3923/1 3903/17 3906/24           3878/10 3881/10
3968/2
                        3881/24 3882/4 3882/8 3924/24                      3916/9 3938/20            3942/15 3949/5 3951/3
objection [29] 3872/7
                        3882/14 3882/17         operators    [1]   3902/11 3938/25 3939/1            3951/10 3956/7
3877/18 3877/19
                        3884/4 3890/19          opinion   [1]   3912/10    3939/18 3939/19           particularly   [2] 3966/8
3884/3 3885/12
                        3894/23 3896/13         opportunity     [2]        3942/5 3943/1 3944/15 3970/3
3890/15 3893/8
                        3898/8 3905/8 3906/25 3917/14 3927/18              3952/10 3961/24           parties [1] 3948/7
3894/22 3896/23
                        3909/14 3912/18         opposed     [1]  3942/25   3966/10 3966/11           parts [3] 3887/24
3900/11 3900/17
                        3912/25 3914/12         ops  [3]  3945/1 3945/1 3969/5 3970/5                3947/25 3950/7
3903/25 3907/12
                        3914/16 3915/10         3956/19                    out-numbered      [1]     pass  [3] 3934/3
3907/18 3907/23
                        3917/17 3917/19         orange   [1]   3942/8      3943/1                    3941/11 3945/13
3908/8 3909/5 3915/23
                        3917/22 3918/9 3919/2 order [3] 3905/13            outer [1] 3960/18         passes [2] 3868/15
3917/18 3917/24
                        3919/11 3920/5 3926/3 3931/10 3936/21              outermost    [1]  3934/11 3905/18
3925/24 3928/2
                        3928/3 3928/18          ordinarily [1] 3965/15 outlook.com [1]               password [1] 3875/3
3932/24 3932/25
                        3935/14 3936/3 3947/9 orient [2] 3948/15           3861/10                   past [1] 3868/16
3935/10 3936/11
                        3948/17 3949/23         3949/24                    outside [6] 3916/14       path [2] 3911/13
3946/6 3946/23
                        3951/25 3953/6          oriented [1] 3965/5        3917/20 3944/2            3951/5
3958/24
                        3963/15 3964/1 3970/9 original [1] 3878/16         3952/13 3952/22           patience [1] 3919/13
objection's [1] 3948/7
                        Old [2] 3930/5 3930/6 originally [3] 3893/12 3968/18                         patiently [1] 3912/3
obligation [2] 3946/15
                        once [9] 3866/7         3937/11 3943/13            over [5] 3883/5 3895/5 patriots [3] 3910/11
3946/16
                        3867/16 3868/11         Ortega [32] 3919/8         3899/2 3906/21            3912/23 3960/9
observe [3] 3909/18
                        3868/14 3868/14         3920/13 3920/21            3908/21                   patrol  [1] 3923/2
3940/19 3940/21
                        3868/14 3912/2          3920/25 3921/4 3921/4 overall [1] 3918/6             Paul  [5]  3896/3 3896/5
observed [5] 3873/2
                        3940/24 3964/16         3924/10 3925/11            overhead    [3]  3925/12 3896/17 3897/11
3940/24 3953/1 3953/3
3968/7                  one [38] 3866/1 3866/8 3926/3 3926/7 3926/11 3925/16 3926/5                  3901/18
                        3874/18 3874/18         3927/18 3928/10            overruled   [2]  3893/9   Paul  Stamey [2]
obtain [1] 3909/24
                        3876/6 3879/4 3881/8 3928/21 3930/12               3900/18                   3897/11 3901/18
obtained [2] 3885/7
                        3881/9 3888/5 3890/11 3930/23 3932/16              overwhelming [1]          Paul Taylor's [1]
3897/25
                        3897/8 3898/25 3902/9 3933/4 3933/23               3958/2                    3896/17
obvious [1] 3949/18
                        3911/7 3911/8 3914/12 3934/24 3935/14              own [5] 3887/7 3945/3 pause [10] 3865/22
obviously [6]   3866/24
                        3916/7 3916/23          3935/24 3936/15            3945/4 3952/16            3905/5 3915/7 3919/12
3867/7 3869/12 3878/2
                        3920/15 3921/15         3936/23 3937/14            3952/23                   3919/15 3920/9
3954/16 3967/9
                        3934/7 3936/5 3936/16 3938/19 3940/2               owns   [1]  3887/7        3933/18 3949/8
occupied [1] 3955/12
                        3938/11 3939/8          3942/12 3943/12                                      3956/18 3964/1
occurred [1] 3966/16                                                       P
                        3939/22 3942/8 3948/3 3947/18 3954/14                                        pay  [1] 3896/7
October [2] 3859/5
                        3949/13 3950/1          3955/8                     P.A [1] 3861/16           paycheck    [1] 3892/11
3971/7
                        3950/23 3953/24         other  [22]   3872/21      p.m [8] 3938/8 3948/15 Peace [5] 3952/12
off [11] 3880/3 3881/13                                                    3948/16 3948/24
                        3956/9 3957/20          3879/3 3879/11                                       3952/15 3952/18
3881/19 3888/21
                        3965/19 3966/24         3886/12 3886/21            3952/14 3952/16           3952/21 3953/2
3893/18 3897/6
                        3967/15 3968/9          3900/7 3903/8 3903/24 3970/13 3970/13                peaceful   [1] 3958/6
3901/21 3912/11
                        ones   [3]  3892/6      3931/14 3939/13            PA [1] 3860/15            Pence's   [3]  3950/3
3915/14 3920/16
                        3892/10 3913/6          3944/14 3948/1 3949/2 page [7] 3879/2                3957/14 3957/15
3962/13
                        only [15] 3883/6        3949/12 3951/3             3891/22 3895/3            penned [1] 3895/12
office [5] 3859/16                                                         3896/14 3912/12
                        3892/10 3898/25         3952/17 3954/10                                      Pennsylvania [1]
3924/8 3924/20
                        3908/2 3931/14 3934/4 3957/12 3965/19              3912/25 3913/16           3861/7
3930/13 3930/15
                        3934/7 3949/13          3966/24 3968/18            pal [2] 3895/20           people [29] 3868/3
officer [2] 3924/13                                                        3895/24
                        3950/16 3950/23         3969/13                                              3875/20 3876/2
3944/16
                        3955/22 3959/6 3961/1 others [5] 3898/14           Palian [1] 3917/14        3886/11 3886/15
officers [18] 3921/16
                        3964/15 3968/3          3898/18 3898/25            pan [1] 3944/4            3889/7 3889/8 3898/21
3921/20 3923/23
                        op  [5]  3882/2 3897/5  3942/21 3957/11            pandemic [1] 3868/2       3899/18 3903/23
3934/14 3935/1 3939/5
                        3897/18 3902/13         otherwise    [1]   3968/23 panel [2] 3869/8          3904/8 3904/9 3906/22
3939/6 3939/12
                        3913/20                 our [31]   3866/1 3869/5 3915/8                      3907/3 3911/19
3939/15 3939/18
                        op  along   [1] 3902/13 3869/5 3892/5 3895/20 paper [1] 3874/14              3937/22 3939/24
3939/22 3940/25
                                                                                                                          3986


P Case 1:22-cr-00015-APM        Document
                 piece [2] 3874/13       7303933/9
                                     3933/4      Filed 01/02/24
                                                   3933/14          Page 128 of3965/16
                                                           3946/22 3958/20      135
                        3916/8                   3934/9 3934/22          possibility [2] 3866/16 procedures [2]
people... [12] 3939/24
                        pieces [1] 3951/16       3935/18 3935/21         3866/20                     3930/24 3931/23
3947/25 3957/11
                        place [13] 3892/10       3936/25 3938/19         possible [4] 3918/15 proceed [2] 3867/5
3957/25 3960/19
                        3931/14 3931/24          3940/2 3941/23 3952/1 3919/25 3928/17               3869/3
3964/18 3964/24
                        3932/9 3932/10           3962/19 3962/22         3960/25                     proceeding [3]
3965/1 3966/2 3966/3
                        3932/12 3932/20          pleasure [1] 3891/16 posted [1] 3898/17             3867/17 3955/1 3955/2
3966/19 3969/18
                        3936/6 3943/19           plotting [1]  3961/11   potentially    [1]  3953/14 proceedings [4]
pepper [2] 3923/15
                        3950/11 3956/6 3961/5 plural [1] 3871/3          Potomac [1] 3893/20         3859/9 3862/6 3865/20
3923/19
                        3968/11                  podcast  [6]  3870/12   power   [1]   3918/7        3971/4
perfectly [1] 3961/11
                        placed  [4]    3920/11   3870/15 3870/19         practical  [1]    3946/21 processes [1] 3899/8
perhaps [3] 3881/16
                        3926/11 3926/16          3870/21 3871/17         praying [1] 3902/9          produced [1] 3862/7
3938/23 3969/1
                        3930/19                  3872/24                 precious   [1]    3895/23 Professional [1]
perimeter [17] 3932/18
3932/20 3933/7          places [2] 3929/22       point [31] 3870/14      precise [3] 3908/15         3924/20
                        3954/12                  3871/9 3876/4 3877/12 3908/17 3969/7                professionals    [2]
3933/10 3933/11
                        Plaintiff  [1]  3859/4   3880/17 3884/1          precisely   [2]   3908/7    3866/5 3866/11
3933/13 3933/22
                                     3866/5      3885/10 3888/2          3908/11                     proffer [1] 3961/23
3934/3 3934/7 3934/12 plan [14]
                        3867/7 3868/10           3890/13 3894/19         prefer [1]    3919/24       program [1] 3883/20
3934/13 3934/15
                        3868/12 3880/17          3898/3 3908/23          prejudicial    [6]  3946/11 programming [1]
3934/16 3936/18
                        3889/17 3907/2           3917/12 3917/13         3965/10 3965/17             3879/23
3937/10 3939/14
                        3914/21 3916/7 3916/9 3938/1 3938/20 3939/9 3966/7 3968/13                   progress   [1] 3951/3
3952/22
                        3916/9 3917/9 3918/7 3939/25 3942/3 3942/7 3968/21                           progresses    [1] 3951/8
perimeters [2] 3934/9
                        3928/10                  3942/8 3943/4 3943/6 preliminary [1]                prohibited   [3]  3931/16
3938/11
                        planned    [1]   3961/13 3952/10 3952/24         3961/24                     3931/18 3931/21
period [8] 3895/6
3899/23 3915/15         planning [2] 3913/10     3956/12 3957/5          prepared [1] 3958/13 promise [1] 3874/4
                        3967/15                  3959/10 3964/5          prescreened [1]             proper [1] 3931/14
3916/15 3917/18
                        plans  [2]   3906/15     3965/17 3969/11         3867/25                     property [1] 3899/21
3941/24 3953/5 3964/6
                        3961/10                  pointing  [1]  3883/11  presence     [1]  3968/20 propose [3] 3866/21
permitted [2] 3957/22
3958/6                  play [13] 3868/6         points [3] 3945/22      present [6] 3865/19         3868/5 3961/22
                        3871/12 3871/21          3949/16 3967/3          3878/14 3888/13             prosecution    [2] 3870/6
person [6] 3866/15
                        3871/24 3871/25          poles [1] 3942/4        3889/4 3953/23 3963/6 3871/11
3899/21 3905/24
                        3888/17 3889/19          police [43] 3892/4      presentation [2]            prosecution's [1]
3906/1 3931/2 3950/16
                        3898/4 3905/13 3906/4 3892/16 3898/21            3895/11 3967/8              3956/1
person's [2] 3951/5
                        3911/18 3953/8           3921/6 3921/10          presently [1] 3950/23 prospects [2] 3960/25
3963/14
                        3960/17                  3921/11 3921/16         president [6] 3888/10 3961/11
personal [1] 3886/16
                        played  [30]    3870/11  3921/20 3921/21         3895/10 3898/23             protect [2] 3922/12
personally [3] 3892/13
                        3870/15 3870/19          3921/25 3922/9          3906/19 3918/7              3965/21
3910/17 3958/15
                        3871/2 3871/3 3872/15 3922/11 3922/12            3957/15                     protected   [1] 3950/5
petty [2] 3959/2 3959/6
                        3878/9 3888/18           3922/15 3922/16         President Biden [1]         protecting [1] 3880/9
phenomenal [1]
                        3901/14 3901/22          3922/17 3922/18         3918/7                      protection [5] 3923/3
3961/9
                        3904/23 3905/6           3922/19 3922/23         President     Trump   [1]   3923/3 3924/16
phillip [3] 3860/2
                        3905/15 3906/5           3923/9 3923/23          3895/10                     3924/19 3945/3
3860/6 3865/12
                        3948/13 3948/18          3924/12 3924/13         President's [1] 3950/3 protest [1] 3958/6
Phillip Linder [1]
                        3952/2 3953/7 3953/19 3934/5 3934/13             pressing [2] 3901/5         protesters [1] 3952/6
3865/12
                        3954/8 3954/22           3936/22 3942/15         3901/9                      protesting [1] 3960/24
phone [12]   3883/24
                        3955/13 3955/17          3942/24 3944/11         presumably       [2]        Proud [1] 3898/23
3884/25 3885/3 3885/8
                        3956/2 3956/23 3957/2 3944/15 3944/19            3902/25 3953/2              Proud Boys [1]
3891/7 3891/13
                        3958/25 3962/23          3952/3 3952/5 3956/1 Prettyman [1] 3862/4 3898/23
3892/21 3896/17
                        3963/25 3966/25          3958/1 3958/2 3960/21 prevent [1] 3934/20           prove [1] 3950/5
3898/1 3899/11 3914/7
                        playing   [5]   3873/8   3960/23 3961/16         prevented     [1]  3901/8 provide [1] 3962/6
3946/4
                        3880/18 3951/25          3961/18 3965/22         preventing [1] 3901/25 provided [1] 3960/8
phones [3] 3868/18
                        3953/6 3964/8            3968/21 3969/19         previous [1] 3893/21 provides [1] 3923/3
3892/20 3899/19
                        plaza [8]   3933/16      poorly [1]   3881/16    previously [2] 3869/20 providing [2] 3872/21
photo [8] 3925/17
                        3933/19 3939/4 3939/9 portion [4] 3879/5         3887/21                     3880/8
3926/4 3929/16
                        3939/15 3960/21          3879/12 3933/21         primarily   [5]   3875/22 proximity [2] 3867/2
3929/18 3934/24
                        3968/1 3969/24           3964/21                 3880/16 3883/5 3885/8 3941/21
3934/25 3935/2 3937/2
                        please  [39]    3865/3   portions  [1]  3965/19  3886/9                      PSDs [1] 3886/3
photos [2] 3927/19
                        3869/1 3869/10 3880/4 portrayal [1] 3890/9       primary   [3]   3875/17     public [4] 3932/2
3927/21
                        3880/6 3880/15           portrayed   [2] 3878/18 3922/18 3964/13             3932/4 3932/6 3932/8
phrased [2] 3881/16
                        3880/25 3881/3           3880/22                 prior [5] 3888/8            publish [7] 3877/11
3909/6
                        3881/25 3897/7           position [3] 3940/14    3897/18 3927/19             3925/22 3927/25
physical [6] 3925/5
                        3907/18 3911/10          3957/18 3962/5          3935/23 3950/15             3932/22 3935/8 3936/9
3925/6 3925/17
                        3915/4 3915/10           positioned [2] 3940/3 private [1] 3900/9            3937/5
3935/22 3941/21
                        3918/10 3920/10          3941/2                  probably [5] 3880/19 pull [15] 3883/14
3942/11
                        3921/2 3921/18           positions [1] 3924/11 3936/1 3959/22                3884/15 3888/12
picking [3] 3888/25
                        3922/10 3922/25          positive [3]  3866/2    3963/13 3964/7              3890/5 3891/19 3894/9
3889/1 3934/25
                        3924/10 3925/9 3926/8 3866/9 3866/22             probative    [4]   3946/24 3896/13 3897/20
picture [2] 3926/9
                        3929/10 3932/14          possession [2]          3946/25 3965/10             3901/12 3902/6
3932/17
                                                                                                                                        3987


P Case 1:22-cr-00015-APM
                  3934/16 3935/1Document 7303926/1
                                     3913/21   Filed  01/02/24
                                                   3928/5          Page3894/8
                                                          3889/22 3894/7 129 ofreviewed
                                                                                 135 [2] 3882/22
                         3935/18 3939/5 3939/6 3933/2 3935/12                         3901/3 3901/5 3902/2 3896/19
pull... [5] 3902/21
                        racks [4] 3935/5               3936/13 3937/8                 3909/1 3909/10               reviewing [1] 3883/22
 3905/20 3906/16
                         3935/5 3935/15 3936/7 recess [4] 3868/24                    remind [2] 3948/19            RHODES [26] 3859/6
 3915/19 3952/17
                        radio [10] 3879/23             3915/3 3970/12                 3962/19                       3860/2 3865/6 3865/13
pulled [1] 3918/19
                         3943/5 3944/10                3970/13                       repeatedly [1] 3959/13 3884/9 3884/12
purchased [4] 3886/23
                         3944/18 3944/20              recite [1] 3874/5              repeating [1] 3880/20 3887/11 3887/14
 3887/1 3887/11
                         3944/24 3945/6               recognize       [14]   3870/16 rephrase [2] 3871/13           3887/21 3888/9
 3887/21
                         3945/12 3948/3                3883/16 3884/18                3907/18                       3888/16 3894/6
purple [1] 3905/11
                         3956/19                       3884/21 3888/13               reply  [1]   3910/7            3894/18 3895/5 3895/8
purpose [9] 3889/17
                        radios    [3]   3944/14        3890/6 3893/5 3894/14 report [2] 3937/20                     3896/2 3896/11 3897/4
 3916/19 3918/3 3918/5
                         3944/15 3944/16               3896/15 3897/21                3938/10                       3897/11 3897/16
 3918/6 3927/5 3964/2
                        raise  [2]    3905/1           3901/16 3905/22               reported    [2]    3866/2      3897/25 3898/13
 3964/13 3965/14
                         3920/10                       3910/25 3912/14                3938/5                        3898/16 3902/18
purposes [1] 3961/21
                        raising    [1]   3946/23      recollection      [1]   3879/8 Reporter [4] 3862/2            3911/4 3916/8
pursuant [1] 3948/4
                        Rakoczy      [3]  3859/14 record [12] 3878/22                 3862/2 3862/3 3862/3 Rhodes' [1] 3883/24
push [1] 3906/22
                         3865/10 3936/24               3878/25 3886/18               reporting [2] 3903/21 rifle [5] 3876/11 3887/7
pushed [3] 3957/7
                        rally [2]    3880/17           3886/20 3891/2                 3951/14                       3900/3 3900/15
 3960/23 3961/8
                         3906/18                       3899/15 3926/11               reports   [1]   3962/7         3900/24
pushing [1] 3957/10
                        rally's  [1]   3913/22         3926/15 3930/18               represents      [1]   3932/17 right [55] 3868/10
put [11] 3882/11
 3920/14 3925/9         ran [1] 3924/23                3933/9 3933/21 3971/3 request [4] 3881/11                    3869/7 3869/10
                        Ranger      [3]  3894/17      recorded      [3]   3862/6      3908/23 3945/15               3870/22 3871/12
 3927/11 3932/14
                         3897/13 3902/25               3872/24 3902/10                3945/15                       3872/8 3872/13
 3936/25 3938/17
                        Ranger      Doug    [1]       recording       [1]  3873/13 requested [1] 3914/13 3872/23 3873/22
 3940/1 3949/15
                         3902/25                      recovered [5] 3882/25 reservations [2]                        3874/2 3874/11
 3959/20 3959/20
                        Ranger      Doug    Smith [1]  3883/2 3887/20                 3867/18 3867/22               3875/21 3876/12
putting [2] 3885/23
                          3894/17                      3887/25 3892/21               reside   [2]   3889/24         3876/18 3877/20
 3913/6
                        rank  [4]    3921/18          recovery     [1]    3903/10     3889/25                       3878/2 3878/17
PUTZI [1] 3861/16
                         3921/19 3924/21              recross [3] 3863/4             residence [1] 3874/14 3879/11 3883/17
Q                        3924/25                       3908/9 3908/11                resigned [1] 3925/2            3884/8 3884/9 3884/20
QRF [12] 3875/17        rapid  [1]    3868/12         rectangle      [1]   3926/12   resilience    [1]   3869/13    3885/6 3890/19
 3875/21 3881/11        rather   [1]   3927/8         recurring     [1]    3958/21   resist  [1]   3911/8           3890/25 3907/4 3909/5
 3881/14 3881/14        Rayburn      [1]  3924/8      red  [6]  3932/17      3933/5  resolved     [1]   3912/7      3915/1 3917/17 3919/5
 3892/1 3903/17         rays  [1]    3931/6            3933/6   3933/10              resources      [4]  3945/15    3919/23 3920/10
 3916/17 3916/20        re [1]   3869/15               3934/11    3937/11             3945/17    3952/4     3952/7  3920/18 3926/14
 3918/3 3918/5 3918/6   re-take    [1]  3869/15       redirect   [4]    3863/4       respect   [1]    3969/24       3928/15 3928/23
quarantine [1]   3867/9 reacting     [1]  3903/9       3873/19    3882/20            respectfully      [1]          3930/7 3930/10
question [12] 3877/4    read  [11]     3879/20         3908/23                        3908/23                       3930/16 3930/19
 3877/16 3878/12         3895/9    3897/6    3902/7   refer  [1]  3896/17            respond     [1]   3945/16      3935/11 3941/11
 3881/16 3904/1          3906/17     3911/3           reference      [2]   3908/22   responded       [5]   3938/13  3948/9 3950/16
 3907/17 3908/11         3913/17 3917/8 3917/8 3918/21                                3938/15 3938/20               3950/22 3956/11
 3909/6 3949/9 3950/13   3935/18     3936/20          referenced       [1]  3956/21   3938/21    3939/25            3956/16 3957/15
 3966/5 3970/6          ready   [3]    3869/3         referring    [3]    3895/15    responding       [2]           3957/16 3962/8
questionable [1]         3869/14     3869/17           3913/14    3918/17             3939/10    3952/5             3963/17 3964/12
 3898/20                real [5] 3910/9 3914/7 reflected [1] 3929/20 response [10] 3881/10 3964/20 3968/9
questioning [2]          3960/12 3962/11              refresh [1] 3879/7              3881/18 3882/11               3969/16
 3950/10 3950/12         3965/8                       regarding       [2]  3874/13    3893/23    3896/10           right-hand    [2] 3878/17
questions [21]          really  [8]    3908/14         3916/5                         3896/11    3910/19            3884/8
 3868/22 3869/6 3880/1 3953/10 3963/15                region [1] 3956/5               3923/7 3968/21               riot [2] 3914/2 3946/16
 3882/16 3886/3          3964/16     3965/9           Registered       [1]   3862/2   3969/20                      rioters [9] 3941/17
 3886/22 3889/21         3965/16     3966/20          reiterate   [1]    3895/15     Responsibility        [1]      3941/21 3942/2
 3890/2 3892/19 3894/4 3968/2                         relation [1] 3941/2             3924/20                       3942/25 3943/2
 3902/3 3906/14         Realtime      [1]  3862/3     relevance      [3]   3947/7    responsible       [4]          3957/13 3965/23
 3906/25 3909/15        reason     [13]   3866/19      3949/5   3957/3                3923/24    3923/25            3965/24 3969/21
 3916/7 3916/19          3876/1    3899/2    3932/6   relevant   [11]     3946/11     3924/3   3924/6              rioters'  [1] 3942/14
 3916/22 3918/2 3918/8 3954/12 3965/8                  3946/20 3949/11               responsive [1]                rise [5] 3865/2 3868/25
 3949/6 3955/8           3965/12 3965/13               3949/17 3951/10                3903/25                       3914/24 3947/16
quick [4] 3914/7         3966/8    3966/12             3951/13    3957/13            rest [4]   3867/9     3955/19  3970/11
 3960/12 3960/17         3966/22     3968/6            3958/4   3958/4      3965/19   3955/23    3964/5            Ritchie   [1] 3861/17
 3962/11                 3968/23                       3967/22                       restrictions     [1]   3932/9 RMR    [2]  3971/2 3971/8
quickly [1] 3878/6      rebut   [1]   3917/3          relocate    [1]   3943/10      resulted    [1]   3908/16     Road    [1] 3861/3
quit [1] 3892/7         recall  [1]    3873/8         reluctant    [1]    3867/12    resume    [2]    3914/21      roadblocks     [4]
quite [3] 3954/3 3965/8 recalling [1] 3908/5          remained [1] 3953/4             3947/12                       3892/16 3892/17
 3967/8                 received [16] 3872/11 remember [16]                          RESUMED [1] 3869/20 3892/18 3903/10
                         3877/22 3881/18               3870/24 3874/16               return [1] 3908/24            robust [1] 3918/15
R                        3884/5 3885/14                3874/20 3878/25               reverse [1] 3960/22           Rohde [15] 3896/13
R-o-n-a-l-d [1] 3921/4 3890/17 3894/25                 3883/11 3886/3                review [3] 3888/8              3901/12 3905/14
rack [6] 3933/6          3896/25     3898/9            3886/24    3887/13             3889/3   3927/19              3905/20 3909/2
                                                                                                                          3988


R Case 1:22-cr-00015-APM        Document
                  3910/8 3917/1 3917/2    7303951/20
                                       3947/13  Filed 01/02/24
                                                         setting [3]Page
                                                                     3899/1130 of3965/25
                                                                                  135 3968/15
                        3917/5 3935/20             3961/9 3964/9 3969/4 3900/2 3903/8                  3969/4
Rohde... [10] 3915/19
                       scaffolding [7]             3970/9                    several [4] 3939/5       sidebar [2] 3918/10
 3927/10 3928/8
                        3941/12 3941/25           seeing [2] 3964/5           3939/6 3950/13 3967/6 3919/25
 3928/16 3930/21
                        3942/2 3942/3 3942/4 3965/5                          severely [1] 3943/1      Siekerman [2] 3913/2
 3937/15 3938/23
                        3942/18 3943/5            seek [6] 3884/1            share [1] 3873/6          3913/14
 3939/20 3946/3
 3956/18               scanning [1] 3880/16 3885/10 3890/13                  shared [1] 3875/5        sign [5] 3935/17
                       scene [3] 3913/25           3894/19 3896/21           Sharon [3] 3901/20        3935/19 3935/20
Ronald [3] 3919/7
                        3950/15 3951/24            3898/3                     3902/10 3906/18          3936/20 3937/2
 3920/21 3921/4
                       scheduled [1] 3906/10 seeking [1] 3877/10             she [14] 3866/2 3875/3 signage [1] 3935/5
Rook [1] 3892/4
                       schematic [3] 3929/12 seeks [2] 3935/8                 3876/11 3876/20         Signal [6] 3882/22
rotate [1] 3928/17
                        3929/20 3929/25            3936/9                     3876/21 3876/25          3883/5 3884/23 3885/7
Rotunda [7] 3929/9
 3930/2 3930/3 3930/9  school [1] 3874/6          seems [2] 3881/14           3877/5 3881/14           3903/5 3904/6
 3930/10 3930/19       scope [2] 3893/8            3965/10                    3881/18 3881/21         significance [2]
                        3915/24                   seen [20] 3870/17           3907/12 3916/12          3954/10 3955/5
 3954/17
                       screen [14] 3870/9          3878/5 3881/8 3882/3 3917/11 3917/19               significant [2] 3950/4
roughly [1] 3872/5
                        3877/24 3878/15            3882/9 3886/21            She's [1] 3881/13         3955/4
Rule [1] 3962/6
                        3881/3 3883/16             3895/14 3898/17           shift [1] 3901/1         signs [4] 3936/6
Rule 16 [1] 3962/6
                        3883/19 3885/17            3900/3 3903/24            Shifting [1] 3886/2       3936/16 3936/17
rules [2] 3911/19
                        3890/20 3925/11            3912/16 3935/2 3939/9 short [2] 3914/20             3937/10
 3911/19
                        3926/7 3926/8 3926/15 3951/3 3953/15                  3951/8                  silent [1] 3948/15
run [1] 3948/9
                        3940/5 3964/12             3953/15 3960/2 3961/3 shortly [2] 3868/19          simply [5] 3908/5
running [2] 3891/3
 3913/7                screening [2] 3931/5        3968/13 3969/13            3914/23                  3959/10 3965/14
                        3931/12                   select [2] 3871/2          shots [1] 3956/20         3969/2 3969/3
Russell [1] 3924/1
                       screenshot [1] 3885/9 3871/9                          should [7] 3865/25       since [2] 3867/3
S                      scroll [1] 3878/6          selected [2] 3871/6         3866/24 3899/17          3895/14
SA [1] 3869/19         search   [1]  3909/22       3871/10                    3902/14   3919/14       single   [2] 3896/14
said [13] 3868/1       seat [5]   3866/3          semi   [1]  3900/3          3936/1  3965/9           3917/8
 3874/3 3894/5 3901/2 3866/14 3869/4 3869/5 semi-automatic [1]               shouldn't [1] 3969/2     sir [1] 3878/5
 3907/1 3916/24 3917/7 3947/21                     3900/3                    show [23] 3870/9         sit [1] 3936/1
 3917/9 3948/12        seated  [5]   3865/3       Senate    [25]   3923/24    3906/19   3946/15       situation [5] 3869/3
 3952/15 3959/24        3869/1  3869/10    3915/4  3923/25   3924/1   3924/2  3946/16   3950/25        3891/25 3896/7 3912/7
 3960/3 3970/3          3915/10                    3924/22   3925/1           3951/2  3951/8  3953/14  3960/16
Sailor [1] 3897/9      second    [11]   3895/9     3926/13   3928/25          3955/2  3955/11         size  [4] 3896/7 3936/17
salute [1] 3905/1       3901/3  3901/9    3904/22  3929/17   3929/22          3956/20   3957/8         3939/13   3939/14
Sam [4] 3960/7 3960/8   3908/8  3925/15            3930/5   3930/6   3930/9   3957/11   3957/19       slide  [50]  3879/7
 3961/14 3963/10        3929/13 3956/18            3938/3 3938/4 3938/5 3958/5 3958/7 3958/10 3880/25 3881/25
same [7] 3866/24        3958/18 3958/24            3940/25 3946/8             3960/12 3962/10          3884/8 3884/17
 3878/19 3879/2 3879/3  3964/1                     3953/10   3956/6           3962/16   3964/2 3965/9  3888/12 3888/13
 3879/10 3879/14       seconds     [7]  3870/23    3956/15   3957/4   3957/6  3965/15                  3891/21 3892/3 3892/8
 3882/2                 3871/1 3901/13             3957/6 3964/3             showed [1] 3967/25        3892/9 3893/3 3893/4
save [1] 3913/22        3901/19   3905/5          senior   [1]  3921/15      showing    [4] 3949/10    3893/15 3893/21
saw [14] 3888/20        3947/23   3968/3          sensitive    [1]  3962/20   3952/18   3954/19        3895/17 3895/25
 3900/6 3900/9 3900/14 Secret  [2]   3879/24      sent  [3]  3893/12          3961/20                  3896/9 3898/24 3899/6
 3902/23 3907/1 3909/9 3880/13                     3952/11 3959/3            shown [8] 3947/6          3900/1 3902/6 3902/7
 3916/23 3917/11       section   [9]   3876/3     sentences      [1] 3913/17  3949/17   3953/25        3902/21 3902/22
 3939/3 3939/5 3939/5   3924/14   3924/18         sequence      [1]  3954/20  3954/1  3954/12          3903/3 3903/4 3903/12
 3941/25 3949/1         3924/22 3924/24           Serbian [1] 3916/5          3957/21 3957/21          3903/13 3903/18
say [31] 3867/13        3924/24   3938/24         sergeant    [1]   3924/17   3970/7                   3904/14 3904/15
 3867/14 3872/22        3944/20   3945/4          sergeants     [1]  3921/20 shows   [3]  3950/2       3904/25 3906/16
 3875/22 3879/5 3880/8 Section   1  [1]  3924/18  series  [10]    3878/3      3950/3  3951/11          3906/17 3908/21
 3881/7 3888/20        sections [1] 3880/21        3886/22 3889/21           SHTF [1] 3892/2           3908/24 3909/2 3910/5
 3888/25 3891/24       secure   [1]  3933/7        3890/2   3892/19   3894/4 sic [1] 3903/22           3910/6 3910/24
 3892/4 3892/9 3892/25 securing    [1]  3891/14    3894/10   3902/2          side  [36]  3878/17       3910/25 3911/10
 3893/16 3893/22       security   [10]   3872/21   3906/14   3906/25          3924/2  3926/9  3926/10  3911/14 3911/20
 3897/17 3898/16        3886/16 3930/24           served [2] 3924/13          3926/13 3927/1 3927/2 3911/21 3914/4 3914/5
 3899/18 3903/15        3931/1 3931/5 3931/23 3924/17                         3928/13 3928/14          3915/19 3918/20
 3906/4 3911/17         3934/20   3943/16         serves   [1]   3945/10      3928/22   3928/25       slide  27 [2] 3910/5
 3911/24 3912/6         3960/15   3962/24         service   [9]   3879/24     3929/15   3929/15        3910/6
 3912/18 3912/20       see [26] 3867/11            3880/13 3923/1 3923/5 3929/16 3929/17              Slide 7 [2] 3879/7
 3913/3 3933/18         3870/21   3872/13          3923/6   3923/6   3923/7   3930/9  3939/4  3939/11  3902/22
 3948/11 3964/24        3877/2  3877/24    3879/7  3923/8   3923/22           3939/16   3939/17       slides  [1] 3898/5
 3965/2 3969/3          3882/12 3890/19           Session [2] 3859/7          3940/2 3940/13          sliding [1] 3965/20
saying [4] 3881/13      3891/6 3891/13             3932/13                    3940/14 3941/14         slightly [1] 3917/20
 3889/24 3895/8         3891/16   3894/21         set [6]   3891/25           3942/21   3949/10       slogan [1] 3911/6
 3946/19                3896/12   3901/19          3892/16   3910/12          3949/14   3949/20       slowly [1] 3942/7
says [9] 3879/20        3907/5 3912/2 3914/23 3912/10 3940/10                 3951/1 3952/4 3952/5 small [3] 3892/13
 3892/5 3900/2 3906/17 3915/1 3939/1 3940/17 3941/11                          3953/4 3962/13           3930/7 3930/8
                                                                                                                                3989


S Case 1:22-cr-00015-APM        Document
                 sort [9] 3921/18        7303941/12
                                     3941/10   Filed 01/02/24     Page 131 ofsupport
                                                        steps [1] 3941/14     135 [4] 3906/19
                        3937/11 3942/8                3941/14 3941/17           Steve [3] 3896/6             3918/6 3963/4 3963/5
Smith [13] 3884/24
                        3946/19 3949/17               3941/18 3942/14            3897/12 3898/14            supposed [2] 3955/9
 3885/20 3894/17
                        3950/7 3955/3 3956/21 stages [1] 3951/9                 STEWART [18] 3859/6 3965/20
 3895/5 3895/8 3896/2
                        3966/19                      stairs [6] 3940/10          3860/2 3865/6 3884/9 sure [11] 3867/14
 3896/11 3897/13
                       sound [1] 3888/17              3941/11 3942/20            3884/12 3887/11             3877/7 3878/14 3879/1
 3897/13 3897/13
                       sounds      [2]   3913/7       3949/1 3949/3 3969/14 3888/16 3894/18                  3880/1 3893/18
 3898/14 3902/18
                        3913/13                      Stamey    [9]   3897/10     3895/5 3895/9 3895/18 3912/16 3916/20
 3903/5
                       source [1] 3870/18             3897/11 3898/14            3896/2 3896/3 3897/4 3964/25 3965/8 3969/7
Smoot [1] 3893/19
                       sources      [2]   3882/25     3901/18 3902/19            3897/11 3897/16            surely [1] 3912/24
sneak [1] 3899/4
                        3883/3                        3902/24 3903/1 3903/2 3897/25 3898/13                 surprise [3] 3875/14
snippet [1] 3960/17
                       south    [5]   3913/23         3903/20                   Stewart     Rhodes    [12]   3879/16 3879/19
snippets [1] 3951/8
                        3928/24 3929/16              stand  [6]   3869/15        3884/9 3884/12             surprised   [1] 3875/16
snow [3] 3934/12
                        3931/13 3939/16               3869/20 3935/25            3887/11 3888/16            surround   [1]   3942/10
 3934/17 3934/18
                       southwest [1] 3934/1 3936/15 3955/20                      3894/18 3895/5 3896/2 surrounded [1] 3952/8
so [136]
                       space [1] 3970/2               3966/7                     3897/4 3897/11             surrounding [1]
so I think [1] 3954/3
                       speak    [5]   3870/5         standing    [3]   3904/22   3897/16 3897/25             3922/21
so it's [5] 3914/20
                        3871/22 3919/24               3939/13 3968/25            3898/13                    surveillance    [1]
 3948/15 3953/21
                        3953/12 3955/18              stands   [1]   3970/12     still [10]   3867/23         3921/24
 3954/18 3956/9
                       Speaker's [2] 3930/13 stanley [3] 3861/2                  3869/16 3879/10            suspect [1] 3868/20
So no [1] 3897/19
                        3930/15                       3861/5 3865/14             3902/8 3923/22 3947/6 sustain [2] 3907/18
So this exhibit [1]
 3895/4                speakers [1] 3902/9           Stanley Woodward [1] 3967/12 3967/20                    3917/17
                       speaking      [15]    3872/17 3865/14                     3967/21 3968/14            sustained    [3] 3900/12
so this is [5] 3913/19
                        3884/21 3885/17              Star [1]   3960/14         stipulation     [1]  3948/5 3909/6 3917/24
 3950/14 3951/13
                        3885/19 3889/18              stark [1] 3968/4           stop [4] 3878/7 3888/9 SWAT [1] 3923/7
 3956/17 3960/22
                        3891/22 3903/13              start [5] 3868/17           3913/7 3913/9              SWORN [2] 3869/20
So this was [1]
                        3903/19 3904/15               3910/17 3912/2 3961/6 storage [1] 3888/1               3920/21
 3878/17
                        3904/17 3905/24               3961/15                   store   [1]   3887/9        SYLVIA   [1] 3869/19
solid [1] 3961/5
                        3911/15 3912/4 3913/1 started [5] 3868/19               stored    [1]   3899/22     symptoms      [1] 3867/7
some [35] 3866/4
                        3926/23                       3914/22 3939/15           storm    [2]   3907/2       system   [3]   3944/21
 3866/16 3867/17
                       special [8] 3870/3             3942/6 3942/9              3917/2                      3945/19 3945/20
 3867/23 3871/9
                        3902/11 3917/14              starting [4] 3910/22       storming [1] 3916/9         systems [6] 3921/24
 3874/25 3875/9
                        3923/1 3924/15 3945/2 3939/16 3942/3 3942/7 strafes [1] 3962/13                      3921/24 3943/14
 3876/22 3883/8
                        3945/2 3945/3                state [6] 3868/6           stream [1] 3965/25           3943/16 3943/19
 3887/23 3897/17
                       Special Agent [1]              3889/17 3897/10           streaming [1] 3957/25 3944/10
 3902/11 3902/12
                        3870/3                        3903/1 3913/18 3926/3 Street [11] 3859/17
 3908/23 3910/2                                                                                             T
 3910/10 3913/6        Special     Agent     Palian  stated  [2] 3888/9          3860/11 3860/15
                        [1]  3917/14                  3923/17                    3890/3 3890/20             take [14] 3867/19
 3923/14 3923/19
                       specialized       [1]         statement     [1]  3906/8   3890/23 3890/25             3868/13 3868/15
 3925/17 3942/8
                        3922/22                      statements     [1]  3888/9 3891/3 3891/4 3933/25 3869/15 3913/6
 3943/13 3944/5 3945/2
                                         3907/1      STATES [33] 3859/1          3934/1                      3914/15 3914/20
 3947/2 3947/5 3953/4 specific [3]
                        3917/6 3954/21                3859/3 3859/10 3865/5 streets [4] 3890/22              3916/1 3930/21
 3956/12 3956/12
                       specifically      [6]          3895/13 3921/6             3910/3 3910/10              3937/15 3947/9
 3961/13 3965/11
                        3898/12 3917/1 3922/2 3921/21 3922/20                    3910/11                     3966/10 3966/11
 3965/11 3966/16
                        3923/10 3938/14               3925/12 3925/14           strike   [2]  3911/12        3970/5
 3967/1 3968/1
                        3967/24                       3925/20 3926/5             3911/12                    taken [2] 3868/14
somebody [8] 3899/19
 3900/14 3919/14       spectator [2] 3969/3           3926/19 3927/22           structure [7] 3926/22 3925/17
                        3969/3                        3928/11 3929/4             3926/22 3926/23            taking [4] 3918/7
 3934/20 3948/19
                       spelling     [1]   3921/2      3929/13 3930/2 3931/2 3926/24 3927/5 3927/7 3932/10 3932/12
 3960/1 3960/2 3964/9
                       splice [1] 3970/6              3931/4 3931/11             3927/7                      3960/19
someone [5] 3871/6
                       split  [4]   3878/15           3931/13 3931/19           stuff  [3]   3945/21        talk [4] 3868/12
 3887/7 3893/10
                        3894/6 3897/15                3931/22 3932/1             3959/2 3959/6               3872/20 3895/20
 3899/10 3913/21
                        3956/15                       3933/17 3934/5            subgroup       [1]  3961/1   3896/7
something [6] 3899/5
                       spoken      [1]  3868/14       3936/21 3937/18           submit     [1]  3931/5      talked [2] 3871/25
 3908/3 3916/18 3952/8
 3958/15 3961/20       spread [1] 3939/18             3938/13 3938/15           substance [1] 3870/8 3883/6
                       spreading       [1]   3939/15 3944/19 3947/24            successfully [1]            talking [4] 3874/12
Sometime [1] 3906/9                                                                                          3898/12 3925/4
                       squad     [1]   3923/6        stating  [1]   3921/3       3961/17
sometimes [1] 3880/21
                       square     [1]   3934/2       Statutory    [1]  3930/11 such [3] 3867/1 3945/3 3969/18
soon [2] 3868/19
                       squarely [1] 3917/3           stay [7] 3868/18            3958/8                     tape [1] 3948/9
 3937/24
                       Sr [1] 3861/16                 3896/5 3896/7 3915/4 suggesting [1] 3969/2 tapped [1] 3895/19
SoRelle [1] 3895/16
                       Stack [1] 3888/5               3917/18 3944/13           suggestion [1]              tarp [3] 3942/5 3942/6
sorry [16] 3873/22                                                                                           3942/6
                       Stack 2 [1] 3888/5             3969/5                     3964/11
 3878/23 3880/11
                       staff [1] 3866/4              stayed [1] 3887/17         suggestions [1]             Tarpley [3] 3860/10
 3891/1 3903/10
                       staffers [2] 3922/13          stenography [1]             3868/7                      3865/13 3962/18
 3907/25 3912/10
                        3934/5                        3862/6                    Suite   [4]   3860/4 3860/8 Tarrio [2] 3898/22
 3914/6 3918/16 3919/3
                       stage [12] 3926/25            step [4] 3906/23            3861/8 3861/17              3899/7
 3928/21 3948/11
                        3927/3 3927/6 3940/11 3916/9 3919/5 3947/18 summary [1] 3954/13 task [1] 3895/23
 3958/8 3958/19
                        3940/24 3941/7               Stephen [1] 3897/8         Sunday [1] 3902/9           tasks [1] 3895/21
 3963/22 3965/18
                                                                                                                  3990


T Case 1:22-cr-00015-APM
                  3964/7 3965/10Document  7303877/11
                                3969/1 3874/18  Filed 01/02/24     Page 132 of3951/14
                                                          3961/9 3963/10       135 3954/2
                       thank [29] 3868/9       3877/13 3880/1 3897/6 3963/16 3964/3          thing [2] 3874/3 3880/3
Taylor's [1] 3896/17
                        3873/20 3880/8         3900/8 3902/14         3964/17 3965/7         things [6] 3895/23
team [11] 3870/6
                        3882/15 3882/18        3909/21 3910/10        3965/11 3965/13         3903/8 3903/11
 3871/11 3881/14
                        3885/21 3885/25        3911/11 3942/2         3965/19 3965/20         3946/10 3947/5 3959/3
 3881/15 3896/4
                        3909/3 3913/6 3914/17 3942/10 3944/5          3966/2 3966/3 3969/1 think [36] 3866/25
 3903/17 3923/7 3923/7
                        3914/23 3915/2 3915/5 3945/14 3945/16         3969/2 3969/22          3867/2 3876/6 3893/18
 3923/13 3960/2
                        3915/12 3918/8 3919/6 3948/1 3949/7 3949/13 there's [33] 3881/11      3894/5 3894/22
 3962/12
                        3919/13 3920/12        3953/14 3954/7 3962/6 3897/15 3903/10          3898/17 3899/4 3908/8
teams [4] 3961/12
                        3920/18 3928/8         3962/16 3963/5 3967/6 3917/2 3917/20           3908/10 3908/12
 3961/15 3961/17
                        3930/21 3936/23       theme  [1] 3958/22      3918/19 3930/7          3916/21 3917/2 3917/4
 3962/14
                        3936/23 3937/15       themselves  [6]         3941/11 3944/9          3946/10 3947/6 3949/9
television [1] 3943/21
                        3939/20 3940/6         3946/17 3946/18        3945/14 3946/10         3952/24 3952/25
tell [7] 3866/7 3897/2
                        3947/15 3947/20        3948/2 3949/3 3953/22 3946/10 3946/15          3954/1 3954/3 3957/22
 3898/11 3949/19
                        3970/9                 3954/18                3948/3 3949/5 3950/1 3961/25 3963/5 3964/4
 3963/2 3966/24
 3968/23               thank you [26] 3868/9 then [41] 3868/10        3953/25 3954/9 3959/6 3964/6 3965/12
                        3873/20 3880/8         3868/21 3872/17        3959/15 3959/22         3965/13 3965/16
telling [2] 3902/24
                        3882/15 3882/18        3885/19 3887/8 3887/9 3960/15 3961/6           3966/1 3966/22 3968/1
 3903/5
                        3885/21 3885/25        3900/1 3903/1 3908/7 3964/11 3964/15           3968/12 3968/23
ten [3] 3914/11
                        3909/3 3914/17 3915/2 3908/12 3908/17         3965/12 3966/1          3969/4 3970/6
 3914/15 3915/2
                        3915/5 3915/12 3918/8 3912/3 3912/4 3914/2 3966/12 3966/20           thinking   [1] 3958/5
tens [1] 3964/18
                        3919/6 3919/13         3924/19 3924/20        3966/21 3967/16        third [3]  3901/3 3901/9
terms [13] 3867/19
                        3920/12 3920/18        3924/22 3925/2         3968/11 3968/22         3901/21
 3872/1 3878/10
                        3928/8 3936/23         3928/25 3933/16       thereabouts [2]         this [288]
 3942/23 3946/21
                        3936/23 3937/15        3934/1 3939/6 3941/12 3960/14 3962/12         This is [1] 3865/5
 3946/24 3950/4 3950/5
                        3939/20 3940/6         3942/9 3943/10        therefore   [2]  3953/1 Thomas [3] 3861/16
 3950/8 3951/1 3952/8
                        3947/15 3947/20        3945/16 3948/3         3965/24                 3865/8 3885/18
 3954/10 3966/19
                        3970/9                 3948/25 3949/2 3949/3 these [54] 3865/20      Thomas    Caldwell [1]
Terrace [12] 3940/7
                       Thanks   [1] 3868/23    3950/9 3951/25 3953/3 3867/25 3877/10          3885/18
 3940/9 3940/18 3941/9
                       that [408]              3958/3 3961/15 3964/5 3877/11 3878/5 3882/3 those [19] 3871/9
 3942/20 3943/10
                       that's [45] 3868/6      3964/9 3967/5 3967/15 3898/13 3903/23          3871/10 3873/11
 3960/24 3966/12
                        3868/15 3870/13        3968/25 3969/4         3910/18 3911/22         3873/14 3873/15
 3966/14 3966/16
                        3874/2 3877/14 3879/5 there [97] 3866/16      3913/17 3922/6 3925/5 3876/22 3882/9
 3967/11 3968/17
                        3880/23 3884/19        3870/22 3873/13        3927/19 3927/21         3886/11 3887/25
terribly [2] 3867/1
                        3887/1 3897/9 3907/23 3874/13 3874/25         3935/14 3937/10         3889/7 3894/2 3922/25
 3965/16
                        3908/3 3908/4 3908/4 3876/7 3876/16 3878/3 3940/10 3942/4             3928/4 3951/10 3960/9
test [2] 3866/22
                        3908/5 3908/9 3908/12 3879/14 3881/10         3943/23 3945/11         3964/25 3965/2 3965/4
 3866/23
                        3908/14 3909/12        3881/14 3882/10        3945/18 3949/1 3949/5 3968/19
tested [2] 3866/2
                        3914/14 3920/4         3901/8 3902/11         3949/11 3951/7         though [3] 3893/20
 3866/8
                        3928/18 3933/21        3906/21 3910/2         3951/11 3951/16         3953/22 3964/16
testified [5] 3869/20
                        3936/3 3941/5 3944/16 3910/19 3913/9 3916/6 3951/23 3954/15          thought   [2] 3918/13
 3872/23 3873/2
                        3949/11 3950/11        3916/7 3916/19         3954/16 3954/16         3969/14
 3907/10 3907/20
                        3950/12 3950/12        3916/21 3916/22        3954/17 3954/21        thoughts [1] 3868/7
testify [4] 3907/12
                        3950/17 3950/23        3916/25 3917/9         3955/14 3956/3 3957/9 thousands [1] 3882/22
 3909/18 3916/13
                        3952/24 3954/1         3917/10 3918/14        3957/19 3957/24        thread [3] 3879/9
 3954/11
                        3954/11 3956/24        3922/22 3922/24        3958/2 3958/3 3958/19 3881/20 3897/24
testifying [3] 3915/14
                        3959/12 3963/12        3923/17 3926/21        3961/14 3962/14        threat [1] 3924/23
 3920/15 3927/19
                        3963/23 3964/4         3927/3 3927/8 3929/19 3965/3 3965/6 3965/12 threats [1] 3874/4
testimony [9] 3870/8
                        3964/13 3965/20        3929/21 3931/16        3966/4 3966/7 3966/13 three [7] 3867/23
 3875/1 3907/24 3908/2
                        3968/1 3968/9 3969/23 3931/17 3932/9          3966/21 3967/12         3871/17 3895/4
 3916/15 3916/16
                       their [21] 3866/8       3932/13 3933/18        3968/6 3968/20          3898/25 3960/8
 3917/19 3919/6
                        3867/15 3867/16        3933/24 3934/7 3934/8 they [118]               3963/10 3964/22
 3947/19
                        3892/10 3899/11        3934/9 3935/17        they'd  [2]  3942/21    three-hour    [1] 3871/17
testing [1] 3867/6
                        3899/19 3899/21        3937/23 3937/24        3957/4                 threw  [1]  3942/8
tests [3] 3866/23
                        3911/12 3911/18        3938/4 3938/6 3938/10 they'll [1] 3945/22     through [28] 3867/5
 3868/12 3868/14
                        3916/13 3916/15        3939/8 3940/10        they're  [21]   3867/15  3878/6 3881/9 3890/12
text [11] 3878/10
                        3945/3 3945/4 3948/5 3940/17 3941/17          3868/11 3868/11         3922/14 3925/5 3931/3
 3878/11 3879/6
                        3950/15 3952/13        3941/19 3941/20        3877/12 3878/19         3931/6 3931/10
 3879/10 3879/11
                        3952/16 3952/23        3941/22 3943/7 3943/9 3886/12 3892/24          3933/12 3934/20
 3879/12 3879/14
                        3963/7 3966/4 3967/17 3943/25 3944/1 3944/2 3901/24 3913/18           3938/21 3942/18
 3879/17 3881/4
                       thelinderfirm.com [1] 3944/3 3944/8 3947/8 3931/9 3944/17              3942/22 3950/9
 3881/18 3897/24
                        3860/6                 3947/25 3949/5 3949/6 3946/23 3947/3           3954/18 3955/9
texts [1] 3880/22
                       them [35] 3866/7        3949/16 3949/22        3951/22 3952/4 3952/7 3955/14 3955/15
than [14] 3879/3
                        3866/21 3866/23        3950/7 3950/10 3953/1 3958/13 3959/20          3957/25 3961/15
 3880/20 3886/21
                        3867/13 3867/17        3954/1 3954/9 3957/9 3962/21 3965/5 3968/2 3961/18 3962/9
 3900/7 3923/10
                        3868/5 3868/12         3957/17 3957/21       they've [7] 3868/14      3964/16 3964/25
 3923/12 3923/13
                        3868/13 3868/14        3957/25 3958/1         3916/13 3923/23         3965/1 3965/4 3965/15
 3923/19 3948/1
                        3869/7 3874/18         3958/12 3960/11        3945/19 3947/1         throughout     [2]
 3949/12 3952/18
                                                                                                                         3991


T Case 1:22-cr-00015-APM
                 tote [1] 3905/8 Document
                                      typo730    Filed 01/02/24
                                          [2] 3883/12               Page 133 ofused
                                                           3925/12 3925/14      135[9] 3879/18
                         touch [2] 3926/7            3884/13                3925/20 3926/5             3887/1 3889/11
throughout... [2]
                          3944/14                                           3926/19 3927/22            3923/15 3934/14
 3943/23 3956/22                                     U
                         towards [2] 3956/13                                3928/11 3929/4 3930/2 3934/19 3944/22
throw [1] 3906/24
                          3956/14                    U.S [12] 3859/16       3931/2 3931/4 3931/11 3944/24 3945/7
thrown [1] 3869/12                                   3921/24 3921/25
                         Towers [1] 3861/17                                 3931/13 3931/19           user [4] 3883/7
tie [1] 3949/20                                      3924/2 3925/5 3925/6 3931/22 3932/1
                         town    [2]  3902/12                                                          3883/21 3894/3
till [1] 3895/22                                     3931/7 3943/14
                          3913/9                                            3933/17 3934/5             3909/19
time [48] 3872/1                                     3943/16 3943/20
                         track   [1]  3945/20                               3936/21 3938/13           using   [2] 3883/4
 3889/7 3895/6 3895/20
                         train  [1]   3906/21        3944/25 3951/9         3938/15 3947/24            3885/8
 3895/22 3896/21
                         trained [2] 3923/10         U.S. [10] 3921/10      units [2] 3945/3          usual [1] 3867/11
 3899/23 3902/17
                          3923/14                    3921/16 3922/9         3945/16                   utilize [2] 3923/14
 3913/6 3916/14
                         training    [4]  3886/20    3922/11 3922/15        unless   [1]  3968/23      3943/21
 3916/19 3917/18
                          3903/6 3903/7 3923/23 3922/19 3922/23             unnecessary       [1]     utilized  [5] 3923/13
 3927/3 3932/7 3937/23
                         transcript     [4]  3859/9  3923/9 3924/12         3908/9                     3933/7 3934/13
 3938/4 3938/7 3939/4
                          3862/6 3917/5 3971/3 3944/11                      unsending [1] 3893/11 3934/16 3944/17
 3939/7 3940/22 3941/3
                         transcription      [1]      U.S. Capitol Police    unsent [2] 3908/3         utilizing [1] 3935/1
 3941/6 3941/18
                          3862/7                     [10] 3921/10 3921/16 3909/19
 3941/20 3941/24                                                                                      V
                                                     3922/9 3922/11         until [4] 3899/24
 3943/3 3943/7 3943/15 transportation [1]
                          3891/14                    3922/15 3922/19        3948/15 3953/4            vaccinated [1] 3868/3
 3945/18 3945/23
                         traps   [2]   3899/1 3900/2 3922/23 3923/9         3964/22                   Vallejo [8] 3871/18
 3947/8 3948/19
                         traveled    [1]   3941/14   3924/12 3944/11        up [54]   3878/15          3871/22 3873/3
 3952/25 3953/5
                         traveling    [1]   3913/21 U.S.C [1] 3945/12       3883/14 3884/15            3905/10 3905/18
 3953/21 3956/22
                         travels   [3]   3933/15     U.S.C.P [1] 3938/10    3885/23 3887/8             3905/25 3906/4 3906/7
 3956/25 3958/23
                          3933/24 3933/25            ultimately [1] 3955/15 3888/12 3888/25           value [1] 3946/24
 3959/16 3959/22
                                     3859/9 3878/4 unaltered [1] 3948/2     3889/1 3890/5 3891/19 various [7] 3924/11
 3964/2 3964/6 3966/4 trial [4]
                          3950/21 3966/25            unbeknownst [1]        3892/16 3894/9 3896/6 3927/23 3944/24
 3968/6 3968/11 3969/8
                         trials  [1]  3951/3         3958/17                3896/7 3896/13             3945/11 3945/22
 3969/9 3970/7
                         tried  [1]   3916/14        under [5] 3888/5       3897/20 3901/12            3950/7 3951/9
times [5] 3880/20                                    3920/11 3942/3 3942/5 3902/6 3902/21 3903/8 vehicle [2] 3899/3
                         trouble    [1]   3899/3
 3945/1 3962/20
                         Troy [2] 3859/16            3950/17                3905/20 3906/16            3903/10
 3968/14 3968/19
                          3865/11                    understand [14]        3913/6 3913/22 3915/6 vehicles [1] 3944/17
timing [3] 3951/16                                   3875/18 3878/23
                         Troy Edwards [1]                                   3915/19 3918/14           venue [1] 3913/22
 3956/20 3964/13
                          3865/11                    3887/16 3952/20        3918/19 3925/9            versus [1] 3865/6
tired [1] 3910/18                                    3953/4 3953/13
                         true [1] 3969/24                                   3925/14 3927/11           very [19] 3866/20
title [2] 3921/7 3921/8                              3956/12 3958/14                                   3870/6 3871/10 3883/9
                         Trump     [4]   3888/10                            3932/14 3933/15
titled [2] 3903/6 3971/4                             3959/14 3959/24                                   3891/1 3895/11
                          3895/10 3906/21                                   3934/1 3934/22
today [4] 3903/17                                    3962/3 3962/5 3967/10 3934/25 3935/21             3902/11 3908/19
                          3910/16
 3917/8 3917/9 3927/19
                         truth  [1]   3895/11        3968/22                3936/25 3938/17            3908/21 3912/4
Todd [3] 3872/18
                         try [2]   3910/10 3914/22 understanding [4]        3940/1 3940/7 3940/8 3912/22 3914/23
 3872/19 3872/20
                         trying [7] 3874/12          3869/13 3966/14        3940/14 3942/20            3919/6 3947/15 3951/8
Todd Kandaris [2]                                    3966/17 3969/10
                          3895/20 3917/13                                   3946/2 3950/12 3951/4 3954/13 3961/5 3961/5
 3872/18 3872/20
                          3920/6 3939/14             understood [2]         3951/7 3951/8 3952/17 3962/20
together [6] 3866/14                                 3907/17 3970/1
                          3942/24 3969/21                                   3960/7 3963/18 3968/9 veterans [1] 3897/18
 3911/7 3911/7 3911/8
                         Tuesday      [2]  3879/24 undoubtedly [1]          3969/14                   vetted [1] 3877/11
 3911/8 3939/15
                          3880/18                    3868/15                upcoming      [1]  3903/6 via [1] 3909/21
Token [1] 3897/9
                         tunnel [18] 3958/16         unduly [1] 3966/6      updates [2] 3951/12       Vice [2] 3950/3
told [2] 3892/11
                          3966/15 3966/16            unfolded [1] 3960/16   3951/23                    3957/15
 3895/22
                          3966/18 3967/12            unit [1] 3923/8        upon   [3]  3926/18       video [43] 3872/6
Tom [3] 3901/20
                          3967/24 3968/4 3968/7 UNITED [33] 3859/1          3939/10 3947/5             3873/8 3876/7 3889/3
 3904/16 3905/12
                          3968/8 3968/10             3859/3 3859/10 3865/5 upper [5] 3926/15           3901/14 3901/22
Tom Caldwell [2]                                     3895/13 3921/6
                          3968/17 3968/24                                   3940/7 3940/8 3940/18 3904/23 3905/6
 3901/20 3904/16
                          3969/4 3969/12             3921/21 3922/20        3943/10                    3905/15 3946/2 3946/3
tomorrow [3] 3906/18                                 3925/12 3925/14                                   3946/7 3946/13
                          3969/18 3969/19                                   upset   [1]  3959/2
 3913/4 3913/5
                          3969/25 3970/4             3925/20 3926/5         Urgent   [1]   3898/18     3947/22 3948/13
ton [1] 3959/6                                       3926/19 3927/22
                         turn  [3]   3909/24                                us [15]   3868/9 3868/15 3948/18 3950/3 3952/2
tonight [2] 3913/4                                   3928/11 3929/4
                          3925/4 3937/16                                    3880/7 3880/9 3911/9 3953/7 3953/19 3954/8
 3913/5
                         TV  [2]   3921/23 3963/13 3929/13 3930/2 3931/2 3911/9 3911/11                3954/22 3955/13
tons [1] 3959/16                                     3931/4  3931/11                                   3955/17 3956/2
                         two [12]     3867/11                               3912/22    3913/7
too [2] 3902/10 3967/2                               3931/13 3931/19                                   3956/23 3957/2
                          3870/14 3885/16                                   3942/10 3947/1
took [2] 3892/7                                      3931/22 3932/1                                    3958/10 3958/14
                          3890/22 3913/17                                   3947/12 3954/19
 3892/10
                          3947/25 3954/2             3933/17 3934/5         3959/7 3959/8              3959/17 3960/17
top [5] 3884/19                                      3936/21 3937/18
                          3961/23 3961/23                                   usdoj.gov [2] 3859/19 3960/20 3962/23
 3893/18 3899/15
                          3962/7 3963/10             3938/13 3938/15        3859/20                    3963/19 3963/19
 3926/15 3940/8
                          3964/22                    3944/19 3947/24        use  [8]  3887/8 3944/20 3963/20 3963/25
topics [1] 3922/6
                         TX [2] 3860/4 3860/8 United States [26]            3945/1 3945/2 3945/19 3964/2 3964/5 3964/14
total [1] 3870/21
                         type  [3]   3880/3 3886/7 3895/13 3921/6           3961/6 3961/20             3965/16 3968/14
totality [3] 3952/9                                  3921/21 3922/20                                   3970/5
                          3934/18                                           3965/23
 3957/20 3958/14
                                                                                                                      3992


V Case 1:22-cr-00015-APM
                  3910/9 3913/12Document 730
                                     3880/18                     Filed 01/02/24       Page 134 of3919/16
                                                                           3967/12 3967/15           135 3919/18
                       3913/15 3913/24            week  [3]   3867/5       3967/17 3967/17          3919/20 3921/5
videos [5] 3876/7
                       Washington                 3867/10 3902/12          3967/19 3967/21          3924/23 3929/22
 3876/11 3948/2 3960/8
                       Monument [1]               weekend [1] 3902/16      3969/18 3969/21          3930/12 3930/15
 3963/11
                       3913/24                    weeks [6] 3867/24        weren't [2] 3876/1       3938/12 3938/14
Vienna [1] 3887/19
                       wasn't [2] 3902/10         3883/8 3946/22 3948/8 3947/7                      3938/20 3939/21
view [4] 3926/5
                       3952/14                    3958/20 3967/6           west [38]  3927/1        3939/23 3940/3 3941/2
 3960/22 3968/24
                       waste   [1]   3959/21      weird  [1]  3902/10      3927/2 3939/24           3941/5 3945/20
 3969/8
                       watching     [2]  3912/24 welcome [3] 3869/2        3939/25 3940/2 3940/7 3953/13 3959/11
viewed [3] 3935/23
                       3950/2                     3869/11 3920/13          3940/8 3940/14           3961/12 3963/17
 3937/12 3952/9
                       Watkins   [14]    3860/14 well [18] 3866/5          3940/18 3940/19          3966/16 3968/25
viewing [1] 3936/7
                       3865/8 3865/17             3872/6 3876/7 3879/25 3941/9 3942/19              3969/9 3969/11
views [1] 3867/15
                       3874/23 3876/8             3884/21 3887/23          3943/10 3949/10          3969/18
violence [7] 3958/3
                       3877/14 3877/17            3889/15 3907/16          3949/14 3949/20          where's  [1] 3938/22
 3961/6 3966/16
                       3877/18 3877/20            3908/19 3912/24          3951/1 3952/4 3953/4 whether [18] 3867/6
 3966/20 3967/13
                       3877/22 3881/12            3934/14 3936/1           3960/21 3960/24          3868/11 3873/13
 3967/17 3967/20
                       3904/18 3904/21            3945/21 3949/13          3966/12 3966/14          3881/11 3884/8
violent [2] 3958/8
                       3950/18                    3952/24 3958/12          3966/15 3966/17          3886/15 3886/23
 3965/11
                       Watkins'    [1]  3882/1    3960/9 3964/20           3967/11 3967/24          3887/10 3887/20
Virginia [4] 3876/21
                       way  [16]   3876/17        went [4]   3908/21       3968/1 3968/4 3968/7 3888/10 3892/20
 3876/23 3881/22
                       3886/16 3898/7 3912/9 3940/10 3941/25               3968/8 3968/10           3894/5 3907/1 3916/7
 3887/19
                       3912/10 3939/16            3943/7                   3968/15 3968/17          3916/22 3917/10
visible [2] 3912/22
                       3942/1 3944/17             were [112]    3865/25    3969/3 3969/4 3969/24 3943/2 3965/5
 3953/14
                       3946/19 3949/15            3866/13 3866/15          3970/4                   which [40] 3866/1
visitor [7] 3931/2
                       3954/14 3955/8             3869/15 3869/16          westbound    [1]         3866/6 3866/13
 3931/11 3931/15
                       3955/10 3957/12            3871/3 3872/21           3933/25                  3866/15 3867/9
 3946/8 3955/5 3955/9
                       3957/22 3969/14            3875/23 3876/3           Western  [1]  3897/10    3867/10 3868/16
 3956/24
                       we [193]                   3876/10 3876/20          Western  State   Leader  3883/6 3887/18
visitors [2] 3922/13
                       We  believe    [1] 3956/25 3876/21 3876/22          [1] 3897/10              3891/21 3899/6 3909/2
 3931/8
                       we will  [9]   3866/21     3878/3 3878/3 3880/22 what [183]                  3910/25 3912/9 3914/3
visitors' [6] 3953/11
                       3866/22 3868/12            3883/5 3883/22 3885/8 what's [23] 3868/4          3916/10 3916/10
 3965/7 3965/19
                       3869/4 3880/12             3886/2 3886/15           3877/24 3883/16          3923/2 3923/3 3923/14
 3965/21 3965/25
                       3947/13 3951/20            3886/16 3887/11          3887/5 3893/7 3893/14 3926/9 3926/13
 3966/9
                       3951/21 3957/8             3887/21 3887/25          3893/16 3897/2           3928/13 3929/15
vivid [1] 3970/3
                       we would [1] 3872/5        3889/7 3893/25 3894/6 3898/11 3902/22             3931/5 3931/10 3934/4
vs [1] 3859/5
                       we'd [3] 3890/13           3895/19 3898/14          3910/13 3911/21          3935/22 3938/18
W                      3917/4 3917/14             3906/25 3909/19          3914/5 3915/20 3924/6 3944/19 3947/2 3950/2
wait [2] 3912/2 3960/3 we'll [15] 3867/11         3910/2 3913/10           3949/17 3953/11          3954/1 3955/11
walk [1] 3931/6        3868/5   3868/18    3869/7 3915/14    3916/19       3955/5  3955/6   3957/3  3955/14 3956/4
walk-through [1]       3869/14    3869/17         3917/10    3918/2        3958/16  3964/12         3956/21 3957/12
 3931/6                3914/15 3914/22            3921/13 3931/24          3967/23                  3958/11 3960/18
walked [2] 3940/4      3914/23    3920/14         3932/9   3934/14         whatever  [1]  3952/15   while [4] 3924/11
 3940/7                3928/18    3945/1          3935/15    3936/17       when  [41]  3867/3       3953/8  3967/13
walking [5] 3900/4     3964/20    3970/8   3970/9 3937/10    3937/17       3869/17  3875/12         3967/20
 3900/15 3900/24       we're [13] 3879/1          3937/22 3937/24          3879/24 3887/15          white [5] 3890/7
 3901/24 3905/8        3883/4   3891/20    3907/2 3938/2   3939/4  3939/12 3892/12  3896/4          3906/20 3913/23
wands [1] 3931/6       3914/19    3916/4          3939/14    3940/3 3941/5 3899/10  3899/18         3926/21 3926/23
want [16]   3867/14    3916/11    3916/18         3941/17    3941/17       3899/19  3901/2   3903/9 White  House [2]
 3874/7 3878/22        3928/14 3947/11            3941/19 3941/20          3906/7 3906/7 3909/15 3906/20 3913/23
 3878/25 3879/1        3949/7 3950/7 3959/4 3942/3 3942/11                 3910/9 3911/11           who [18] 3868/3
 3888/25 3901/1        we've  [6]   3877/11       3942/18    3942/19       3911/11  3915/14         3869/5 3871/10
 3908/15 3922/6 3925/4 3883/6 3916/14 3917/5 3942/20 3942/24               3916/14 3917/6           3872/17 3876/4
 3937/16 3943/12       3961/23    3962/9          3942/25    3943/1 3943/4 3924/17  3924/21         3888/15 3892/10
 3945/25 3956/18       weapon    [2]   3889/11    3943/13    3945/6 3946/9 3924/25  3925/16         3898/14 3902/16
 3959/21 3962/8        3900/4                     3946/17    3947/5 3947/7 3933/18  3937/20         3904/17 3905/8 3907/9
wanted [2] 3880/8      weapons [20] 3876/20 3948/25 3950/11                3937/22 3938/4 3939/1 3912/24 3913/18
 3949/24               3876/21 3876/22            3951/12 3951/18          3939/22 3940/17          3934/3 3962/14
wants [1] 3953/13      3876/25    3877/6          3951/19    3951/19       3940/18  3941/17         3962/20 3964/16
War [2] 3906/24        3881/13    3881/19         3952/6   3952/7  3953/23 3941/20  3942/2   3943/7 who's  [18] 3867/8
 3910/17               3881/22    3882/11         3954/2   3954/6  3954/19 3946/18  3951/23         3884/11  3884/21
warlock [1] 3879/25    3887/10    3887/14         3955/3   3955/3  3956/10 3957/9  3959/3           3885/17  3885/19
warrant [1] 3909/22    3887/21    3887/25         3957/8   3957/19         where  [40]  3871/22     3888/13  3891/22
was [170]              3888/6 3888/21 3889/1 3957/22 3958/1 3958/6 3881/13 3881/19                  3898/12 3903/13
Washington [15]        3889/9 3916/18             3961/14 3963/10          3882/11 3887/14          3903/19 3904/15
 3859/5 3859/17 3861/4 3923/15    3931/20         3965/22    3965/23       3887/17  3887/25         3905/11 3905/24
 3861/9 3862/5 3887/15 website   [1]   3870/16    3965/24    3966/2 3966/3 3888/9  3890/25   3900/2 3911/15 3912/4 3913/1
 3889/25 3890/10       Wednesday [4] 3880/9 3966/3 3966/13                 3902/19 3911/6           3915/22 3963/9
 3896/5 3900/4 3900/15 3880/12    3880/16         3966/22    3967/5        3913/10  3913/13         whoever   [1] 3875/21
                                                                                                                   3993


W Case 1:22-cr-00015-APM        Document
                  3940/12 3941/13        7303950/2
                                     3898/7      Filed 01/02/24
                                                   3953/15          Page 135 of3939/19
                                                           3873/25 3875/20      135 3944/6
                       3946/3 3949/18             3969/17                   3875/21 3876/24       zoomed [1] 3955/24
whole [4] 3894/10
                       3955/24                   writ [1] 3946/7            3881/4 3881/21 3885/5 Zsuzsa [1] 3861/6
3894/21 3933/12
                       witness' [1] 3916/15      writing [2] 3895/13        3886/11 3895/9
3956/25
                       witnesses [2] 3863/4       3895/23                   3920/15 3931/13
whom [3] 3876/6
                       3950/13                   wrong [1] 3969/13          3938/25 3955/9 3957/9
3898/12 3902/12
                       won't  [1]   3874/4       WWG1WGA        [1] 3911/6 you've [6] 3867/3
why [17] 3866/19
3867/10 3868/16        wonderful [1] 3940/6                                 3867/3 3882/22
                       Woodward       [8] 3861/2 X                          3907/10 3907/20
3883/2 3885/5 3889/14
                       3861/3 3865/14            X-rays [1] 3931/6          3922/8
3892/23 3914/20
                       3869/15 3871/24                                     your [76] 3865/4
3915/6 3916/10 3932/4
                       3883/11 3884/7            Y                          3868/8 3868/18 3870/9
3938/9 3942/17                                   y'all [1] 3875/7
                       3916/12                                              3873/17 3873/20
3954/12 3955/2                                   Yeah [1] 3872/18
                       word  [3]   3908/7                                   3873/21 3874/19
3957/21 3966/9                                   years [2] 3921/12
                       3908/13 3909/9                                       3875/1 3875/17
will [53] 3866/21                                 3922/9
                       worded    [1]   3908/12                              3876/19 3877/10
3866/21 3866/22                                  yes [77] 3870/13
                       wording    [1]   3879/14                             3879/7 3882/18
3868/10 3868/12                                   3870/17 3870/20
                       words   [3]   3879/11                                3883/16 3888/20
3868/19 3868/20                                   3870/24 3871/7
                       3890/20 3969/14                                      3889/12 3890/19
3869/4 3869/5 3877/20
                       work  [2]   3921/5 3970/8 3871/16 3872/2 3872/5 3893/17 3896/12
3879/7 3879/25 3880/9                             3872/22 3873/1 3873/5 3896/21 3898/3 3898/6
3880/10 3880/12        worked [5] 3883/8
                       3886/5 3886/8 3921/9 3874/17 3874/21                 3899/3 3908/2 3908/20
3880/16 3884/4                                    3874/24 3875/19
                       3959/7                                               3909/18 3912/14
3885/13 3890/16                                   3875/22 3875/24
                       working    [5]   3880/12                             3915/12 3915/23
3892/11 3894/23                                   3876/9 3878/5 3878/13 3916/3 3916/6 3918/15
                       3937/17 3938/2
3895/15 3896/6                                    3878/20 3879/3
                       3939/16 3961/10                                      3919/6 3919/13
3896/24 3898/8 3909/1                             3879/22 3881/9
                       works   [1]   3872/14                                3919/16 3920/2
3910/16 3912/24                                   3881/23 3882/3 3883/1 3920/10 3921/3 3921/7
                       worry  [2]   3867/2
3917/24 3919/22                                   3883/10 3884/10
                       3870/25                                              3921/18 3922/6
3925/14 3925/25                                   3884/14 3884/23
                       worst  [2]   3874/3                                  3925/11 3928/2 3936/2
3928/4 3933/1 3935/11                             3885/1 3886/4 3886/14 3936/7 3943/15
                       3966/16
3936/12 3937/7                                    3886/25 3887/6
                       would [78] 3866/12                                   3944/14 3946/6 3947/1
3945/15 3945/16
                       3867/2 3867/7 3867/9 3887/13 3888/11                 3947/13 3947/19
3945/16 3947/13
                       3872/5 3872/5 3875/14 3888/14 3888/23                3948/14 3949/4
3948/4 3949/18                                    3889/2 3890/4 3890/11 3952/10 3952/20
                       3875/22 3878/18
3951/20 3951/21                                   3890/21 3893/2 3893/6 3953/8 3953/20
                       3879/6 3879/16
3954/11 3954/14                                   3894/13 3897/7
                       3879/19 3882/1                                       3953/24 3954/23
3956/21 3957/8 3965/2                             3897/22 3899/9
                       3884/25 3888/9                                       3955/18 3955/20
3965/2 3965/4 3966/24                             3900/22 3901/4 3901/7 3959/5 3960/6 3961/22
                       3892/15 3892/17
William [4] 3861/16                               3901/17 3902/5
                       3895/22 3898/19                                      3962/2 3962/17
3862/2 3971/2 3971/8                              3904/13 3905/23
                       3900/10 3900/16                                      3962/19 3963/13
willingly [1] 3952/6                              3906/3 3907/8 3907/22 3963/19 3963/21
                       3900/19 3900/21
win [2] 3902/8 3910/16                            3909/11 3909/17
                       3900/23 3900/25                                      3965/3 3965/18 3966/6
Winchester [3]                                    3909/20 3910/1 3910/4 3967/3 3969/7
                       3908/22 3913/13
3876/21 3876/23                                   3910/20 3911/2
                       3918/14 3919/24                                     Your Honor [38]
3881/22                                           3915/17 3918/4
                       3922/17 3923/2                                       3865/4 3868/8 3873/17
wind [1] 3953/10                                  3918/12 3918/22
                       3923/25 3924/7                                       3873/20 3873/21
window [2] 3963/23                                3933/14 3933/20
                       3926/10 3926/14                                      3877/10 3882/18
3964/16                                           3936/8 3944/7 3961/6 3896/21 3898/3 3898/6
                       3926/19 3926/25
windows [2] 3957/24
                       3927/1 3927/7 3928/14 3964/25                        3908/2 3908/20
3964/4
                       3928/24 3929/3 3929/9 yesterday [13] 3866/13 3915/12 3915/23
wing [3] 3957/4 3957/6                            3866/17 3870/6
                       3929/16 3929/18                                      3916/3 3916/6 3918/15
3964/3
                       3930/2 3930/5 3930/11 3870/11 3872/1                 3920/2 3928/2 3949/4
wish [1] 3893/17
                       3930/16 3931/1 3931/2 3872/23 3873/9 3876/6 3952/10 3952/20
within [6] 3883/22
                       3931/4 3931/5 3931/15 3883/12 3884/7 3901/2 3953/8 3953/20
3922/22 3927/23                                   3912/15 3917/8
                       3933/12 3934/4                                       3953/24 3954/23
3930/6 3964/18
                       3934/11 3940/4 3940/6 yet [4] 3868/11                3955/18 3955/20
3968/18                                           3894/11 3943/6
                       3944/19 3945/12                                      3959/5 3960/6 3961/22
without [3] 3889/24
                       3949/4 3953/1 3953/3 3959/21                         3962/2 3962/17
3920/15 3966/6                                   you [368]
                       3953/24 3954/4                                       3963/13 3963/21
witness [25] 3863/2                              you know [1] 3968/12 3965/18 3967/3 3969/7
                       3954/18 3954/19
3867/4 3869/19 3870/9                            you'd [2] 3920/13
                       3955/24 3955/25                                     yourself [3] 3921/2
3873/6 3883/15 3888/4                             3961/25
                       3959/25 3960/1                                       3937/16 3942/11
3891/2 3917/7 3917/10                            you'll [2] 3941/12
                       3965/13 3965/15
3917/15 3919/17                                   3951/2                   Z
                       3968/16 3968/24
3919/18 3920/11                                  you're   [19] 3869/16
                       3969/11 3969/18                                     Zaremba [3] 3862/2
3920/21 3925/9                                    3869/17 3871/24
                       wouldn't    [7]  3874/2                              3971/2 3971/8
3927/11 3930/18                                   3871/25 3873/22
                       3875/16 3893/19                                     zoom [3] 3938/23
3932/14 3936/25
